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                                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                  Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Alief Independent School District
Attn: Carl O. Sandin
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600
Houston, TX 77008                                              1      6/30/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
City of Houston
Attn: Michael J. Darlow
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
1235 North Loop West
Suite 600
Houston, TX 77008                                              2      6/30/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Texas Workforce Commission
Office of the Attorney General - Bankruptcy & Collections
Division
P.O. Box 12548, MC-008
Austin, TX 7711-2548                                           3      6/30/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Wells Fargo Financial Leasing, Inc.
800 Walnut Street MAC N0005-055
Des Moines, IA 50309                                           4       7/6/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Harris County, ET AL
Linebarger Goggan Blair & Sampson, LLP
John P. Dillman
PO Box 3064
Houston, TX 77253-3064                                         5       7/5/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Montgomery County
Linebarger Goggan Blair & Sampson, LLP
PO Box 3064
Houston, TX 77253-3064                                         6       7/5/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
Wadsworth, David A.
26 Graceful Elm
The Woodlands, TX 77381                                        7       7/6/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Vista Analytical Laboratory, Inc.
1104 Windfield Way
El Dorado Hills, CA 95762                                      8      7/19/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Franchise Tax Board
PO Box 2952
Sacramento , CA 95812-2952                                     9      7/22/2016    Maxus International Energy Company                         $3,228.90                        $0.00                                                                                                     $3,228.90
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                    10     7/18/2016           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                                    11      8/5/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Alabama Power Company
Eric T. Ray
Balch & Bingham LLP
1901 Sixth Avenue N, Suite 1500
Birmingham, AL 35203                                           12      8/1/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bricker, Doris A.
2732 Summertree Drive
Carrollton, TX 75006                                           13      8/6/2016        Maxus Energy Corporation                             $552,870.84                                                                                                                               $552,870.84
Department of the Treasury - Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346                                    14      8/5/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Clean Harbors
42 Longwater Dr Cred Dept
Norwell, MA 02061                                              15     8/10/2016           Tierra Solutions, Inc.                             $55,481.25                                                                                                                                $55,481.25
TestAmerica Laboratories, Inc.
4101 Shuffel St NW
North Canton, OH 44720                                         16     8/16/2016           Tierra Solutions, Inc.                             $41,480.00                                                                                                                                $41,480.00
Eurofins Lancaster Laboratories Environmental LLC
Attn: Adrienne Kuhl
2425 New Holland Pike
Lancaster, PA 17601                                            17     8/22/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Geosyntec Consultants, Inc.
Attn: Christopher Bennett, Esq.
1111 Broadway, Floor 6
Oakland, CA 94607                                              18      9/1/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00

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                                                                                                                            Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                      Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
Magna Legal Services
Attn: Barbara Previ, Esq.
1635 Market St.
8th Floor
Philadelphia, PA 19103                                             19     8/17/2016        Maxus Energy Corporation                              $17,107.89                                                                                                                                $17,107.89
Eurofins Lancaster Laboratories Environmental LLC
Attn: Adrienne Kuhl
2425 New Holland Pike
Lancaster, PA 17601                                                20     8/22/2016           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Ramboll Environ
Ramboll Environ US Corporation
4350 North Fairfax Drive
Suite 300
Arlington, VA 22203                                                21     8/30/2016           Tierra Solutions, Inc.                             $76,089.35                                                                                                                                $76,089.35

Peyton C. Cochrane, Tax Collector, Tuscaloosa County, Alabama
714 Greensboro Ave, Room 124
Tuscaloosa, AL 35401                                               22      9/8/2016           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
McCain, George H
250 Orton Rd.
Painesville, OH 44077                                              23      9/9/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

Peyton C. Cochrane, Tax Collector, Tuscaloosa County, Alabama
714 Greensboro Ave, Room 124
Tuscaloosa, AL 35401                                               24      9/8/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Justus, George
217 Weeks Dr.
Camden, DE 19934                                                   25      9/9/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Vendrick, Phyllis
687 New Churchman Rd
Newark, DE 19702                                                   26     9/12/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Shaffer, Rita J
257 Thompson 1 Road
Adah, PA 15410                                                     27     9/12/2016          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Skipper, Joseph L
7505 Elmhurst
Amarillo, TX 79121                                                 28     9/13/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McCain, G. Howard
250 Orton Rd
Painesville, OH 44077                                              29      9/9/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Stephon, John
27 Yeates Dr
New Castle, DE 19720                                               30     9/12/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Battista, Joseph
4002 Long Groove
Seabrook, TX 77586                                                 31     9/12/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Battista, Georgia
4002 Long Groove
Seabrook, TX 77586                                                 32     9/12/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rose, Ira M
4700 Lucerne Lakes Blvd. W
Apt. 208
Lake Worth, FL 33467                                               33     9/12/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Battista, Jospeh B
4002 Long Groove
Seabrook, TX 77586                                                 34     9/12/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
De Liege, Maureen
617 Rollins Road Apt 1
Burlingame, CA 94010-2784                                          35     9/12/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                                   36     9/12/2016        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General- Bankruptcy & Collections
Division
P.O. Box 12548, MC-008
Austin, TX 78711                                                   37     9/12/2016    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                38     9/12/2016          Tierra Solutions, Inc.                                                              $0.00                                                                                                        $0.00
Texas Comptroller of Public Accounts
Office of the Attorney General
Bankruptcy & Collections Division
P.O. Box 12548, MC-008
Austin, TX 78711                                39     9/12/2016    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
Carter, Jimmy L.
4803 Aberdeen Pkwy
Amarillo, TX 79119                              40     9/14/2016       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Bilbrey, Lanny R.
c/o Warren V. Norred
Norred Law, PLLC
200 E. Abram, Suite 300
Arlington, TX 76010                             41     9/16/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
Cunningham Darlow LLP
919 Milam, Suite 575
Houston, TX 77002                               42     9/15/2016       Maxus Energy Corporation                              $6,650.00                                                                                                                                  $6,650.00
Hudson, Billy C
3003 SW 28th Ave
Apt A
Amarillo, TX 79109                              43     9/16/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
Dye, Sonja
6555 Creekside Trail
Solon, OH 44139                                 44     9/26/2016       Maxus Energy Corporation                                   $0.00                       $0.00                          $0.00                                                                         $0.00
Roberts County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                         45     9/23/2016       Maxus Energy Corporation                                                               $0.00                          $0.00                                                                         $0.00
Turning Wave Seismic, L.P.
Attn: Patricia Cherne
PO Box 4176
Horseshoe Bay, TX 78657                         46     9/28/2016    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Roebuck, Stanley M
202 Heistersburg Rd
East Millsboro, PA 15433                        47     9/20/2016         Gateway Coal Company                                     $0.00                       $0.00                                                                                                        $0.00
Megel Inc
4809 Westway Park Blvd
Houston, TX 77041                               48     9/19/2016       Maxus Energy Corporation                             $58,325.38                                                                                                                                $58,325.38
The Woods Hole Group, Inc.
ATTN: Robert Hamilton
81 Technology Park Drive
East Falmouth, MA 02536                         49     9/22/2016          Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Fudala, Edith S
309 Penn Craft Rd
East Millsboro, PA 15433                        50     9/22/2016         Gateway Coal Company                                     $0.00                       $0.00                                                                                                        $0.00
Fudala, Edward J
309 Penn Craft Rd
East Millsboro, PA 15433                        51     9/22/2016         Gateway Coal Company                                     $0.00                       $0.00                                                                                                        $0.00
Hill, Prince M.
7515 Long Canyon Trail
Dallas, TX 75249-1254                           52     9/27/2016       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Dye, Louis J
6555 Creekside Trail
Solon, OH 44139                                 53     9/26/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
Canadian Independent School District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                         54     9/23/2016       Maxus Energy Corporation                                                               $0.00                          $0.00                                                                         $0.00
Hansford County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                         55     9/23/2016       Maxus Energy Corporation                                                                                              $0.00                                                                         $0.00




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                                                                                                          Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address              Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                     Amount                                                                                     Amount                                                Claim Amount
Hemphill County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    56     9/23/2016    Maxus Energy Corporation                                                                                         $0.00                                                                         $0.00
Hutchinson County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    57     9/23/2016    Maxus Energy Corporation                                                                                         $0.00                                                                         $0.00
Lipscomb County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    58     9/23/2016    Maxus Energy Corporation                                                          $0.00                          $0.00                                                                         $0.00
Moore County and Entities Collected by Moore County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    59     9/23/2016    Maxus Energy Corporation                                                                                         $0.00                                                                         $0.00
WHEELER COUNTY
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    60     9/23/2016    Maxus Energy Corporation                                                                                         $0.00                                                                         $0.00
Winstead PC
Annmarie Chiarello
500 Winstead Building
2728 N. Harwood Street
Dallas, TX 75201                                           61     9/28/2016    Maxus Energy Corporation                         $5,939.34                                                                                                                                  $5,939.34
Van Meter, Charlene Sue
5613 W. Orlando
Broken Arrow, OK 74011                                     62     9/27/2016    Maxus Energy Corporation                         $8,205.15                        $0.00                                                                                                     $8,205.15
Fort Elliott Consolidated Independent School District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    63     9/23/2016    Maxus Energy Corporation                                                                                         $0.00                                                                         $0.00
Jay, David
16215 SW 319th Place
Hillsboro, OR 97123                                        64     10/4/2016      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                                        65     10/4/2016      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Ochiltree County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    66     9/23/2016    Maxus Energy Corporation                                                          $0.00                          $0.00                                                                         $0.00
Sherman County Appraisal District
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    67     9/23/2016    Maxus Energy Corporation                                                                                         $0.00                                                                         $0.00
Pride Energy Company
4641 E. 91st St.
Tulsa , OK 74137                                           68     9/30/2016    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Sherman County
D'Layne Carter
P.O. Box 9132
Amarillo, TX 79105-9132                                    69     9/23/2016    Maxus Energy Corporation                                                                                         $0.00                                                                         $0.00
Lester, Marshall V
76 Welsh Tract Rd.
Unit 305
Newark, DE 19713                                           70     9/23/2016    Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
Hotes, William J
5450 Whitley Park Terrace
Apt. 904
Bethesda, MD 20814                                         71     9/29/2016    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Chevron U.S.A. Inc.
Attn: Emily Pipkin Blackwell, Esq.
1400 Smith STreet, Room 03198
Houston, TX 77002                                          72     9/29/2016    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00




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                                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                   Creditor Name and Address                         Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Cummings, Martis W. (Wayne)
1205 E Sandy Lake Rd.
# 229
Coppell, TX 75019                                                       73     9/29/2016    Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
Waterman, Betty J
200 Briar Patch Court
Stockbridge, GA 30281                                                   74     10/5/2016     Gateway Coal Company                                 $0.00                                                                                                                                    $0.00
Waterman, Betty J
200 Briar Patch Court
Stockbridge, GA 30281                                                   75     10/5/2016     Gateway Coal Company                                 $0.00                                                                                                                                    $0.00
Pitman, Ellis R
13823 Lantern Lane
Houston, TX 77015                                                       76     9/20/2016    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Vinson & Elkins LLP
Rebecca Petereit
2001 Ross Avenue, Suite 3700
Dallas, TX 75201                                                        77     10/6/2016    Maxus Energy Corporation                       $182,438.97                                                                                                                               $182,438.97
AT&T Corp
c/o AT&T Services, Inc
Karen A. Cavagnaro, Lead Paralegal
One AT&T Way, Room 3A104
Bedminster, NJ 07921                                                    78     10/7/2016    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Seaton, Joyce F.
402 Paradise Dr
Tiburon, CA 94920                                                       79     10/7/2016    Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
State of Wisconsin - Department of Natural Resources
Theresa (Esa) M. Anzivino, Dept. of Justice
P.O. Box 7857
Madison, WI 53707                                                       80     10/11/2016   Maxus Energy Corporation                     $5,000,000.00                                                                                                                              $5,000,000.00
Claim docketed in error
                                                                        81     10/13/2016   Maxus Energy Corporation                                                                                                                                                                       $0.00
Scott, Howard O
7896 Dovegate Dr.
Mentor, OH 44060                                                        82     10/12/2016   Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
Liberty Insurance Underwriters, Inc.
55 Water Street, 23rd Floor
New York, NY 10041                                                      83     10/12/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Ring, John R
7074 Regalview Cir
Dallas, TX 75248                                                        84     10/12/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Sun Chemical Corporation
Warren W. Faure, Esq.
35 Waterview Boulevard
Parsippany, NJ 07054                                                    85     10/14/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Sun Chemical Corporation
c/o Warren Faure, Esq.
35 Waterview Boulevard
Parsippany, NJ 07054                                                    86     10/14/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Alliance Chemical, Inc. on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     87     10/17/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     88     10/17/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                     89     10/17/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00



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                                                                                                                 Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                    Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                                               90     10/16/2016   Maxus Energy Corporation                         $2,687.50                                                                                                                                  $2,687.50
Jay, David
Oceanographic Consultant
16215 SW 319th Place
Hillsboro, OR 97123                                               91     10/17/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
HYDRO ENVIRONMENTAL TECHNOLOGY
PO Box 60295
LAFAYETTE, LA 70596                                               92     10/17/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                               93     10/18/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Thelma Heller, individually and as Executor of The Estate of
Aldon Heller
Simon Greenstone Panatier Bartlett, PC
3232 McKinney Avenue, Suite 610
Dallas, TX 75204                                                  94     10/18/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Tate & Lyle Ingredients Americas LLC
John R. Holsinger, Esq.
John R. Holsinger LLC
Two University Plaza Suite 300
Suite 611
Hackensack, NJ 07601                                              95     10/19/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Tate & Lyle Ingredients Americas LLC
John R. Holsinger, Esq.
John R. Holsinger LLC
1 University Plaza
Suite 611
Hackensack, NJ 07061                                              96     10/19/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Rabe, Robert K
P.O. Box 558
Lone Grove, OK 73443                                              97     10/19/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Lewis, Mary Lynn
59 West Shore Rd
Belvedere, CA 94920                                               98     10/19/2016   Maxus Energy Corporation                        $24,799.48                        $0.00                                                                                                   $24,799.48
Entact, LLC
William W Thorsness
Vedder Price P.C.
222 N. LaSalle Street, Suite 2400
Chicago, IL 60601                                                 99     10/19/2016     Tierra Solutions, Inc.                         $4,800.00                                                                                                                                  $4,800.00
Tolson, Robin A
2316 Heavenly Drive
Edmond, OK 73012                                                 100     10/19/2016   Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Prince, Joseph W
3106 Hays
Pasadena, TX 77503                                               101     10/18/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Waste Management
2625 W Grandview Rd Ste 150
Phoenix, AZ 85023                                                102     10/20/2016   Maxus Energy Corporation                         $1,567.13                                                                                                                                  $1,567.13
Tolson, Robin A
2316 Heavenly Drive
Edmond, OK 73012                                                 103     10/20/2016   Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Lakeview Bluffs, LLC
Todd S. Davis, Esq.
3 Hemisphere Way
Bedford, OH 44146                                                104     10/20/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Tiffany and Co.
John H. Klock
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                                 105     10/20/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address      Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Tiffany and Co.
John H. Klock, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 106     10/20/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
SAMSON RESOURCES COMPANY
CHACE DALEY
2 W. 2ND ST.
TULSA, OK 74103                                  107     10/20/2016      Maxus Energy Corporation                                                                                              $0.00                                                                         $0.00
SAMSON LONE STAR, LLC
CHACE DALEY
2 W. 2ND ST.
TULSA, OK 74103                                  108     10/20/2016      Maxus Energy Corporation                                                                                              $0.00                                                                         $0.00
Haynes and Boone, LLP
Attn: Ian T. Peck, Partner
2323 Victory Avenue, Suite 700
Dallas, TX 75219                                 109     10/21/2016      Maxus Energy Corporation                              $1,957.89                                                                                                                                  $1,957.89
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Attn: Mark Sherrill
1001 Fannin Street, Suite 3700
Houston, TX 77002                                110     10/21/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Nautilus Pipeline Company, L.L.C.
Eversheds Sutherland (US) LLP
Mark Sherrill
1001 Fannin St., Suite 3700
Houston, TX 77002                                111     10/21/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Enbridge Offshore Facilities, LLC
Mark Sherrill, Sutherland Asbill & Brennan
1001 Fannin St., Suite 3700
Houston, TX 77002                                112     10/21/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Hoffmann-La Roche Inc.
John H. Klock, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 113     10/21/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Hoffmann-La Roche Inc.
John H. Klock
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                 114     10/21/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Cozen O'Connor
A. Martin M. Wickliff
1221 McKinney, Suite 2900
Houston, TX 77010                                115     10/21/2016      Maxus Energy Corporation                              $5,115.00                                                                                                                                  $5,115.00
FleetPride Inc
Matt Perry
600 Las Colinas Blvd E
Suite 400
Irving, TX 75039                                 116     10/22/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Nikolis, Theodore P.
515 East 89th Street
Apt 3H
New York, NY 10128                               117     10/24/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DLA PIPER LLP
Vonnick Le Guillou
27 Rue Laffitte
Paris 75009
France                                           118     10/25/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Hyde, John Paul
7230 Wyoming Springs Dr. Room 222
Round Rock, TX 78681                             119     10/25/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Malkin, Irving
27200 Cedar Rd
Apt 431
Beachwood, OH 44122                              120     10/25/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Malkin, Charlotte Z
5860 Kings Hwy
Parma Heights, OH 44130-1747                     121     10/25/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00

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                 Creditor Name and Address                 Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                Amount                                                                                     Amount                                                Claim Amount
State of New Jersey Division of Taxation
PO Box 245
Trenton, NJ 08695                                            122     10/25/2016         Tierra Solutions, Inc.                                                              $0.00                                                                                                        $0.00
State of New Jersey - Division of Taxation
PO Box 245
Trenton, NJ 08695                                            123     10/25/2016      Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Kao USA Inc.
Graydon Head & Ritchey LLP
Richard T. La Jeunesse, Esq.
312 Walnut Street, Suite 1800
Cincinnati, OH 45202                                         124     10/25/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Kao USA Inc.
Graydon Head & Ritchey LLP
Richard T. La Jeunesse, Esq.
312 Walnut Street. Suite 1800
Cincinnati, OH 45202                                         125     10/25/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Sojitz Energy Venture, Inc.
Robin B. Cheatham
Adams and Reese LLP
701 Poydras Street, Suite 4500
New Orleans, LA 70139                                        126     10/26/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Rankin, Paul L
11020 Mesquite Road
Canadian, TX 79014                                           127     10/26/2016      Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
RSR Corporation
John A. DePaul, Senior VP, Administrative
2777 Stemmons Freeway - Ste. 1800
Dallas, TX 75207                                             128     10/26/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Arkema Inc.
Legacy Site Services LLC (agent for Arkema Inc.)
486 Thomas Jones Way, Suite 110
Exton, PA 19341-2528                                         129     10/26/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Arkema Inc.
Legacy Site Services LLC (agent for Arkema Inc.)
486 Thomas Jones Way, Suite 110
Exton, PA 19341-2528                                         130     10/26/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Fordham, J Lynn
624 Andover Village Pl
Lexington, KY 40509                                          131     10/26/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Fordham, Joellen S
624 Andover Village Pl
Lexington, KY 40509-1928                                     132     10/26/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Rankin, Betty
56 Castle View Drive
McKees Rocks, PA 15136                                       133     10/26/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
Lower Passaic River Study Area Cooperating Parties Group
LPRSA Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center 10th Floor
Newark, NJ 07102                                             134     10/26/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Lower Passaic River Study Area Cooperating Parties Group
LPRSA Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center 10th Floor
Newark, NJ 07102                                             135     10/26/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Fordham, James L
624 Andover Village Pl
Lexington, KY 40509                                          136     10/26/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
RSR Corporation
John A. DePaul, Senior VP, Administrative
2777 Stemmons Freeway - Ste. 1800
Dallas, TX 75207                                             137     10/26/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Foley & Lardner LLP
Mark Wolfson, Esq.
100 North Tampa St., Suite 2700
Tampa, FL 33602                                              138     10/27/2016      Maxus Energy Corporation                             $17,719.50                                                       $0.00                                                                    $17,719.50



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                                                                                                                    Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                               Amount                                                                                     Amount                                                Claim Amount
Rabbe, David
98 Scott Rd
Warrick, MD 21912-1241                                      139     10/27/2016         Tierra Solutions, Inc.                                  $0.00                       $0.00                                                                                                        $0.00
Murphy Exploration & Production Company - USA
J. Eric Lockridge
Kean, Miller
400 Convention Street, Suite 700
Baton Rouge, LA 70802                                       140     10/27/2016       Maxus Energy Corporation                           $180,000.00                                                                                                                               $180,000.00
Garfield Molding Company, Inc.
Stephen W. Miller, Esq.
Patrick J. McStravick, Esq.
Ricci Tyrrell Johnson & Grey
1515 Market Street, Suite 700
Philadelphia, PA 19102                                      141     10/27/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Rabbe, David
98 Scott Rd
Warick, MD 21912-1241                                       142     10/27/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                            143     10/27/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                            144     10/27/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
Pfizer Inc.
Stephanie M. Haggerty
Senior Corporate Counsel
235 East 42nd Street (235/25/21)
New York, NY 10017                                          145     10/27/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Darling Ingredients Inc.
James F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                            146     10/27/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Garfield Molding Company, Inc.
Stephen W. Miller, Esq.
Patrick J. McStravick, Esq.
Ricci Tyrrell Johnson & Grey
1515 Market Street, Suite 700
Philadelphia, PA 19102                                      147     10/27/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Wyeth Pharmaceuticals, Inc., on behalf of Shulton, Inc.
Attn: Stephanie M. Haggerty, Senior Corporate Counsel,
Regulatory
Law, Legal Dvision, Pfizer Inc.
235 East 42nd Street
New York, NY 10017                                          148     10/27/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Darling Ingredients Inc.
James F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                            149     10/27/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Richard Mather and Beverly Sowle Ahlstrom
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                           150     10/27/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                                        151     10/27/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00




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                                                                                                                               Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                   Creditor Name and Address                         Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
Coats & Clark, Inc.
Stephan Custer
3430 Toringdon Way
Suite 301
Charlotte, NC 28277                                                    152     10/27/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Pfizer Inc.
Stephanie M. Haggerty
Senior Corporate Counsel
235 East 42nd Street (235/25/21)
New York, NY 10017                                                     153     10/27/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Hess Corporation
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                              154     10/27/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Wyeth Pharmaceuticals, Inc., on behalf of Shulton, Inc.
Stephanie M. Haggerty | Senior Corporate Counsel
Regulatory Law | Legal Division
Pfizer Inc.
235 East 42nd Street (235/25/21)
New York, NY 10017                                                     155     10/27/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Hess Corporation
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                              156     10/27/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Jackson, John Leslie ("J.L.")
Michelle E. Shriro
Singer & Levrick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                                      157     10/27/2016      Maxus Energy Corporation                          $2,128,144.48                                                                                                                              $2,128,144.48
Darling Ingredients Inc.
John F. Sterling
Darling International Inc.
251 O'Connor Ridge Boulevard, Suite 300
Irving, TX 75038                                                       158     10/27/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Garbesi, Robert E. and Jean K.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                                      159     10/27/2016      Maxus Energy Corporation                          $1,166,157.35                                                                                                                              $1,166,157.35
Liquidating Reichold, Inc.
Hahn & Hessen, LLP
Attn: Mark Indelicato & Joseph Orbach
488 Madison Avenue
New York, NY 10022                                                     160     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Enterprise Gas Processing, LLC
c/o Charlie San Miguel, Assistant General Counsel
1100 Louisiana, Suite 24.105
Houston, TX 77002                                                      161     10/28/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    162     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc., on behalf of itself and Pfister Chemical,
Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                                    163     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                                       164     10/28/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00

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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address          Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Textron, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 1100
Washington, DC 20006                                  165     10/28/2016     Tierra Solutions, Inc.                              $0.00                                                      $0.00                                                                         $0.00
Carlton, Gerald G. and Susan M.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                     166     10/27/2016   Maxus Energy Corporation                     $1,882,972.73                                                                                                                              $1,882,972.73
Garbesi, Robert E. and Jean K.
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road, Suite 140
Addison, TX 75001                                     167     10/27/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
McKool Smith PC
Michael John Miguel
300 South Grand Ave.
Suite 2900
Los Angeles, CA 90071                                 168     10/28/2016   Maxus Energy Corporation                        $71,909.61                                                                                                                                $71,909.61
Bayer Corporation
c/o William E. Kelleher, Jr., Esq.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                             169     10/28/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Andrews Kurth Kenyon LLP
c/o Joseph Rovira
600 Travis
Suite 4200
Houston, TX 77002                                     170     10/28/2016   Maxus Energy Corporation                        $17,615.84                                                                                                                                $17,615.84
Norton Rose Fulbright US LLP
c/o Michael Parker
300 Convent Street, Suite 2100
San Antonio, TX 78205                                 171     10/28/2016   Maxus Energy Corporation                         $1,366.20                                                                                                                                  $1,366.20
Jackson, John Leslie ("J.L.")
MIchelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                                     172     10/27/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Richard Mather and Beverly Sowle Ahlstrom
Michelle E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                                     173     10/27/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                               174     10/27/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD
ATTN: JEFFREY M. POLLOCK, ESQ.
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                               175     10/27/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
The Sherwin-Williams Company
Mark R. Mazanec
Vice President of Environmental, Health, Safety &
Regulatory Affairs
101 West Project Avenue, Midland Building
Cleveland, OH 44115                                   176     10/27/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00




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                                                                                             Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                        Amount                                                                                     Amount                                                Claim Amount
Carlton, Gerald G. & Susan M.
Michell E. Shriro
Singer & Levick, P.C.
16200 Addison Road
Suite 140
Addison, TX 75001                            177     10/27/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
STWB Inc.
c/o William E. Kelleher, Jr., Esq.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                    178     10/28/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Scepter Management Corporation, Inc.
Douglas G. Haynam
Shumaker, Loop & Kendrick,LLP
1000 Jackson Street
Toledo, OH 43604                             179     10/28/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Sceptr Management Corporation
Douglas G. Haynam
Shumaker, Loop & Kemdrick, LLP
1000 Jackson Street
Toledo, OH 43604                             180     10/28/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
STWB Inc.
c/o William E. Kelleher, Jr.
Cohen & Grigsby, P.C.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                    181     10/28/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Textron, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 1100
Washington, DC 20006                         182     10/28/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Bayer Corporation
Cohen & Grigsby, P.C.
c/o William E. Kelleher, Jr., Esq.
625 Liberty Avenue
Pittsburgh, PA 15222-3152                    183     10/28/2016     Tierra Solutions, Inc.                              $0.00                                                      $0.00                                                                         $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross P.C.
One Riverfront Plaza
Newark, NJ 07102                             184     10/28/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Andrews Kurth Kenyon LLP
c/o Joseph Rovira
600 Travis, Suite 4200
Houston, TX 77002                            185     10/28/2016     Tierra Solutions, Inc.                         $4,341.34                                                       $0.00                                                                      $4,341.34
DIETZ, BRADLEY
136 EAST 64TH STREET, APT 8C
NEW YORK, NY 10065                           186     10/27/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel
Attn: Michael Baird
1200 K Street, N.W.
Suite 340
Washington, DC 20005-4026                    187     10/28/2016   Maxus Energy Corporation                                                          $0.00                                                                                        $0.00           $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                         188     10/28/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Chevron Environmental Management Company
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                       189     10/28/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00




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                                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                    Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Franklin-Burlington Plasics, Inc.
Robert K. James, Vice President, Enviromental and Secretary
33587 Walker Road
Avon Lake, OH 44012-1145                                        190     10/28/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Seitel, Inc. and its subsidiary, Seitel Data, Ltd.
Duane J. Brescia, Strasburger & Price LLP
720 Brazos Street, Suite 700
Austin, TX 78701                                                191     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
TRMI-H LLC
Mark Pfeiffer, Esquire
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                          192     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Croda Inc.
Christina Manuelli, Corporate Secretary
300-A Columbus Circle
Edison, NJ 08837-3907                                           193     10/28/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
The Hartz Consumer Group, Inc.
Attention: Curtis L. Michael, Vice President
400 Plaza Drive
Secaucus, NJ 07096                                              194     10/28/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                                                195     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Brown & Caldwell
c/o Greene Radovsky Maloney Share & Hennigh LLP
Attn: Edward Tredinnick, Esq.
Four Embarcadero Center, Suite 4000
San Francisco, CA 94111                                         196     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Acevedo Settlement Group 3
Reich & Binstock LLP
Attn: Dennis C. Reich, Esq.
4265 San Felipe Suite 1000
Houston, TX 77027                                               197     10/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Croda Inc.
Christina Manuelli, Corporate Secretary
300-A Columbus Circle
Edison, NJ 08837-3907                                           198     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Seitel Data, Ltd.
Duane J. Brescia, Strasburger & Price LLP
720 Brazos Street, Suite 700
Austin, TX 78701                                                199     10/28/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Texaco Inc.
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                          200     10/28/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
DII Industries, LLC
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                       201     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
DII Industries, LLC
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                       202     10/28/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Honeywell International Inc.
Tom Byrne
15 Tabor Road
Morris Plains, NJ 07950                                         203     10/28/2016      Maxus Energy Corporation                                   $0.00                                                      $0.00                                                                         $0.00
Liquidating Reichhold, Inc.
Attn: Mark Indelicato & Joseph Orbach
Hahn & Hessen LLP
488 Madison Avenue
New York, NY 10022                                              204     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00



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                                                                                                                 Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                    Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
Browning, Patricia A
2222 N. St. Augustine Dr.
Apt. #2214
Dallas, TX 75227                                                 205     10/27/2016   Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                          206     10/27/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Coats & Clark, Inc.
Stephan Custer
3430 Toringdon Way
Suite 301
Charlotte, NC 28277                                              207     10/27/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Aetna Life Insurance Company
Aaron McCollough
McGuireWoods LLP
77 W. Wacker Drive - Suite 4100
Chicago, IL 60601                                                208     10/27/2016    Gateway Coal Company                                                             $0.00                                                                                                        $0.00
Teva Pharmaceuticals USA, Inc. (f/k/a Biocraft Laboratories,
Inc.)
Proskauer Rose LLP
Attn: Gail S. Port, Esq.
Eleven Times Square
New York, NY 10036-8299                                          209     10/27/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                                            210     10/29/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Monastyrski, Swetlana
104 Lake Road B-2
Valley Cottage, NY 10989                                         211     10/27/2016   Maxus Energy Corporation                              $0.00                       $0.00                                                                                                        $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                          212     10/27/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Sequa Corporation
Gary P. Gengel, Esq.
c/o Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                                          213     10/27/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Aetna Life Insurance Company
Aaron McCollough
McGuireWoods LLP
77 W. Wacker Drive - Suite 4100
Chicago, IL 60601                                                214     10/27/2016   Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Cherry, Toni J
P O Box 293
115 Second St
Jefferson, PA 15344                                              215     10/30/2016    Gateway Coal Company                                 $0.00                                                                                                                                    $0.00
Cherry, James C
P O Box 293
115 Second St
Jefferson, PA 15344                                              216     10/30/2016    Gateway Coal Company                                 $0.00                                                                                                                                    $0.00
Butler, Deborah L
6822 22nd Ave North
#202
St. Petersburg, FL 33710                                         217     10/26/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Texaco Inc.
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 1920                                            218     10/28/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
The Sherwin-Williams Company
Mark R. Mazanec
Vice President of Environmental, Health, Safety
& Regulatory Affairs
101 West Project Avenue, Midland Building
Cleveland, OH 44115                                              219     10/27/2016     Tierra Solutions, Inc.                              $0.00                                                      $0.00                                                                         $0.00

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                                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                    Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 220     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 221     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Sequa Corporation
Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                               222     10/27/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Newark Morning Ledger Co.
Michael J. Anderson, Esq.
Sabin, Bermant & Gould LLP
One World Trade Center
New York, NY 10007-2915                                          223     10/27/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Teva Pharmaceuticals USA, Inc. (f/k/a Biocraft Laboratories,
Inc.)
Proskauer Rose LLP
Attn: Gail S. Port, Esq.
Eleven Times Square
New York, NY 10036-8299                                          224     10/27/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                                        225     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                                        226     10/28/2016       Maxus Energy Corporation                                                              $0.00                                                                                        $0.00           $0.00
Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                              227     10/31/2016       Maxus Energy Corporation                                                                                             $0.00                                                         $0.00           $0.00
Pension Benefit Guaranty Corporation
Attn: Michael Baird
Office of the Chief Counsel
1200 K St., NW, Suite 340
Washington, DC 20005-4026                                        228     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, NW, Suite 340
Washington, DC 20005-4026                                        229     10/28/2016       Maxus Energy Corporation                                                              $0.00                                                                                        $0.00           $0.00
BASF Corporation and BASF Catalysts LLC
David P. Schneider, Esq.
Bressler, Amery & Ross, P.C.
325 Columbia Turnpike
Florham Park, NJ 07932                                           230     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                                 231     10/28/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Quality Distribution, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 100
Washington, DC 20006                                             232     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00




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                                                                                                                   Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address               Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                              Amount                                                                                     Amount                                                Claim Amount
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                                  233     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Quality Distribution, Inc.
Bonni F. Kaufman
Holland & Knight
800 17th Street, NW
Suite 100
Washington, DC 20006                                       234     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                            235     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Pension Benefit Guaranty Corporation
Office Of The Chief Counsel
Attn: Michael Baird
1200 K Street
Suite 340
Washington, DC 20005-4026                                  236     10/28/2016       Maxus Energy Corporation                                                              $0.00                                                                                        $0.00           $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K Street, N.W., Suite 340
Washington, DC 20005-4026                                  237     10/28/2016       Maxus Energy Corporation                                                              $0.00                                                                                        $0.00           $0.00
URS Corporation
564 White Pond Dr.
Akron, OH 44320                                            238     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                        239     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                            240     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross P.C.
One Riverfront Plaza
Newark, NJ 07102                                           241     10/28/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel
Attn: Michael Baird
1200 K St., N.W.
Suite 340
, Washington DC 20005-4026                                 242     10/28/2016       Maxus Energy Corporation                                                              $0.00                                                                                        $0.00           $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                            243     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                            244     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
URS Corporation
564 White Pond Drive
Akron, OH 44320                                            245     10/31/2016         Tierra Solutions, Inc.                             $2,132.44                                                                                                                                  $2,132.44
URS Corporation
564 White Pond Drive
Akron, OH 44320                                            246     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                        247     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                         $0.00           $0.00
Alden Leeds Inc.
Joseph B. Fiorenzo, Esq.
Sills Cummis & Gross PC
One Riverfront Plaza
Newark, NJ 07102                                           248     10/28/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00



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                                                                                                                    Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address                 Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                               Amount                                                                                     Amount                                                Claim Amount
Standard Chlorine Chemical Company Superfund Site Trust
c/o De Maximis, Inc.
450 Montbrook Lane
Knoxville, TN 37919                                         249     10/31/2016 Maxus International Energy Company                                                          $0.00                          $0.00                                                                         $0.00
Linde, North America, Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                          250     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Alliance Chemical, Inc.
Fredi Pearlmutter, Esq.
Lindabury, McCormick, Estabrook & Cooper, P.C.
53 Cardinal Drive
Box 2369
Westfield, NJ 07091                                         251     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                                   252     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Sequa Corporation
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                          253     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                     254     10/28/2016   Maxus (U.S.) Exploration Company                              $0.00                       $0.00                                                                                                        $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                                       255     10/29/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                                       256     10/29/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                     257     10/28/2016         Tierra Solutions, Inc.                            $51,173.44                        $0.00                                                                                                   $51,173.44
Cooper Industries, LLC
Sonja A. Inglin, Esq.
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                                       258     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Linde, North America, Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                          259     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                                       260     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                         $0.00           $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                            261     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Cleopatra Gas Gathering Pipeline Company, LLC
Alston & Bird LLP
Attn: Sage Sigler
1201 W. Peachtree Street
Atlanta, GA 30309                                           262     10/27/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00




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                                                                                                                            Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                       Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
Sequa Corporation
Gary P. Gengel, Esq.
c/o Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                                             263     10/28/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00
Otis Elevator Company
Attn: Brian Freeman, Esquire
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103                                                  264     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Caesar Oil Pipeline Company, LLC
Alston & Bird LLP
Attn: Sage Sigler
1201 W. Peachtree Street
Atlanta, GA 30309                                                   265     10/27/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                    266     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Otis Elevator Company
Robinson + Cole
Attn: Brian Freeman Esq.
280 Trumball Street
Hartford, CT 06103                                                  267     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
145 US-46
Wayne, NJ 07470                                                     268     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Seitel Offshore Corp., as Venture Manager of Digitel Data Joint
Venture
Strasburger & Price LLP
Duane J. Brescia
720 Brazos Street, Suite 700
Austin, TX 78701                                                    269     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
145 US-46
Wayne, NJ 07470                                                     270     10/31/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Goodrich Corporation
Brian Freeman, Esq.
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103-3597                                             271     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Goodrich Corporation
Brian Freeman, Esq.
Robinson + Cole LLP
280 Trumbull Street
Hartford, CT 06103-3597                                             272     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Chevron Environmental Management Company
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                              273     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Hexcel Corporation
Joshua Frank, Esq.
Baker Botts LLP
1299 Pennsylvania Ave., N.W.
Washington, DC 20004-2400                                           274     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
TRMI-H LLC
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                              275     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00




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                                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                     Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Fiske Brothers Refining Company
Joseph M. Campisano, Esq.
Sedita, Campisano & Campisano, LLC
55 Lane Road, Suite 170
Fairfield, NJ 07004                                              276     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Vanderbilt Minerals, LLC
Attn: General Counsel
33 Winfield Street
Norwalk, CT 06856-5150                                           277     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                        278     10/28/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                                        279     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00

Franklin-Burlington Plastics, Inc.
Robert K. James, Vice President, Environmental and Secretary
33587 Walker Road
Avon Lake, OH 44012-1145                                         280     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Golden Marina Causeway LLC
Jeffrey K. Paulsen
FactorLaw
105 W. Madison
Suite 1500
Chicago, IL 60602                                                281     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                          282     10/28/2016        Gateway Coal Company                                     $0.00                       $0.00                                                                                                        $0.00
Citibank, N.A.
Attn: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                                               283     10/28/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00
Hexcel Corporation
Joshua Frank, Esq.
Baker Botts LLP
1299 Pennsylvania Ave., N.W.
Washington, DC 20004-2400                                        284     10/28/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
East Greenfield Investors LLC
Jeffrey K. Paulsen
FactorLaw
105 W. Madison
Suite 1500
Chicago, IL 60602                                                285     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
The Hartz Consumer Group, Inc.
Attention: Curtis L. Michael, Vice President
400 Plaza Drive
Secaucus, NJ 07096                                               286     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Honeywell International Inc.
Tom Byrne
15 Tabor Road
Morris Plains, NJ 07950                                          287     10/28/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                                                 288     10/28/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00
Pharmacia LLC
Seyfarth Shaw LLP
Attn: William L. Prickett
2 Seaport Lane #300
Boston, MA 02210                                                 289     10/28/2016 Maxus International Energy Company                                                                                         $0.00                                                                         $0.00



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                                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                       Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Legacy Vulcan Corp.
Tracey Taylor
1200 Urban Center Drive
Birmingham, AL 35242                                               290     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                            291     10/28/2016         Tierra Solutions, Inc.                            $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                            292     10/28/2016 Maxus International Energy Company                        $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                            293     10/28/2016       Maxus Energy Corporation                            $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                            294     10/28/2016 Maxus International Energy Company                        $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                            295     10/28/2016       Maxus Energy Corporation                                  $0.00                       $0.00                                                                                                        $0.00
YPF Services USA Corp.
Norton Rose Fulbright US LLP
Attn:Howard Seife,Samuel S. Kohn,Francisco Vazquez
1301 Avenue of the Americas
New York, NY 10019-6022                                            296     10/28/2016   Maxus (U.S.) Exploration Company                        $17,307.58                        $0.00                                                                                                   $17,307.58
Sweeney, Anne
3400 Wooster Rd, Apt 501
Rocky River, OH 44116                                              297     10/29/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Davis, Mary F
3618 Green St
Harrisburg, PA 17110                                               298     10/31/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                   299     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                         $0.00           $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                                   300     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                                            301     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Wisconsin Electric Company and Wisconsin Gas LLC (collectively
here "We Energies")
Lauren Beslow, Quarles & Brady LLP
300 N. LaSalle Street, Suite 4000
Chicago, IL 60654                                                  302     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Norton Rose Fulbright US LLP
c/o Michael Parker
300 Convent Street, Suite 2100
San Antonio, TX 78205                                              303     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00




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                                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                  Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Old Republic General Insurance Corporation
c/o Fox Swibel
Attn: Margaret M. Anderson
200 West Madison Street, Suite 3000
Chicago, IL 60606                                             304     10/31/2016        Gateway Coal Company                                     $0.00                                                      $0.00                                                                         $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              305     10/31/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                            306     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                                     307     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Legal Cost Control, Inc.
255 Kings Highway East
Haddonfield, NJ 08033                                         308     10/31/2016       Maxus Energy Corporation                            $51,173.44                                                                                                                                $51,173.44
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                                         309     10/31/2016 Maxus International Energy Company                                                          $0.00                          $0.00                                                                         $0.00
OAKTON, INC.
P.O. Box 144
Painesville, OH 44077                                         310     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              311     10/31/2016 Maxus International Energy Company                                                                                         $0.00                                                         $0.00           $0.00
Daugherty, Mahlon H
139 Selway Ct
Lewiston, ID 83501                                            312     10/28/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Leemilt's Petroleum, Inc. (Successor to Power Test of New
Jersey, Inc.)
c/o Nicole R. Moshang, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cywnyd, PA 19004                                         313     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
The Essex County Improvement Authority
Mark Pfeiffer, Esq.
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                        314     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07101                                              315     10/31/2016       Maxus Energy Corporation                                                                                             $0.00                                                         $0.00           $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                              316     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Hach Excavating & Demolition
Forbes Law LLC
166 Main Street
Painesville, OH 44077                                         317     10/31/2016       Maxus Energy Corporation                            $29,632.00                                                                                                                                $29,632.00




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                                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                  Total Current
                 Creditor Name and Address                  Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                 Amount                                                                                     Amount                                                 Claim Amount
AIG Assurance Company on behalf of the entities listed on
Exhibit A
Attn: Eric Manne
175 Water Street
15th Floor
New York, NY 10038                                            318     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                      $0.00
Beard Jr, Oscar J
237 County Road 433
Chireno, TX 75937                                             319     10/30/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                      $0.00
Occidental Chemical Corporation
Melissa Hunt
Associate General Counsel
Occidental Petroleum
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                              320     10/31/2016       Maxus Energy Corporation                      $510,626,872.18                                                                                                                              $510,626,872.18
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                       321     10/31/2016        Gateway Coal Company                                     $0.00                       $0.00                          $0.00                                                                           $0.00
DiLorenzo Properties Company on behalf of itself and the
Goldman/Goldman/DiLorenzo Properties Partne
Steven Schwartz
401 E. 74th Street, Apt. 6F
New York, NY 10021-3919                                       322     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                           $0.00
AIG Assurance Company on behalf of the entities listed on
Exhibit A
AIG, Inc. Attn: Eric Manne
175 Water Street
15th Floor
New York, NY 10038                                            323     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                      $0.00
Mallinckrodt LLC (f/k/a Mallinckrodt Inc.)
William S. hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                              324     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                      $0.00
Legal Cost Control, Inc.
255 Kings Highway East
Haddonfield, NJ 08033                                         325     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                      $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                       326     10/31/2016       Maxus Energy Corporation                                  $0.00                       $0.00                                                                                                          $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                       327     10/31/2016   Maxus (U.S.) Exploration Company                              $0.00                       $0.00                                                                                                          $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                       328     10/31/2016         Tierra Solutions, Inc.                                  $0.00                       $0.00                                                                                                          $0.00
Standard Chlorine Chemical Company Superfund Site Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                           329     10/31/2016         Tierra Solutions, Inc.                                                                                                                                                           $0.00             $0.00
AIG Assurance Company on behalf of the entities listed on
Exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 10038                                            330     10/31/2016 Maxus International Energy Company                              $0.00                                                                                                                                      $0.00
Kearny Peninsula Sites Environmental Remediation Trust
c/o De Maximis, Inc.
450 Montbrook Lane
Knoxville, TN 37919                                           331     10/31/2016 Maxus International Energy Company                                                                                         $0.00                                                         $0.00             $0.00



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                                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                  Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Kearny Peninsula Sites Environmental Remediation Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                           332     10/31/2016       Maxus Energy Corporation                           $243,622.71                        $0.00                                                                                                  $243,622.71
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              333     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              334     10/31/2016 Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              335     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                            336     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
AIG Assurance Company on behalf of the entities listed on
exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 10038                                            337     10/31/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
SCCC Site Performing Parties Group
Todd D. Kantorczyk, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Avenue
Suite 901
Bala Cynwyd, PA 19004                                         338     10/31/2016 Maxus International Energy Company                              $0.00                                                      $0.00                                                         $0.00           $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue
Suite 1015
Wilmington, DE 19801-1671                                     339     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                                         340     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                         $0.00           $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              341     10/31/2016 Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Cooper Industries, LLC
Sonja A. Inglin, Esq.
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                                         342     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
AIG Assurance Company on behalf of the entities listed on
exhibit A
AIG, Inc.
Attn: Eric Manne
175 Water Street, 15th Floor
New York, NY 11038-4969                                       343     10/31/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00




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                                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                  Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Beazer East, Inc.
Todd D. Kantorczyk, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                                         344     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                         $0.00           $0.00
21st Century Fox America, Inc.
Peter Simshauser, Esq.
Skadden, Arps, Slate, Meagher & Flom LLP
500 Boylston Street
Boston, MA 02116                                              345     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
21st Century Fox America, Inc.
Peter Simshauser, Esq.
Skadden, Arps, Slate, Meagher & Flom LLP
500 Boylston Street
Boston, MA 02116                                              346     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              347     10/31/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00
Leemilt's Petroleum, Inc. (Successor to Power Test of New
Jersey, Inc.)
Leemilt's Petroleum, Inc.
c/o Nicole R. Moshang, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                                         348     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
The Essex County Improvement Authority
Mark Pfeiffer, Esq,
Buchanan Ingersoll & Rooney PC
50 S. 16th St., Ste. 3200
Philadelphia, PA 19102                                        349     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                              350     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
DiLorenzo Properties Company on behalf of itself and the
Goldman/Goldman/DiLorenzo Properties Partne
Steven Schwartz
401 E. 74th Street, Apt. 6F
New York, NY 10021-3919                                       351     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                              352     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Benjamin Moore & Co.
Paul Sangillo, Esq.
101 Paragon Drive
Montvale, NJ 07645                                            353     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                              354     10/31/2016 Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Cooper Industries, LLC
Sonja A. Inglin
Baker & Hostetler LLP
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                                         355     10/31/2016 Maxus International Energy Company                              $0.00                                                      $0.00                                                                         $0.00
Celanese Corporation
Morgan, Lewis & Bockius LLP
Attn: Julia Frost-Davies
One Federal Street
Boston, MA 02110                                              356     10/31/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00



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                                                                                                            Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address                 Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
Benjamin Moore & Co.
Paul Sangillo, Esq.
101 Paragon Drive
Montvale, NJ 07645                                          357     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                            358     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Cliffs Mining Company
Christopher B. Wick, Esq.
Hahn Loeser & Parks LLP
200 Public Square, Suite 2800
Cleveland, OH 44114-2544                                    359     10/31/2016   Maxus Energy Corporation                       $550,000.00                                                                                                                               $550,000.00
Pen-Cal Administrators, Inc
6210 Stoneridge Mall Rd. Ste 300
Pleasanton, CA 95683                                        360     10/31/2016   Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
SCCC Site Performing Parties Group
Todd D. Kantorczyk, Esq.
Manko, Gold, Katcher & Fox, LLP
401 City Avenue
Suite 901
Bala Cynwyd, PA 19004                                       361     10/31/2016   Maxus Energy Corporation                       $243,672.71                                                       $0.00                                                         $0.00     $243,672.71
The Dow Chemical Company
C/O Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                    362     10/31/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
McCullough, John R
20 Bayon Dr Apt 216
South Hadley, MA 01075-3335                                 363     10/31/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Essex Chemical Corporation
Kenneth H. Mack, Esq.
Fox Rothschild LLP
997 Lenox Drive, Building Three
Lawrenceville, NJ 08648                                     364     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                          365     10/31/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Legacy Vulcan Corp.
Tracey Taylor
1200 Urban Center Drive
Birmingham, AL 35242                                        366     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Standard Chlorine Chemical Company Superfund Site Trust
c/o de maximis, inc.
450 Montbrook Lane
Knoxville, TN 37919                                         367     10/31/2016   Maxus Energy Corporation                       $243,622.71                                                       $0.00                          $0.00                                    $243,622.71
Covanta Essex Company
Gary P. Gengel, Esq.
Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                                     368     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                          369     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Stanley Black & Decker, Inc.
Andrew L. Kolesat, Esq.
Thompson HIne LLP
312 Walnut Street, 14th Floor
Cincinnati, OH 45202                                        370     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00




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                                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                       Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Pharmacia LLC
John F. Gullace, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                                              371     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Newell Brands Inc. (f/k/a Newell Rubbermaid Inc.) on behalf of
itself and its wholly-owned subsidiar
Kristin Holloway Jones
Newell Brands Inc.
6655 Peachtree Dunwoody Road
Atlanta, GA 30328                                                  372     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                                 373     10/31/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00
The Newark Group, Inc.
David Meezan, Esq.
Kazmarek Mowrey Cloud Laseter LLP
1230 Peachtree St., NE
Suite 3600
Atlanta, GA 30309                                                  374     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
The Dow Chemical Company
c/o Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                           375     10/31/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
The Dow Chemical Company
c/o Rivkin Radler LLP
Attn: James V. Aiosa
926 RXR Plaza
Uniondale, NY 11556-0926                                           376     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Essex Chemical Corporation
Kenneth H. Mack, Esq.
Fox Rothschild LLP
997 Lenox Drive, Building Three
Lawrenceville, NJ 08648                                            377     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Covanta Essex Company
Gary P. Gengel, Esq.
Latham & Watkins, LLP
885 Third Avenue
New York, NY 10022-4834                                            378     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                      $0.00                                                                         $0.00
Claim docketed in error
                                                                   379     10/31/2016       Maxus Energy Corporation                                                                                                                                                                           $0.00
Stanley Black & Decker, Inc.
Andrew L. Kolesar, Esq.
Thompson Hine LLP
312 Walnut Street, 14th Floor
Cincinnati, OH 45202                                               380     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
PPG Industries, Inc.
c/o Gary Gengel, Esq.
Latham & Watkins LLP
885 Third Avenue
New York, NY 10022                                                 381     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
The Newark Group, Inc.
David Meezan, Esq.
Kazmarek Mowrey Cloud Laseter LLP
1230 Peachtree St., NE
Suite 3600
Atlanta, GA 30309                                                  382     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
S & A REALTY ASSOCIATES, INC.
FOX ROTHSCHILD LLP
ATTN: JEFFREY M. POLLOCK
PRINCETON PIKE CORP. CENTER
997 LENOX DRIVE, BUILDING 3
LAWRENCEVILLE, NJ 08648                                            383     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00




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                                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                       Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Hercules LLC (f/k/a Hercules Incorporated)
William C. Heck, Esq.
Kelley Drye & Warren LLP
101 Park Avenue
New York, NY 10178                                                 384     10/31/2016 Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Public Service Electric and Gas Company
Attn: Phillip W. Allogremento III, Esq.
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                                                 385     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
PSEG Fossil, LLC
Attn: Phillp W. Allogramento III
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                                                 386     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Cooper Industries, LLC
c/o Baker & Hostetler LLP
Attn: Sonja A. Inglin
11601 Wilshire Boulevard, Suite 1400
Los Angeles, CA 90025                                              387     10/31/2016 Maxus International Energy Company                              $0.00                                                      $0.00                                                                         $0.00
El Paso Remediation Company
Saul Ewing LLP
Attn: Robyn F. Pollack, Esq.
1500 Market Street, 38th Floor
Philadelphia, PA 19102-2186                                        388     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
BASF Corporation and BASF Catalysts LLC
David P. Schneider, Esq.
Bressler, Amery & Ross, P.C.
325 Columbia Turnpike
Florham Park, NJ 07932                                             389     10/31/2016       Maxus Energy Corporation                                  $0.00                                                      $0.00                                                                         $0.00
Public Service Electric and Gas Company
Attn: Philip W. Allogramento III
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                                                 390     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Newell Brands Inc. (f/k/a Newell Rubbermaid Inc.) on behalf of
itself and its wholly-owned subsidiar
Kristin Holloway Jones
6655 Peachtree Dunwoody Road
Atlanta, GA 30328                                                  391     10/31/2016         Tierra Solutions, Inc.                                                                                             $0.00                                                                         $0.00
Analysis Group, Inc.
Attn: Michael Seigfried
111 Huntington Ave, 14th Floor
Boston, MA 02199                                                   392     10/31/2016       Maxus Energy Corporation                            $77,911.94                                                                                                                                $77,911.94
Ashland, Inc. (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                                   393     10/31/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                                   394     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Mallinckrodt LLC (f/k/a Mallinckrodt Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                                   395     10/31/2016       Maxus Energy Corporation                                  $0.00                                                                                                                                    $0.00
Old Republic General Insurance Corporation
c/o Fox Swibel
Attn: Margaret M. Anderson
200 West Madison Street, Suite 3000
Chicago, IL 60606                                                  396     10/31/2016       Maxus Energy Corporation                                                                                             $0.00                                                                         $0.00




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                                                                                                Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address   Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                           Amount                                                                                     Amount                                                Claim Amount
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                                397     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                398     10/31/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
PSEG Fossil, LLC
Attn: Philip W. Allogramento III, Esq.
Connell Foley, LLP
56 Livingston Avenue
Roseland, NJ 07068                              399     10/31/2016   Maxus Energy Corporation                              $0.00                                                      $0.00                                                                         $0.00
El Paso Remediation Company
Saul Ewing LLP
Attn: Robyn F. Pollack, Esq.
1500 Market Street, 38th Floor
Philadelphia, PA 19102-2186                     400     10/31/2016     Tierra Solutions, Inc.                                                                                         $0.00                                                                         $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                            401     10/31/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Portland State University
c/o Miller Nash Graham & Dunn LLP
Attn: Jeanne Sinnott
111 SW Fifth Ave #3400
Portland, OR 97204                              402     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                403     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Pharmacia LLC
John F. Gullace, Esquire
Manko, Gold, Katcher & Fox, LLP
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                           404     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                      $0.00                                                                         $0.00
Passaic Valley Sewerage Commission
c/o Wilentz, Goldman & Spitzer, P.A.
Attn: David H. Stein, Esq.
90 Woodbridge Center Drive
Suite 900, Box 10
Woodbridge, NJ 07095                            405     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                406     10/31/2016   Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                407     11/2/2016    Maxus Energy Corporation                              $0.00                                                      $0.00                                                         $0.00           $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                408     10/31/2016     Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00




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                                                                                                                             Amount                                                                                     Amount                                                Claim Amount
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                        409     11/2/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                         $0.00           $0.00
Apogent Transition Corp.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                        410     11/2/2016    Maxus International Energy Company                                                                                         $0.00                                                         $0.00           $0.00
Purdue Pharma Technologies Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                      411     11/2/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Purdue Pharma Technologies Inc.
James Stewart, Esq.
Lowenstein Sandler LLP
65 Livingston Avenue
Roseland, NJ 07068                                      412     11/2/2016        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                                        413     10/31/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
The Board of Trustees of the University of Illinois
Grants and Contracts Post Award Administration
1901 South First Street, Suite A
Champaign, IL 61820-7406                                414     11/2/2016           Tierra Solutions, Inc.                            $110,711.82                                                                                                                               $110,711.82
American Natural Resources Company
Mark Moedritzer
Shook, Hardy & Bacon L.L.P.
2555 Grand Blvd.
Kansas City, MO 64108                                   415     10/31/2016       Maxus Energy Corporation                             $803,924.25                                                                                                                               $803,924.25
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                        416     11/4/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                        417     11/4/2016        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                        418     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
General Dynamics Corporation
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                        419     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                        420     11/4/2016        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00




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                                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                     Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 421     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sunoco, Inc. f/k/a Sun Oil Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 422     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 423     11/4/2016        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 424     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sunoco, Inc. (R&M) f/k/a Sun Refining & Marketing Co.
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 425     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 426     11/4/2016           Tierra Solutions, Inc.                                                                                              $0.00                                                                         $0.00
Sun Pipe Line Company
Lanny S. Kurzweil, Esq.
McCarter & English, LLP
Four Gateway Center
100 Mulberry Street
Newark, NJ 07102                                                 427     11/4/2016    Maxus International Energy Company                                                                                         $0.00                                                                         $0.00
U.S. Ecology
17440 College Parkway, Suite 300
Livonia, MI 48152                                                428     11/7/2016           Tierra Solutions, Inc.                             $37,351.28                                                                                                                                $37,351.28
Collums, Kary
Kary Pickett
PO Box 386
Etoile, TX 75944                                                 429     11/7/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Francis, Robert J
26916 Eastwood Ln
Olmsted TWP, OH 44138                                            430     11/8/2016        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Flook, Robert C.
15238 W. Baker Avenue
Lakewood, CO 80228                                               431     11/9/2016        Maxus Energy Corporation                              $17,799.22                        $0.00                                                                                                   $17,799.22
Dunlap, Perry E
c/o Mark Dunlap, Independent Executor of the Estate of Perry
Dunlap, Deceased
7707 Tripp
Amarillo, TX 79121                                               432     11/9/2016        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Canada, Gregory E
4305 West 37th Ave
Amarillo, TX 79109-4317                                          433     11/11/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                                          434     11/11/2016       Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address                      Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Gary Kimbley, Individually and as Representative of the Estate
of Rollie Kimbley
SGPB
3232 McKinney Avenue, Suite 610
Dallas , TX 75204                                                  435     10/18/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MILLER, MICHAEL J.
PO BOX 51105
AMARILLO, TX 79159-1105                                            436     11/11/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Hahn, Thomas Theodore
209 N 6th St.
Weatherford, OK 73096                                              437     11/14/2016      Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
HUNTER, DICKIE
5905 GIVERNY
FLOWER MOUND, TX 75022-5593                                        438     11/15/2016   Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
DAVIS, FRANKLIN
3219 BRYN MAWR DR
DALLAS, TX 75225-7646                                              439     11/15/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
HOUGH, DANNY
60785 E 192 RD
FAIRLAND, OK 74343-3135                                            440     11/17/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Kos, Joseph
551 Ridge Road
Brownsville, PA 15417                                              441     11/18/2016        Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
CHAPPELL, DONNA
9488 CRANE ST.
LANTANA, TX 76226-6463                                             442     11/17/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Pokorny, Christine A.
7039 Anthony Lane
Parma Hts., OH 44130                                               443     11/18/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
WALKER, WILLIE
3595 CUMMINGS RD
CLEVELAND HEIGHTS, OH 44118-2650                                   444     11/21/2016      Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
The Intelligence Group LLC
1545 Route 206 Ste 202
Bedminster, NJ 07921                                               445     11/22/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
WILLIAMS, CHRISTI FORD
365 MUSTANG BLVD
PORT ARANSAS, TX 78373-4916                                        446     11/23/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
TENEYCK, DAVID
2516 FOSSIL TRACE CT
GOLDEN, CO 80401                                                   447     11/23/2016      Maxus Energy Corporation                             $25,486.66                        $0.00                                                                                                   $25,486.66
Morgan, Penny
207 Park Meadows Drive
Euless, TX 76039                                                   448     11/23/2016      Maxus Energy Corporation                              $7,498.68                        $0.00                                                                                                     $7,498.68
Salinas, Michele
1319 Highland Dr
Mansfield, TX 76063                                                449     11/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Handley, Debbie
7819 lLegend Ave.
Amarillo, TX 79121                                                 450     11/29/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Larson, Katherine D'Ann
6305 Hinsdale Drive
Amarillo, TX 79109                                                 451     11/29/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Lewis, David
1859 County Road 1350
Chickasha, OK 73018-8023                                           452     11/30/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
HUXFORD, TERRY
PO BOX 885
ROOSEVELT, UT 84066-0885                                           453     11/30/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Mastovich, Stephen
12 Camino Dimitrio
Santa Fe, NM 87508-9123                                            454     11/30/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
Mastovich, Stephen
12 Camino Dimitrio
Santa Fe, NM 87508-9123                                            455     11/30/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Lewis, David
1859 County Road 1350
Chickasha, OK 73018-8023                                           456     11/30/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00


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                  Creditor Name and Address                       Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
Shoulders, Cynthia
5779 Epworth Rd.
Newburgh, IN 47630                                                  457     11/30/2016      Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
SIEGEL, ELISA
4601 N. PARK AVE., #1813
CHEVY CHASE, MD 20815-4546                                          458     11/30/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Goolsby, Melinda G
408 Chisolm Trail
Hurst, TX 76054                                                     459     11/30/2016      Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Bradford, Karen
834 Nora Lane
Desoto, TX 75115                                                    460     12/2/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
BLAKE, KATRINA
6975 SO. PENROSE CT.
CENTENNIAL, CO 80122                                                461     12/2/2016       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
LaFortune, Robert (deceased) and Deborah (beneficiary)
6580 S. Ridge Rd. West
Geneva, OH 44041                                                    462     12/2/2016       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Sojitz Energy Venture, Inc.
Robin B. Cheatham
Adams and Reese LLP
701 Poydras Street, Suite 4500
New Orleans, LA 70139                                               463     12/5/2016    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                    $0.00           $0.00
Cameron, Kenneth
P.O. Box 428
Rowlett, TX 75030                                                   464     12/5/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
U.S. Dep't of Labor, Office of Worker's Comp. Programs, Div. of
Coal Mine Workers' Comp.
Kevin Lyskowski
U.S. Department of Labor
200 Constitution Avenue, NW, Suite N-2119
Washington, DC 20210                                                465     12/5/2016         Gateway Coal Company                                     $0.00                       $0.00                                                                                                        $0.00
U.S. Dep't of Labor, Office of Worker's Comp. Programs, Div. of
Coal Mine Workers' Comp.
Kevin Lyskowski
U.S. Department of Labor
200 Constitution Avenue, NW, Suite N-2119
Washington, DC 20210                                                466     12/5/2016       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
Pendleton, John Asbury
3805 Navasota
Amarillo, TX 79109                                                  467     12/5/2016       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Quirk, Randy J.
7914 Barstow Drive
Amarillo, TX 79118-8107                                             468     12/13/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
State of Ohio, Ohio Environmental Protection Agency
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus, OH 43215                                                  469     12/15/2016      Maxus Energy Corporation                         $25,000,000.00                                                                                                                             $25,000,000.00
State of Ohio, Ohio Environmental Protection Agency
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus , OH 43215                                                 470     12/15/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
State of Ohio, Ohio Department of Natural Resources
c/o Michael E. Idzkowski
Ohio Attorney General's Office
Environmental Enforcement Section
30 East Broad Street, 25th Floor
Columbus, OH 43215                                                  471     12/15/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Department of the Interior/Office of Natural Resources
Revenue
PO Box 25165 MS 64200B
Denver, CO 80225                                                    472     12/15/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00




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                                                                                                                            Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                        Claim No. Claim Date                Debtor                                                Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
United States on behalf of EPA, DOI, and NOAA
David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
P.O. Box 7611, U.S. Department of Justice
Washington, D.C. 20044-7611                                         473     12/15/2016      Maxus Energy Corporation                       $145,696,361.00                                                                                                                      $0.00 $145,696,361.00
United States on behalf of EPA, DOI, and NOAA
c/o: David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice P.O. Box 7611
Washington, DC 20044-7611                                           474     12/15/2016      Maxus Energy Corporation                                   $0.00                                                                                                                $9,205.00        $9,205.00
United States, Department of the Interior, Bureau of Safety and
Environmental Enforcement(BSEE)
Phyllisina Leslie, Department of the Interior
1849 C Street, NW, MS 5358
Washington, DC 20240                                                475     12/15/2016   Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
United States on behalf of EPA, DOI, and NOAA
c/o: David L. Gordon & Donald G. Frankel
Environmental Enforcement Section
Environment and Natural Resources Division
U.S. Department of Justice P.O. Box 7611
Washington, DC 20044-7611                                           476     12/15/2016         Tierra Solutions, Inc.                                  $0.00                                                                                                                    $0.00           $0.00
Bureau of Land Management, Wyoming State Office
Phyllisina Leslie, Department of the Interior
1849 C Street, NW, MS 5358
Washington, DC 20240                                                477     12/15/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Kentucky Energy and Environment Cabinet
Daniel Cleveland, Esq.
Office of General Counsel
300 Sower Blvd, 3rd Floor
Frankfort, KY 40601                                                 478     12/15/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Claim docketed in error
                                                                    479     12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Gibson-Lopez, Kyle
508 Chitalpa Street
Leander, TX 78641                                                   480     12/21/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                                                   481     12/28/2016      Maxus Energy Corporation                            $195,000.00                        $0.00                                                                                                  $195,000.00
Dykes, Thomas
6653 MS Hwy 568
Osyka, MS 39657                                                     482     12/28/2016      Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                                                   483     1/12/2017       Maxus Energy Corporation                            $185,000.00                        $0.00                                                                                                  $185,000.00
Phillips, Charles N
114 Myrtle Lane
Onalaska, TX 77360                                                  484     1/17/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
JARMON, WILLIAM CURTIS
1007 RIDGE AVENUE
TUSCUMBIA, AL 35674-4534                                            485     1/17/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DYKES, JAMES DAVID
11611 N LEE HUGHES RD
HAMMOND, LA 70401-4811                                              486     1/17/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
FLOREK, LARRY
861 RIDGEVIEW DR.
MEDINA, OH 44256                                                    487     1/17/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
WISDOM, TERRY
10914 LANE ST.
HOUSTON, TX 77029-2832                                              488     1/17/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Rice, James B
2278 CR 499
Hico, TX 76457                                                      489     1/18/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Fenton Jr, Richard C
29611 Fairway Bluff DR
Fair Oaks Ranch, TX 78015                                           490     1/18/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                Debtor                                                  Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Murray, Curtis W
27410 Winebrook Creek Ln
Katy, TX 77494-2768                            491     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                         492     1/18/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                         493     1/18/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Turner, Craig E
207 Hidden Wood Drive
Lafayette, LA 70508                            494     1/18/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Mathis, Chris L
3605 Field Stone Dr.
Carrollton, TX 75007                           495     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Good, Douglas S
2140 Nob Hill
Carrollton, TX 75006                           496     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Ramsey, Hal
104 Willis Dr. Lot 24
Saint Martinville, LA 70582-5101               497     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hornsby, Helen R
7013 Birkshire Dr
Amarillo, TX 79109-6495                        498     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nelson, Ronald J
924 Creek Xing
Coppell, TX 75019-3186                         499     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Solomon, Timothy Dale
19914 Hanna Nash
Crosby, TX 77532                               500     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Mosher, Scott L.
225 Highland St
Woodland Park, CO 80863                        501     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DEMBNY, NANCY L
3209 ABINGDON DRIVE
RICHARDSON, TX 75082                           502     1/17/2017        Maxus Energy Corporation                                                                                                                              $0.00                                          $0.00
Spriggs, Alan K.
10615 South Morningview
Santa Fe, TX 77510-7951                        503     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Chaney, Thomas R
5215 Rose St Unit C
Houston, TX 77007-5392                         504     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Myers, Lonnie L.
206 Wellesley Drive
Spartanburg, SC 29307-2967                     505     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Edge, Grover Devone
6232 Rock Creek Rd NE
Leland, NC 28451                               506     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-3930                          507     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-6930                          508     1/19/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Yancich, Richard D.
PO Box 1
Dilliner, PA 15327                             509     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Yancich, Richard D.
PO Box 1
Dilliner, PA 15327                             510     1/19/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Wilson, William
1916 Bohemia Dr.
Cordova, TN 38016                              511     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Shaw, William L.
630 Pecanwood Road
Charlotte, NC 28214                            512     1/19/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Licata, John A
6200 Brook Shadow Drive
Greensboro, NC 27410                           513     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Anderson, Billy C
5901 Fairchild Ct
Plano, TX 75093                                514     1/19/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KOTLINSKI, GREGORY W
24768 WILDWOOD DRIVE
WESTLAKE, OH 44145                             515     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAURIE, LANCE L
PO BOX 191
BOOKER, TX 79005-0191                          516     1/19/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                     517     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                     518     1/18/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                     519     1/18/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                     520     1/18/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Koczan, David A
1004 W 97th Terrace
Kansas City, MO 64114-3800                     521     1/18/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Carr, Cornelius
8548 Bella Dr
Macedonia, OH 44056-1878                       522     1/19/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Bailey, Kenneth D.
4748 Pin Oaks Circle
Rockwall, TX 75032                             523     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bailey, Kenneth D.
4748 Pin Oaks Circle
Rockwall, TX 75032                             524     1/19/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Zetts, Arthur E
9194 Vernon Hill Drive
North Ridgeville, OH 44039-9763                525     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carlini, Robert T
1008 Dogwood Ct.
Colleyville, TX 76034                          526     1/18/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Miller, Larry D
10650 Crosby Lynchburg Rd
Crosby, TX 77532-693                           527     1/19/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381                          528     1/19/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                     529     1/19/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                     530     1/19/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Aaron, Craig Alan
307 Lighthouse Point Circle
Youngsville, LA 70592                          531     1/19/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381                          532     1/19/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Romo, John A
PO Box 47
Bushland, TX 79012-0047                        533     1/19/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Julstrom, Peter E
5656 Chickering Court
Bartlesville, OK 74006                         534     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Flowers, Steven Joseph
3401 Lee Parkway, Apt. # 1009
Dallas, TX 75219                               535     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Laurie, Lance L
PO Box 191
Booker, TX 79005-0191                          536     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Griffith, Patricia C
7109 Shipp Road
Rowlett, TX 75088                            537     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BLUESTEIN, PAUL J
17 ROGER RD
EDISON, NJ 08817                             538     1/20/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BLUESTEIN, PAUL J
17 ROGER ROAD
EDISON, NJ 08817                             539     1/20/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Frederick, John M
440 Private Road 5980
Yantis, TX 75497                             540     1/19/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
MOORE, JAMES W
14100 ASHTON RD
ROCKY POINT, NC 28457                        541     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CARR, CORNELIUS
8548 BELLA DRIVE
MACEDONIA, OH 44056-1878                     542     1/19/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CARR, CORNELIUS
8548 BELLA DRIVE
MACEDONIA, OH 44056-1878                     543     1/19/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Barstow, Roger L
71 Morgan Rd East
Spring City, TN 37381-7611                   544     1/19/2017        Maxus Energy Corporation                                                                                                                              $0.00                                          $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                     545     1/19/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carr, Cornelius
8548 Bella Dr
Macedonia, OH 44056-1878                     546     1/19/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SCOTT, CATHERINE S
5911 COUNTY ROAD 63
P.O. BOX 572
KILLEN, AL 35645                             547     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                        548     1/20/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BLUESTEIN, PAUL J
17 ROGER RD
EDISON, NJ 08817                             549     1/20/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BLYTHE, ANNA M
PO BOX 761
WEIMAR, TX 78962                             550     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
POTTS, CARROLL C
4614 OAKMONT CIRCLE
PASADENA, TX 77505-4320                      551     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BLYTHE, RANDY D
PO BOX 761
WEIMAR, TX 78962                             552     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
LAMPE, N SCOTT
212 109TH AVE SE
BELLEVUE, WA 98004                           553     1/20/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                     554     1/20/2017    Maxus International Energy Company                              $0.00                       $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                     555     1/20/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                     556     1/20/2017     Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
Lapkowicz, Joseph M.
189 Johnson Hill Rd
Carmichaels, PA 15320                        557     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GORDON, MARK B.
14218 AUTUMN MIST
CYPRESS, TX 77429-6372                       558     1/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00




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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
MEUSEL, ARTHUR L
2344 BRENTFIELD RD W
JACKSONVILLE, FL 32225                        559     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCFATHER, JANICE S
1301 Garrison DR
ST Augustine, FL 32092-1072                   560     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                              561     1/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                         562     1/21/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                         563     1/21/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                         564     1/21/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                         565     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KILGORE, RICHARD
5311 WHISPERING OAKS DR
DALLAS, TX 75236-1743                         566     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROUILLARD, NANCY J
1121 N COUNTY ROAD 310
EARLY, TX 76802-3741                          567     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RABORN, CLEHON B
206 FLAGSTONE COURT
LAFAYETTE, LA 70503-5966                      568     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                              569     1/20/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WILLIFORD, JOHN A
10320 HUNTER CREEK LN
CONROE, TX 77304                              570     1/20/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BEHRENDT, WILLIAM P
14442 DALY DRIVE
HOUSTON, TX 77077-1058                        571     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                      572     1/20/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Lapkowicz, Joseph M.
189 Johnson Hill Rd
Carmichaels, PA 15320                         573     1/20/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PATTERSON, CARL L.
2699 ALICIA LANE
MELBOURNE, FL 32935-3669                      574     1/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DIMAIO, JOYCE A.
308 DEVON RD
FAIRLESS HILLS, PA 19030                      575     1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KOPPELMAN, JOHN C
26521 N 115TH ST
SCOTTSDALE, AZ 85255                          576     1/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ELZNER, DEBORAH KAY
26319 RIMWICK FOREST DR.
MAGNOLIA, TX 77354                            577     1/21/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BROUILLARD, NANCY J
1121 N COUNTY ROAD 310
EARLY, TX 76802-3741                          578     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nethercutt, Melvin M
4196 FM 1011
Liberty, TX 77575                             579     1/23/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BIVENS, RAY D
906 N HIGHWAY 87
TULIA, TX 79088-1024                          580     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TEICHMER, SANDRA
2865 ALICE ST
WHITEHALL, MI 49461                           581     1/21/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Shields, Scott Morgan
27502 Meeks Bay CT
Katy, TX 77494                               582     1/23/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
Frederick, John M
440 Private Road 5980
Yantis, TX 75497                             583     1/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LANDRY, LARRY P
65087 E ROCKY MESA DR
TUCSON, AZ 85739-1694                        584     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARNES JR, GRADY R
230 GOOSE NECK RD
ROCKY POINT, NC 28457                        585     1/21/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SLOCKI, ALLEN T.
6268 FERNSTONE TRAIL NW
ACWORTH, GA 30101-3580                       586     1/21/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
PACHULSKI, JAMES M.
16311 TURTLE DOVE LANE
CANYON, TX 79015                             587     1/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BUTTERFIELD, JACK D
719 CORAL DRIVE
CAPE CORAL, FL 33904                         588     1/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bobe, Henry Dale
201 South Main Street
Sullivan, IN 47882-1838                      589     1/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COBLYN, HAROLD W
5832 CLEARWATER DR.
THE COLONY, TX 75056-3865                    590     1/23/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                      591     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MIMS, DARRELL W
10565 WREN RIDGE RD
ALPHARETTA, GA 30022-6646                    592     1/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LINKINS, SUE ELLEN
18702 SCENTED CANDLE WAY
SPRING, TX 77388-5543                        593     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
VANDENBERG, DONALD
14906 HARVRENEE DR
CYPRESS, TX 77429-4130                       594     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Imthurn, Daniel A
2061 Saint Pierre Drive
Carrollton, TX 75006-4342                    595     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                    596     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Imthurn, Daniel A
2061 Saint Pierre Drive
Carrollton, TX 75006-4342                    597     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                             598     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GRADEN, HAROLD R
3240 GULF OF MEXICO DR APT 507 B
LONGBOAT KEY, FL 34228-2849                  599     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ANDERSEN, MICHAEL A
1425 WEST ISLAND CLUB SQUARE
VERO BEACH, FL 32963-5519                    600     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SLAVIK, GERALD JOSEPH
14330 W 89TH ST
LENEXA, KS 66215-2945                        601     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
VESTAL, RICHARD C.
PO BOX 209
PENNS PARK, PA 18943                         602     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                             603     1/23/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00




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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                      604     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ORR, MICHAEL D
150 ROCKROSE DRIVE
LONGVIEW, TX 75605                             605     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
THORNTON, MARY A
2016 W SCHAAF RD
CLEVELAND, OH 44109-4608                       606     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HEROLD, JOSEPH VINCENT
121 3RD PLACE
MANHATTAN BEACH, CA 90266                      607     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THORNTON, MARY ANN
884 GINO LANE
CLEVELAND, OH 44109-3788                       608     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         609     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         610     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         611     1/24/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
IMTHURN, DANIEL A
2061 SAINT PIERRE DRIVE
CARROLLTON, TX 75006-4342                      612     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         613     1/24/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Ray, Gary D
3405 Somerset Ln
Deer Park, TX 77536-5285                       614     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            615     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
NICELY, GALE P
10044 SIESTA BAY DRIVE UNIT 9413
NAPLES, FL 34120                               616     1/23/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         617     1/24/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Pinkney, Albert L
8030 Gladstone Street
Houston, TX 77051-1560                         618     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOLT, SUSAN D
PO BOX 13 14000 CO RD G
BOOKER, TX 79005                               619     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Schulz, Robert A
3430 SW Islesworth Circle
Palm City, FL 34990                            620     1/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               621     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               622     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Bowen, Debbie L
6414 Hinsdale Dr
Amarillo, TX 79109                             623     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               624     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                   625     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, DONALD EDWARD
PO Box 3584
Oxford, AL 36203                               626     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARNETT, ELAINE FRY
9101 CRESTVIEW DR
DENTON, TX 76207-6762                          627     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                   628     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JANNISE JR, JOSEPH M
301 CR 121
PO BOX 88
RAYWOOD, TX 77582-0088                         629     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MOFFETT, ROBERT L
PO BOX 29
39 WEST COMMERCE
KENTON, DE 19955-0029                          630     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                      631     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WATTS, MARY E
4821 SPICEWOOD SPRINGS RD 177
AUSTIN, TX 78759-8495                          632     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                   633     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                   634     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DICICCO, ANNA M
8 W PICKWICK RD
ARLINGTON HTS, IL 60005-3753                   635     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                      636     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                      637     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MCCARTHY, ROBERT J
102 DARTER LN
NORTH WALES, PA 19454-1155                     638     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                      639     1/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
KAPPA, DANIEL E
1820 32ND AVE
VERO BEACH, FL 32960-2572                      640     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MORAN, MICHAEL C
32 KENTUCKY DR
LITTLE EGG HARBOR TWP, NJ 08087-1035           641     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CHINSKI, WALTER
121 GROVE MANSION WAY
BEAR, DE 19701                                 642     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WELCH JR, CHESTER L
15665 MALVERN HILL AVE
BATON ROUGE, LA 70817                          643     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               644     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                           645     1/23/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Claim docketed in error
                                               646     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Kortlang, Jr., William F
1168 Hill Myna Ln
Spring Branch, TX 78070                        647     1/21/2017        Maxus Energy Corporation                              $46,969.37                                                                                                                                $46,969.37
Claim docketed in error
                                               648     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Bobe, Connie F.
4707 NW 88th Terrace
Kansas City, MO 64154                          649     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LINEHAN, THOMAS M
18 STRAWBERRY CANYON PL
SPRING, TX 77382-2025                          650     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
ETEMADI, MOHAMAD R
13967 TEEL RD
MONTGOMERY, TX 77356-7449                   651     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PHIPPS, GARY L
312 ASTILBE COURT
BEAR, DE 19701                              652     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
AGONIZANTE, LINDA
720 PAULA CT
MESQUITE, TX 75149                          653     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Bracero, Frank J
4801 Nan Lane
Salina, CA 95368                            654     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Nickell, Ricky J.
617 Red Deer St
Pampa, TX 79065-5049                        655     1/24/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Bowen, Debbie H
6414 Hinsdale
Amarillo, TX 79109                          656     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                         657     1/23/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                         658     1/23/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                         659     1/23/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                        660     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KOHLER, TERRY JAY
116 COUNTY ROAD 1230 F
FAIRFIELD, TX 75840-5262                    661     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                    662     1/23/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
HAMILTON, RICHARD E
9535 PENWOOD WAY
GRANITE BAY, CA 95746                       663     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WALLS, GREGORY E
65 BUCKEYE DR
POWELL, OH 43065-7345                       664     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SMITH, DEBORAH J
1524 E 221ST ST E
EUCLID, OH 44117-1509                       665     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BURKE, JOHN W
1615 N HEARTHSIDE DR
RICHMOND, TX 77406-1358                     666     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, RONALD
1822 GEORGIA AVE
DEER PARK, TX 77536-3914                    667     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZAPPITELLI, ALFRED A
127 FAIRFIELD RD
PAINESVILLE, OH 44077-1518                  668     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DICARLO, MARIA F.
289 COVENTRY DR
PAINESVILLE, OH 44077                       669     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEVENSON, HENRY
PO BOX 1857
BAYTOWN, TX 77522-1820                      670     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, KEVIN L
7200 MILLARD POND DR
MCKINNEY, TX 75071-4628                     671     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZOLNIER, JAMES
2125 CANYON LAKES DR
SAN RAMON, CA 94582                         672     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAUBACHER, DAVID L
2803 SPENCER CT
HOUSTON, TX 77089-7066                      673     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                    Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date               Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                               Amount                                                                                     Amount                                                Claim Amount
CEBALLOS, JOE
17014 ARGYLE RD
HOUSTON, TX 77049-1004                      674     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
LEDYARD, DEBORAH
1524 E 221ST STREET
EUCLID, OH 44117                            675     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MURRAY, JAMES E
2511 25TH STREET NE
SALMON ARM, BC V1E 2Z7
Canada                                      676     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
CLARK, TIMOTHY E
4 STONEGATE DR
QUEENSBURY, NY 12804-7750                   677     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
PESHO, BETTY
6071 DOUGLAS DRIVE
MADISON, OH 44057-1819                      678     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                       679     1/24/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
HAVARD, LARRY PHILIP
4960 ANTHONY LN
PASADENA, TX 77505-5303                     680     1/23/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
TOPLEK, BRUCE
4211 HOLLAND AVE APT 202
DALLAS, TX 75219-2834                       681     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Berardinelli, Dan
345 Sanford St
PO Box 485
Painesville, OH 44077-4126                  682     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
LAMPERT, ANDREW ALEXANDER
1484 MOUNTAIN RESERVE DR NW
KENNESAW, GA 30152-4844                     683     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MOLLMANN, NORBERT A
2765 ROSEANN LN
CINCINNATI, OH 45239-7249                   684     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
KABAT, THADDEUS L
15 MAIN ST 472
HATFIELD, MA 01038-9702                     685     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
PASCHALL, LINDA M
11142 SUNSET RIDGE ST
LA PORTE, TX 77571-9374                     686     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
BANDT, KERMIT
PO BOX 1548
LAFAYETTE, CA 94549-1548                    687     1/23/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
JOHNSTON, ROY D
510 JONES RD
HIGHLANDS, TX 77562-4218                    688     1/23/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
SULLIVAN, THOMAS A
10767 VILLAGER RD APT D
DALLAS, TX 75230-3944                       689     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
STEPHEN, KIRSTEN M
3407 GARY LN
SPRING, TX 77380-1211                       690     1/23/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
SMITH, J REID
1280 S PARAHAM RD
YORK, SC 29745                              691     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
ANDREWS, RICKY P
12461 ANDREWS LANE
GONZALES, LA 70737                          692     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
FRANTZ, STEVEN D
RR 2 BOX 36
BEAVER, OK 73932                            693     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
HENSLEY, DENNIS R
PO BOX 368
BENNINGTON, KS 67422                        694     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                    695     1/23/2017         Gateway Coal Company                                                                 $0.00                                                                                                        $0.00


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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
NICKELL, RICKY J
617 RED DEER ST
PAMPA, TX 79065-5049                         696     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
QUINONES, DONALD L
143 SCHOLAR RD
GUYTON, GA 31312-6249                        697     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                     698     1/23/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                     699     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Massey, Janice
2006 Seagoville Road
Seagoville, TX 75159                         700     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BUCHMAN, RUSSELL
3767 OGDEN LANE
MUNDELEIN, IL 60060                          701     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RICE, JOSEPH N
425 FRIENDSHIP RD
CEDARTOWN, GA 30125-4655                     702     1/23/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
WILKENS, LLOYD DOUGLAS
PO BOX 389
PERRYTON, TX 79070-0389                      703     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RAY, GARY D
3405 SOMERSET LN
DEER PARK, TX 77536-5285                     704     1/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ZAMUDIO, MARIA EUGENIA
1362 CHEYENNE RD
LEWISVILLE, TX 75077-2821                    705     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TORRES JR, DONALD THOMAS
108 COUNTRY GDNS
LA VERNIA, TX 78121-9540                     706     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
THORNTON, ROBERT W
1910 HIXON AVE
FLORENCE, AL 35630                           707     1/23/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JOYCE, TIMOTHY J
1857 WINDY HILL DR
FRISCO, TX 75034-8097                        708     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RAY, GARY D
3405 SOMERSET LN
DEER PARK, TX 77536-5285                     709     1/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Ray, Gary D
3405 Somerset Ln.
Deer Park, TX 77536-5285                     710     1/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LABOVITZ, MARK
4850 N BONITA RIDGE AVE
TUCSON, AZ 85750-6255                        711     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NICKELL, RICKY J
617 RED DEER ST
PAMPA, TX 79065                              712     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                          713     1/23/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MCAFEE, NINA R
31426 IMPERIAL BLUFF COURT
SPRING, TX 77386-1590                        714     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RAY, GARY D
3405 SOMERSET LN.
DEER PARK, TX 77536-5285                     715     1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HURST, JIMMY DAVID
9018 E STATE HIGHWAY 75 S
HUNTSVILLE, TX 77340-2520                    716     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SMITH, JAMES P
26 LYCIUM QUAYS
STIRLING, WA 4021
AUSTRALIA                                    717     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                      718     1/24/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
ARRA, MARK T
3801 68TH AVE NE
NORMAN, OK 73026-2705                       719     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WATKINS, ROY L
2347 OLD TUNNELTON PIKE
KINGWOOD, WV 26537-9779                     720     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CLARK, WILLIAM E
106 HELEN COURT 1
TUSCUMBIA, AL 35674-1757                    721     1/24/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                            722     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                        723     1/24/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                        724     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SPEIDELL, WALTER A
3512 SHORELINE DR
PORTSMOUTH , VA 23703-4032                  725     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                            726     1/24/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SMITH, JOHN
1280 S PARAHAM RD
YORK, SC 29745-7415                         727     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                        728     1/24/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BIRCKBICHLER, JOHN W
712 PARKER RD
CHESAPEAKE, VA 23322-5832                   729     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MIDKIFF, ARLIE E
704 CHRISTIAN DR
SOUTH CHARLESTON, WV 25303-2824             730     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KENNEDY, JOHN WALKER
3430 W T BENCH BAR WAY
MARANA, AZ 85658-4799                       731     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NASSAR, NAHEEM G
5390 CANATELLA ST
CONVENT, LA 70723-2100                      732     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COOK, JOHN B
19 TOWNSHIP ROAD 1312 437
CROWN CITY, OH 45623-8822                   733     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN, CHARLES PATRICK
30 N BANTAM WOODS CIR
SPRING, TX 77382-2685                       734     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                      735     1/24/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PFEIFER, CHERYL
2121 BALLYCASTLE DRIVE
ARLINGTON, TX 76017-4512                    736     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                        737     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                        738     1/25/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
HENNESSEY, JANET S
5930 KEITH DR
MADISON, OH 44057-1864                      739     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                      740     1/24/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00

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                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Guenther, Gayla
4117 S Bonham
Amarillo, TX 79110                            741     1/24/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                        742     1/24/2017         Gateway Coal Company                                                                 $0.00                                                                                                        $0.00
Claim docketed in error
                                              743     12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Pokladnik, Gary R
945 Meadowlark Rd
Ozark, MO 65721-8159                          744     1/25/2017         Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
POKLADNIK, GARY R
945 MEADOWLARK RD
OZARK, MO 65721-8159                          745     1/25/2017    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                       746     1/25/2017          Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Claim docketed in error
                                              747     12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                       748     1/25/2017    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
POKLADNIK, GARY R
945 MEADOWLARK RD
OZARK, MO 65721-8159                          749     1/25/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Claim docketed in error
                                              750     12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                       751     1/25/2017         Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
WILLIAMS, GERALD L
132 MORLEY RD
DILLINER, PA 15327                            752     1/24/2017         Gateway Coal Company                                                                 $0.00                                                                                                        $0.00
KILLEEN, JAMES C
4170 BATES RD
MADISON, OH 44057-9548                        753     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                        754     1/24/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
Gilsdorf, Thomas
555 Freeman Road Unit 268
Central Point, OR 97502                       755     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
MURRAY, MILLARD C
1280 WHITESTOCKING RD
BURGAW, NC 28425-3322                         756     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
WARNING, TIM L
8075 SILKYRIDER CT
CINCINNATI, OH 45249-1276                     757     1/24/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
WAID, JERRY T
2208 LOPEZ DRIVE
ANTIOCH, CA 94509-4512                        758     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
BURGMAN, CARL A
1355 E 43RD CT
TULSA, OK 74105-4150                          759     1/24/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL , CO 80112                         760     1/24/2017         Gateway Coal Company                                                                 $0.00                                                                                                        $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                        761     1/24/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
Busse, Johnny L.
340 County Road 427
Goldthwaite, TX 76844-3338                    762     1/25/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
SOSA, MELISSA
642 ARBOL APT D13
IRVING, TX 75039-3210                         763     1/25/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Tarver, Marva
655 Senda
Irving, TX 75039                              764     1/25/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                               765     1/24/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
LEFEBVRE, DIANE L
3035 MARSH CROSSING DR
LAUREL, MD 20724-2952                          766     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
EPSTEIN, NORMAN A
347 FOX CHASE ROAD
CLARKSBORO, NJ 08020-0000                      767     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FISCHER, STEPHEN A
15472 PRESTWICK CIR N
NORTHVILLE, MI 48168-5014                      768     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                               769     1/24/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Welch, Jed
1417 Creekmere Dr
Canyon, TX 79015                               770     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                               771     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RABURN, LISA L
2803 TROON RD
ENNIS, TX 75119-7266                           772     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Collins, Johnny Roy
5627 Southbrook Dr.
Houston, TX 77033-3220                         773     1/24/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                         774     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
COLLINS, JOHNNY ROY
5627 SOUTHBROOK DR.
HOUSTON, TX 77033-3220                         775     1/24/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                776     1/24/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PERKOSKI, DAVID B
22 DANIELS AVE
CONNEAUT, OH 44030-2315                        777     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Cooper, Michael Wayne
12703 River Run West
Baytown , TX 77523-8554                        778     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DREIBELBIS, KENT D
PO BOX 603
ALLENWOOD, NJ 08720-0603                       779     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MICHELOTTI, ROBERT J
7721 TRIPP AVE
AMARILLO, TX 79121-1769                        780     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Singleton, Carl E.
4414 Navajo St.
Pasadena, TX 77504-3422                        781     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Cogdill, Ronnie K.
PO Box 50345
Amarillo, TX 79159-0345                        782     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lewczyk, Daniel Stanley
1924 Denver Dr.
Baton Rouge, LA 70810                          783     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DULLYE, BRYAN C
325 TENISON TRL
ROANOKE, TX 76262-1140                         784     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MIDKIFF JR, ARLIE E
704 CHRISTIAN DR
CHARLESTON, WV 25303                           785     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449                786     1/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Davis, Marilyn S
8601 Ice House Dr Apt 10105
North Richland Hills, TX 76180-5449            787     1/24/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00

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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449               788     1/24/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
CARTER JR, WILEY R
6919 PLANTATION DR
BAYTOWN, TX 77523-8845                        789     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DAVIS, MARILYN S
8601 ICE HOUSE DR APT 10105
N RICHLAND HILLS, TX 76180-5449               790     1/24/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WELKER-HADDOCK, MARY L
8458 E MINERAL CIRCLE
CENTENNIAL, CO 80112                          791     1/24/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hanna, Russell B
7104 Fulham
Amarillo, TX 79109                            792     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                       793     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                              794     12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
COVERNALE, FRANK J
2708 NORMAN ST
PASADENA, TX 77506-3132                       795     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Hancock, John L
P.O. Box 410
Batson, TX 77519-0410                         796     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LELONG, ALEXANDER
2208 LOPEZ DR
ANTIOCH, CA 94509-4512                        797     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                        798     1/25/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DEMEL, DENNIS J
3642 VACEK LOOP
PO BOX 532
SCHULENBURG, TX 78956                         799     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WADDILL, MARY E
305 W PONCE DE LEON DR
SARALAND, AL 36571-2024                       800     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                        801     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ROWLAND, MELINDA JANE
9354 HIGHEDGE CIR
DALLAS, TX 75238-2585                         802     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                           803     1/25/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                            804     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pakebusch, Mary Ann
P.O. Box 9945
Spring, TX 77387-6945                         805     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
NORDERHAUG, KATHLEEN J
5950 LINDENSHIRE LN APT 408
DALLAS, TX 75230-2744                         806     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PERRY, JOHNNY RAY
12835 EASTBROOK DR
HOUSTON, TX 77013                             807     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Kauk, Monty R
PO BOX 352
LEEDEY, OK 73654                              808     1/26/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
COOPER, MICHAEL WAYNE
12703 RIVER RUN WEST
BAYTOWN, TX 77523-8554                        809     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                           810     1/25/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Kong, Fanchen
186 E Lansdowne Cir
Spring, TX 77382-2727                        811     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                              812     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                              813     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                              814     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                              815     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Calabrese, Charles F.
709 Harborside Way
Kemah, TX 77565                              816     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                       817     1/25/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                          818     1/25/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      819     1/25/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                          820     1/25/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CIOCI, JOSEPH P
303 FOREST LAKE DR
SEABROOK, TX 77586                           821     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                             822     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Weems, Lynn A
1210 Denise
Deer Park, TX 77536                          823     1/25/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                       824     1/25/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Penner, Don L
40205 Alise Ave
Prairieville, LA 70769                       825     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                             826     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Gonzales, Eduardo
P.O. Box 112843
Carrollton, TX 75011-2843                    827     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          828     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     829     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     830     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Weems, Lynn Alan
1210 Denise
Deer Park, TX 77536                          831     1/25/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      832     1/25/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      833     1/25/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
WEEMS, LYNN ALAN
1210 DENISE
DEER PARK, TX 77536                          834     1/25/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                       835     1/25/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
NEUMEISTER, BETTY D
530 STONEHENGE DR
CROSSVILLE, TN 38558-2728                    836     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     837     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     838     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SINGLETON, CARL E.
4414 NAVAJO ST.
PASADENA, TX 77504-3422                      839     1/25/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                             840     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Norderhaug, Kathleen J
5950 Lindenshire Lane # 408
Dallas, TX 75230-2744                        841     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                   842     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MOSS, CLIFTON O
30 LYRIC DR
NEWARK, DE 19702-4521                        843     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          844     1/26/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
KUMIN, JANE S
2873 GREEN ST
SAN FRANCISCO, CA 94123                      845     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                   846     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                             847     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
HAMPTON, LARRY W
P O BOX 1991
DUMAS, TX 79029-1991                         848     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                             849     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                             850     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                             851     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                             852     1/26/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Crenshaw, Michael J
6 Creek Lane
Newark, DE 19702                             853     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                             854     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HARSHMAN, RAYMOND BRENT
5743 Llano Ave
Dallas, TX 75206                             855     1/26/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
COGAR, JOHN DAVID
406 TANGLEWOOD CT
BOSSIER CITY, LA 71111-6141                  856     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          857     1/26/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          858     1/26/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                          859     1/26/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
VENTURA, JEFFREY L
7513 MT VERNON DR
COLLEYVILLE, TX 76034-6925                   860     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RABBE, DAVID E
98 Scott Rd
Warick, MD 21912-1241                        861     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KALBACH, MARTIN
166 BEECHWOOD AVE
LANGHORNE, PA 19047-7402                     862     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                   863     1/26/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
KUNZE, DALE R
8132 TREE LAKE BLVD
POWELL, OH 43065-6920                        864     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CARLSON, JON
PO BOX 161166
BIG SKY, MT 59716-1166                       865     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STOLLINGS, DEBBIE ANN
1010 ROSENDA LN
AMARILLO, TX 79124                           866     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                              867     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                              868     1/27/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
KLONSKY, ETHEL
821 RED ROAD APT 1B
TEANECK, NJ 07666-4456                       869     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAKANSON, CYNTHIA ANN
313 LOTUS ST
LAKE JACKSON, TX 77566-5613                  870     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WEEMS, JOHNNY WAYNE
103 PALOMINO ST
AMARILLO, TX 79106-4116                      871     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                             872     1/27/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MCMILLEN, KAYETTE E
3959 SOUTHERN BEND
MISSOURI CITY, TX 77459                      873     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nachfolger, Solomon J.
46 Carlton Rd.
Monsey, NY 10952                             874     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                             875     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                        876     1/27/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                        877     1/27/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                        878     1/27/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                        879     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                        880     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Stewart, Mark Ray
24718 Valleylight Drive
Katy, TX 77494                               881     1/27/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                             882     1/27/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SORRELS, EARLINE M
221 MAPLE ST
HIGHLANDS, TX 77562-2569                     883     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                   884     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GODSHALL, WILLIAM H
14120 JESSE JAMES FARM RD
KEARNEY, MO 64060                            885     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ARDEN, STEVE S
9621 ROSEWOOD DR
DENTON, TX 76207-6679                        886     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STOCKER, JULIA
7319 HOPKINS RD
MENTOR, OH 44060-6427                        887     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KARRENBROCK, ANTHONY H
18219 NE 79TH STREET
LIBERTY, MO 64068-7200                       888     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                              889     1/27/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MILLER, JOYCELYN M
6294 LYONS RD
LAKE ARTHUR, LA 70549-5012                   890     1/26/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HUGHES, BRENT TOD
1100 SIERRA DR
PAMPA, TX 79065-2630                         891     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
NIERWIENSKI, KENNETH J
1145 INGATE RD
HALETHORPE, MD 21227-3850                    892     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEWART, MARK RAY
24718 VALLEYLIGHT DRIVE
KATY, TX 77494                               893     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
STREKAL, GERALD J
2 STONEHENGE DR
MEDFORD, NJ 08055                            894     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOLIAN, ROBERT R
18264 BRIGHTON GREEN
DALLAS, TX 75252                             895     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GILLENWATER, JERRY R
3729 WHITWORTH WAY
COLUMBUS, OH 43228-7003                      896     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              897     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SCHNEIDER, MORRIS
5053 VALENTIA ST UNIT 105
DENVER, CO 80238-3728                        898     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BALDWIN, RAY A
135 THUNDER RD
KERRVILLE, TX 78028-9325                     899     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PIERCE, THEODORE
139 LAKESIDE DR
MONTGOMERY, TX 77356-9031                    900     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GROS, RICHARD O
25415 HIGHWAY 77
PLAQUEMINE, LA 70764-5432                    901     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JUNKINS, JANET A
29 RIDGEFIELD DR SE
SILVER CREEK, GA 30173                       902     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
SACKETT, JAMES E
308 HIGHLAND AVE
CONNEAUT, OH 44030                           903     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SNUG, MICHAEL A
2031 CARDIGAN DR
AIKEN, SC 29803-3758                         904     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PERRETTA, PAUL F
7471 HUNTING LAKE DR.
PAINESVILLE, OH 44077                        905     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NACHFOLGER, SOLOMON J.
46 CARLTON RD.
MONSEY, NY 10952                             906     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                        907     1/27/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MESH, MARY M
5837 VICTOR ST 5839
DALLAS, TX 75214-4739                        908     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BOBE, CONNIE F
4707 NW 88TH TERRACE
KANSAS CITY, MO 64154                        909     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                 910     1/26/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                 911     1/26/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                 912     1/26/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                 913     1/26/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LEAIR, WILLIAM
5308 REDFORD DR
BRUNSWICK, OH 44212-6469                     914     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                   915     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                   916     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BLOUIN SR, IRVIN W.
38488 ARROWHEAD DRIVE
GONZALES, LA 70737                           917     1/27/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MCGREW, WILLIAM S
4919 PLEASANT PLAINS DR
FRIENDSWOOD, TX 77546-2952                   918     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONTGOMERY, DONALD R
191 PARK AVE
KILLEN, AL 35645-9240                        919     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           920     1/27/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           921     1/27/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Blouin, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           922     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LAKE, CADY LORI
3412 ELGENWOOD TRL
ARLINGTON, TX 76015-3221                     923     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Campbell, Louie Patrick
204 S. 6th St.
Highlands, TX 77562                          924     1/29/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FAUST, SHARON
1042 MILLCREEK RD
YORK, PA 17404                               925     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
GRIGGS, JAN M
7043 BENTLEY PL
PAINESVILLE, OH 44077-2212                   926     1/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COMSTOCK, ROBERT N
PO BOX 239
BARBOURSVILLE, VA 22923-0239                 927     1/26/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Ruppert, Walter C
115 Sherwood Dr
Cedartown, GA 30125-7141                     928     1/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Brown, Richard Joe
1105 Mills Ave
Dumas, TX 79029                              929     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Orr, John Steve
PO Box 19
Stinnett, TX 79083                           930     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Castro, Enrique M
93 Milltown Rd.
Bridgewater, NJ 08807                        931     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                   932     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                        933     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                   934     1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                        935     1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                   936     1/27/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                              937     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SWEITZER, CURT J
2700 COWAN BLVD APT 325
FREDERICKSBURG, VA 22401                     938     1/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MCPHERSON, VENITA H
11010 COUNTY ROAD 10
CANADIAN, TX 79014-4928                      939     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
F R YOCOM
206 SPANISH LAKES DRIVE
NOKOMIS, FL 34275                            940     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           941     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                   942     1/27/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MILLER, ELTON L
4743 BELLE MEADOW RD
MENTOR, OH 44060-1116                        943     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                              944     1/27/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565               945     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
FORISH, ANNE M
202 LARIAT LN
DRIPPING SPRINGS, TX 78620                   946     1/27/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                              947     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                              948     1/27/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
TEGOWSKI, EVA
11310 BUTTERNUT RD
CHARDON, OH 44024-9386                         949     1/28/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JACKSON, PAMELA K
1601 DEER CREEK DR
DESOTO, TX 75115-3699                          950     1/29/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ANZALONE, ROBERT J
186 6TH ST
HARRISON, NJ 07029-1839                        951     1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                              952     1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                              953     1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Gillis, Gretchen M
1119 Banks Street
Houston, TX 77006                              954     1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
GILLIS, GRETCHEN M
1119 BANKS ST
HOUSTON, TX 77006-6133                         955     1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CASTRO, ENRIQUE M
93 MILLTOWN RD
BRIDGEWATER, NJ 08807-2790                     956     1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Ray, Gregory L
320 County Road 6057
Dayton, TX 77535-5328                          957     1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                          958     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
RAY, GREGORY L
320 COUNTY ROAD 6057
DAYTON, TX 77535-5328                          959     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                          960     1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                          961     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                          962     1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Gillis, Gretchen M.
1119 Banks Street
Houston, TX 77006                              963     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                964     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015                               965     1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MYERS, PAUL D
7908 OAK KNOLL DR
NORTH RICHLAND HILLS, TX 76182-8701            966     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOWARD, RAYMOND B
625 HOLLY RIDGE RD
HOLLY RIDGE, NC 28445-7579                     967     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RECKER, WILLIAM J
2208 WOODSTOCK DR
COLLEYVILLE, TX 76034-4438                     968     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               969     1/30/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               969     1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
MONAHAN, GRACE M.
7806 LAUREL LANE
WYNDMOOR, PA 19038                             970     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
POWELL, H JOSEPH
95 JL POWELL RD 5
WILLARD, NC 28478-9301                      971     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROBISON-WATSON, GERALDINE B
2110 MEADOWVIEW COURT
GARLAND, TX 75043-1002                      972     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PARSONS, MARY ANN
PO BOX 765
CENTER, TX 75935-0765                       973     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MICHAEL, DANNY J
212 W QUEENSBURY LN
FLORENCE, AL 35630-6662                     974     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                      975     1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
KEENER, MICHAEL W
11610 SAGEWILLOW LANE
HOUSTON, TX 77089                           976     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                      977     1/29/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
LEWIS, JAMES ALAN
5119 NC HIGHWAY 210 E 210
HARRELLS, NC 28444-7886                     978     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MIZNER, DAVID R
3359 MCCONNELL RD
HERMITAGE, PA 16148-3215                    979     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, DENNIS L
1010 N COLUMBIA AVE
SHEFFIELD, AL 35660-7529                    980     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                      981     1/29/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                      982     1/29/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                      983     1/29/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                          984     1/29/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JAMES, ROBERT E
2863 LONG SHADOW LN
ROCK HILL, SC 29732-9480                    985     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                          986     1/29/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                          987     1/29/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                          988     1/29/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                      989     1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BEASLEY JR, DONNIE
334 SHADY ROCK LN
HOUSTON, TX 77015-2129                      990     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PADLEY, PATRICK D
7414 DEARBORN ST
HOUSTON, TX 77055-3714                      991     1/29/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Garey, David Albert
4206 Stoney View Dr.
Pasadena, TX 77505                          992     1/29/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                      993     1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                       994     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
FLETCHER, JAMES D
16462 PARKSLEY DR
HOUSTON, TX 77059-4719                       995     1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PAVLICH, MICHAEL E
26 FORGE HILL PL
SPRING, TX 77381-4308                        996     1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       997     1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       998     1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                         999     1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                         1000    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       1001    1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
HAZEN SR, WILLIAM D
37 CAWDOR LN
NEW CASTLE, DE 19720-2330                    1002    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Huff, Sharell
24799 Lake Shore Blvd
Apt 505
Euclid, OH 44123-1274                        1003    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       1004    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WOOTEN, REBA
3402 S RUSK STREET
AMARILLO, TX 79109-4830                      1005    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                         1006    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
RUGGIRELLO, JOHN R
62 OCEAN AVENUE
MONMOUTH BEACH, NJ 07750-1351                1007    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SIMPSON, THOMAS ROBERT
2123 SOUTH FORK AVE
AMARILLO, TX 79118-5201                      1008    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                   1009    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GARDNER, NATHAN K
57355 CAMINO PACIFICA
LA QUINTA, CA 92253-7978                     1010    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ASHE, LILLIE B
2446 MCKENSIE LN
GRAND PRAIRIE, TX 75052-3915                 1011    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1012    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
YAHNEL, DAVID H.
P.O. BOX 125
MURRAY, KY 42071-0002                        1013    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                             1014    1/23/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
HEMPEN, VIRGINIA A
8012 NW 76TH TERRACE
KANSAS CITY, MO 64152-4425                   1015    1/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                             1016    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                         1017    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                             1018    1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                   1019    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Mcdowell, Stephen
545 Carma Dr
Shippensburg, PA 17257-8418                  1020    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Anderson, Robert A
5716 Dekker Rd
Castle Hayne, NC 28429                       1021    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                             1022    1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                   1023    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                             1024    1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                   1025    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                        1026    1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SIMPSON, JOANNA WHALEY
2123 SOUTH FORK AVE
AMARILLO, TX 79118-5201                      1027    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FOSTER, WILLIAM R
2490 ALLYSON PL
CASPER, WY 82604-5059                        1028    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PAWLOWSKI, PAUL D
1488 PARKVIEW DR
CANYON LAKE, TX 78133-3322                   1029    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         1030    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Padley, Patrick D
7414 Dearborn
Houston, TX 77055                            1031    1/29/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         1032    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Bluestein, Paul J
17 Roger Road
Edison, NJ 08817-4506                        1033    1/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCINTOSH, JOHN K
3324 ZION RD
VAN BUREN, AR 72956-8782                     1034    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KIRBY, WILLIAM R
2206 MCCLELLANDTOWN RD
MASONTOWN, PA 15461                          1035    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MOORE, JAMES W
14100 ASHTON RD
ROCKY POINT, NC 28457                        1036    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PAZUR, ANDREW S
WEST 7119 COUNTY RD N
PLYMOUTH, WI 53073                           1037    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1038    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1039    1/30/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                1040    1/30/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1041    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
JOHNSON, DALE KURT
1221 ARBOR DR
BARTLESVILLE, OK 74006-7821                  1042    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                              1043    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
STUBBINGS, JOHN D
3701 CORAL REEF DR
SEABROOK, TX 77586                           1044    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SNOW, WANDA M
PO BOX 472
GRANITE, OK 73547-0472                       1045    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GILLENWATER, CHARLES
520 COLLINGS AVE APT B515
OAKLYN, NJ 08107-1632                        1046    1/30/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1047    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                             1048    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
HANSON, ANNIE M
27380 COOK RD APT 110
OLMSTED TWP, OH 44138-3900                   1049    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COSTANGO, JEFFREY SCOTT
PO BOX 161
ST. GEORGES, DE 19733                        1050    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Marie, Juan L
1507 Homespun Road
Austin, TX 78745-2946                        1051    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GEASON, ROBERT
8422 KINGVIEW ST
SAINT JAMES, LA 70086-7526                   1052    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RUSSELL, JAMES S
6406 HAMPTON DR
AMARILLO, TX 79109                           1053    1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Palugyay, Grace M
49830 Shelby Road
Shelby Township, MI 48317-1565               1054    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DAVIS, DEBORAH
PO BOX 996
CANYON, TX 79015-0996                        1055    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565               1056    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W
3504 MEADOWLARK LANE
ALVIN, TX 77511-7914                         1057    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
STAHA, JOSEPH A
1011 PAPAYA CV
HUTTO, TX 78634-2200                         1058    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ELLIS, LINDA E
6301 BERMUDA DUNES DR
PLANO, TX 75093-6167                         1059    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GRAMPA, JOHN DOMENICO
8205 EAGLE RIDGE DR
PAINESVILLE, OH 44077-9797                   1060    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RUCK, NANCY E
506 N BRIER PATCH LN 4
MADISON, OH 44057-3161                       1061    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         1062    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00

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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
JOHNSON, CARL DOUGLAS
Linda Johnson
9920 FM 524 RD 524
SWEENY, TX 77480-8230                          1063    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                         1064    1/30/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                  1065    1/30/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                           1066    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565                 1067    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FEENEY, CHILONG
13020 BELKNAP PL
BRADENTON, FL 34211-4012                       1068    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAZEN, JAMES L
256 LAPIDARY LN
YOUNG HARRIS, GA 30582-2072                    1069    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CRAIG, ALAN AARON
307 LIGHTHOUSE POINT CIR
YOUNGSVILLE, LA 70592-5693                     1070    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                           1071    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
LARSON, JANET A
286 MARINERS WAY
SHEFFIELD LAKE, OH 44054-1069                  1072    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                     1073    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Russell, James S
6406 Hampton Dr
Amarillo, TX 79109                             1074    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
OTY, JOHN W
685 S LA POSADA CIR UNIT 2802
GREEN VALLEY, AZ 85614                         1075    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1076    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1077    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1078    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1079    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1080    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
PAYNE, STANLEY M.
412 GEORGIANA DR
MIDDLETOWN, DE 19709                           1081    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RINEHART, GARY P
9313 SAWYER FAY LN
AUSTIN, TX 78748-3107                          1082    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Williams, Johnny M
708 Highland Crest Drive
Hurst, TX 76054-2106                           1083    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Stacey, Alan J.
20522 Black Spur Ct.
Richmond, TX 77406                             1084    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Pickel, Peggy D
23431 Banks Mill Drive
New Caney, TX 77357-1578                       1085    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Ubben, Navidad A.
809 Oakway Ct.
Richardson, TX 75081                           1086    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00


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                 Creditor Name and Address   Claim No. Claim Date               Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               1087    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1088    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
PAKEBUSCH, MARY ANN
PO BOX 9945
SPRING, TX 77387-6945                          1089    1/30/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Claim docketed in error
                                               1090    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1091    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
DOUGHERTY, MICHAEL O
9930 TANBARK TRL
MENTOR, OH 44060-7244                          1092    1/30/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1093    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1094    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1095    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1096    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1097    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1098    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1099    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
CARLEGIS, NORMAN J
15611 PARK ESTATES LN
HOUSTON, TX 77062                              1100    1/30/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
EDWARDS, FRANCES B
8218 GOODNIGHT TRL
AMARILLO, TX 79110-4726                        1101    1/31/2017    Maxus (U.S.) Exploration Company                                                          $0.00                                                                                                        $0.00
Claim docketed in error
                                               1102    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1103    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1104    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1105    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1106    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1107    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
SCELFO, BERNARD
206 WATER BIRCH LN
YOUNGSVILLE, LA 70592-5148                     1108    1/31/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Claim docketed in error
                                               1109    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1110    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
CATES, PEGGY T
4907 CYPRESS SPRING DR
MISSOURI CITY, TX 77459-3809                   1111    1/31/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Claim docketed in error
                                               1112    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1113    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1114    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1115    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1116    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1117    12/21/2016      Maxus Energy Corporation                                                                                                                                                                            $0.00


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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
CORSBIE, DAVID C
444 BRADEN LANE
TUSCUMBIA, AL 35674                          1118    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NAPOLES, JULIO L
4440 HIGHLANDER DR
DALLAS, TX 75287-6843                        1119    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Nastick Sr, Henry P
619 Hoppers Lane
Havre De Grace, MD 21078-2735                1120     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                   1121    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                       1122    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Claim docketed in error
                                             1123    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
ROBERTSON, BARBARA L
2626 WILD GROVE LANE
LANCASTER, TX 75146                          1124    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                  1125    1/31/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                    1126    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                    1127    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                    1128    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                    1129    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
LOCKWOOD, CAROL A
4301 RIDGE POLE LN
SPICEWOOD, TX 78669-6544                     1130    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PALUGYAY, GRACE M
49830 SHELBY ROAD
SHELBY TOWNSHIP, MI 48317-1565               1131    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SIVULA, A LUCILLE
1131 DALTON DR
PAINESVILLE, OH 44077-5225                   1132    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FLANAGAN, LISA K
1021 SUNSET TER
AMARILLO, TX 79106-6336                      1133    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SABIN, HAROLD E
11628 N D ST D
LA PORTE, TX 77571-9120                      1134    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                      1135    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
COLE, JAMES
793 MARLIN ST
HITCHCOCK, TX 77563-2611                     1136    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1137    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1138    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                         1139    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GUNN, ROBERT WILKERSON
109 PLEASANT DR
BLACK MOUNTAIN, NC 28711-2622                1140    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1141    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HARRIS, CHARLIE
29419 HIGHWAY 6
HEMPSTEAD, TX 77445-9023                       1142    1/30/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                               1143    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                    1144    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GATES, RENEE O
3318 SILVERBROOK LN
PEARLAND, TX 77584-1812                        1145    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                           1146    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LEE, TERRY W
PO BOX 581
SUNRAY, TX 79086-0581                          1147    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MATHUR, VINOD R
8705 BALTUSROL DR
FLOWER MOUND, TX 75022                         1148    1/31/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                         1149    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                         1150    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LEE, TERRY W
1002 AVE P
SUNRAY, TX 79086                               1151    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                         1152    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                         1153    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BENABENTOS, MARCELO
1302 KENT OAK DR
HOUSTON, TX 77077-2525                         1154    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
COLLIER, JERRY A
PO BOX 46
SUNRAY, TX 79086-0046                          1155    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1156    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1157    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                      1158    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PETRUCCY JR, PAUL J
7975 CRAIN HWY S UNIT 123
GLEN BURNIE, MD 21061-4969                     1159    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                      1160    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1161    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                     1162    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1163    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
AROSTEGUI, MARVIN A
17541 SW 73RD CT
PALMETTO BAY, FL 33157-6351                    1164    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                          Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                     Amount                                                                                     Amount                                                Claim Amount
DAVIS, MARTIN E
123 PRIVATE ROAD 3596
PARADISE, TX 76073-4702                         1165    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                          1166    1/31/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
White, James E.
1616 Lopo Road
Flower Mound, TX 75028-1307                     1167    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                     1168    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
WHITE, JAMES E.
1616 LOPO ROAD
FLOWER MOUND, TX 75028-1307                     1169    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                         1170    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SLAVIK, GERALD JOSEPH
14330 W 89TH ST
LENEXA, KS 66215-2945                           1171    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARNES, JOHN W.
C/O SHIRLEY CAMP
11841 BENT BRANCH RD
PIKEVILLE, KY 41501                             1172    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COTHERN, WILLIAM H
1532 FOXRIDGE RD
ROCK HILL, SC 29732-9527                        1173    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HASELEY, KENNETH ALAN
31019 WALDEN DR
WESTLAKE, OH 44145-6818                         1174    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                     1175    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
White, James E.
1616 Lopo Road
Flower Mound, TX 75028-1307                     1176    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                          1177    1/30/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                       1178    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ANDERSON, JOHN R
808 DUSKY SAP CT 36
GRIFFIN, GA 30223-5996                          1179    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Stock, Bradley Eugene
1448 Tina Dr. #223
Navarre, FL 32566                               1180    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                     1181    1/31/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Claim docketed in error
                                                1182    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
RICHEY, PAULA
2306 PARC PL
FLORENCE, AL 35630-1286                         1183    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RIGSBY, FRANK H
2413 S VENICE DR 111
PEARLAND, TX 77581-7510                         1184    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                                1185    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                     1186    1/31/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00


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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                         1187    1/31/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Claim docketed in error
                                               1188    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                    1189    1/31/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Claim docketed in error
                                               1190    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                      1191    1/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GATES, KENNETH W
3318 SILVERBROOK LN
PEARLAND, TX 77584-1812                        1192    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BOLTON, GLEN D
3018 GRACE LN
HIGHLANDS, TX 77562-2127                       1193    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PERTL, DAVID J
6206 JAMESON RD
AMARILLO, TX 79106                             1194    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                         1195    1/31/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                     1196    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                     1197    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
HAYES, DANA K
5409 ELAINE DR
CHARLESTON, WV 25306                           1198    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1199    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1200    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
Woodard, Dennis M
3238 S Ridge Rd E
Ashtabula, OH 44004-4544                       1201    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FELAN, CATARINO D
3212 CHESTERSHIRE DR
PASADENA, TX 77503                             1202    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MALONE, PAULA
10855 MEADOWGLEN LN APT 1123
HOUSTON, TX 77042-4039                         1203    1/31/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                               1204     2/1/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ROBERTSON, WALTER D
4061 STATE ROUTE 84 EAST
KINGSVILLE, OH 44048-9748                      1205    1/31/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                               1206     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                         1207    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                         1208    1/30/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KIRK, MARSHA KAY
2714 COMANCHE ST
AMARILLO, TX 79109-4716                        1209    1/31/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Mannion, Sue
8102 Lake Bend Drive
Rowlett, TX 75088-8911                         1210    1/30/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00

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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               1211    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
MANNION, SUE
8102 LAKE BEND DRIVE
ROWLETT, TX 75088-8911                         1212    1/30/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1213    12/21/2016       Maxus Energy Corporation                                                                                                                                                                             $0.00
HILL, DAVID B
158 RIVER OAKS DR
CEDAR CREEK, TX 78612                          1214     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BYNUM, KARL J
101 E 12TH AVE
SPEARMAN, TX 79081-3813                        1215     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCHWARZ, BRIAN
5606 SW 39TH AVE
AMARILLO, TX 79109-5210                        1216     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TAYLOR, JOHN
234 RS COUNTY ROAD 3332
EMORY, TX 75440-4699                           1217     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LEDGEWOOD, ALAN
185 PATSY DRIVE
FLORENCE, AL 35633-1429                        1218     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Given, Rondel
PO Box 14122
Surfside Beach, SC 29587-4122                  1219     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
VARGYAS, LINDA
3110 GIVENS CT
PERRY, OH 44081-9544                           1220     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZEMAN, WAYNE P
3401 SAGINAW AVE
THE VILLAGES, FL 32163-6385                    1221     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
VALIMONT, JAMES E
2412 HORACE DR
WILMINGTON, DE 19808-3321                      1222     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MANNION, SUE
8102 LAKE BEND DRIVE
ROWLETT, TX 75088-8911                         1223    1/30/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
STOWERS, REXAL L
2721 ASHBURY LANE
CANTONMENT, FL 32533                           1224    1/31/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ALCALA, CAROL J
2802 WESTGROVE LN
SAN JOSE, CA 95148-3538                        1225    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Fletcher, Erick
PO Box 1963
Pottsboro, TX 75076                            1226     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FRANCO, J
310 PICKETTS MILL RUN RU
ACWORTH, GA 30101-7737                         1227    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1228     2/1/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
ECKL, DAVID L
2081 COUNTY RD. 30
FLORENCE, AL 35634                             1229     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1230     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1231     2/1/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Claim docketed in error
                                               1232    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
BATTLES, DARRELL D
4765 S HIGHWAY 35
ALVIN, TX 77511                                1233     2/1/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MCMURRY, WILLIAM GREGORY
7209 QUEENS PLACE
AMARILLO, TX 79109-6489                        1234     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
COVIL, JERRY D.
305 ELK SUMMIT DR.
TODD, NC 28684-9621                            1235     2/2/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
POND, KATHY S
1005 IVY AVE
DEER PARK, TX 77536-3223                       1236     2/2/2017       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
BODEN, JAMES G
401 SECRETARIAT DR
AUSTIN, TX 78737-2636                          1237     2/2/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
CASTRILLA, CHRIS A
174 MCKINLEY AVE
CONNEAUT, OH 44030-2148                        1238     2/2/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
THRASHER, CATHERNIE L
5705 COUNTY ROAD 108
TOWN CREEK, AL 35672-5401                      1239     2/1/2017       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
HARLEY, EMILY J
4061 STATE ROUTE 84
KINGSVILLE, OH 44048-9748                      1240    1/31/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1241    1/31/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                        1242     2/2/2017         Gateway Coal Company                                     $0.00                       $0.00                                                                                                        $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1243    1/31/2017         Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1244    1/31/2017    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1245    1/31/2017          Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
Battles, Darrell D
4765 S Highway 35
Alvin, TX 77511                                1246     2/1/2017    Maxus (U.S.) Exploration Company                              $0.00                       $0.00                                                                                                        $0.00
GIBSON, CLYDE W
113 PIERCE STREET
KINGWOOD, WV 26537-1219                        1247     2/2/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1248    1/31/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1249    1/31/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1250    1/31/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                               1251    1/31/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
MacAfee, Douglas R.
4308 Roseland St
Houston, TX 77006                              1252     2/2/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Adamski, Jeffrey W.
107 Pamellia Dr,
Bellaire, TX 77401-3711                        1253     2/2/2017    Maxus (U.S.) Exploration Company                              $0.00                       $0.00                                                                                                        $0.00
Claim docketed in error
                                               1254    1/31/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
FRAY, DARLENE A
442 COLLIS ST
BRENTWOOD, CA 94513-6371                       1255     2/2/2017       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
OTTATO, MADELYNE A
5 COVENTRY LANE
LEWES, DE 19958-4107                           1256     2/2/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                          1257     2/2/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
WALKER, METELLA K
PO BOX 6052
LARGO, MD 20792                                1258     2/2/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               1259    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1260    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
SORRELS, EARLINE M
221 MAPLE ST
HIGHLANDS, TX 77562-2569                       1261    1/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NEEF, TERRI J
2945 FM 876
WAXAHACHIE, TX 75167-8349                      1262    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JAFFERIES, JAMES T
752 ENRIGHT AVE
SANTA CLARA, CA 95050-5104                     1263    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NEICE, JAMES A
1260 NW NAITO PARKWAY
APT 1005
PORTLAND, OR 97209-3149                        1264    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                   1265    1/31/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                   1266    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THRESHER, WILLIAM R
407 RIO GRANDE DRIVE
IRVING, TX 75039-3364                          1267     2/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROUSSARD, MICHEAL D
224 JOGG RD
YOUNGSVILLE, LA 70592                          1268     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THRESHER, WILLIAM R
407 RIO GRANDE DRIVE
IRVING, TX 75039-3364                          1269     2/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                            1270    1/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                           1271     2/2/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Mosher, Scott L
225 Highland St
Woodland Park, CO 80863-1503                   1272     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                           1273     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
OZUNA, LIONEL C.
813 HOLDEN CT
GARLAND, TX 75044                              1274     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                               1275     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SELLITTO, MARY A
22 HANOVER AVE
WHIPPANY, NJ 07981-1843                        1276     2/1/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                               1277     2/1/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                          1278     2/1/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                          1279     2/1/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BENAMATI, FRANK EDWARD
PO BOX 323
MATHER, PA 15346                               1280     2/1/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                          1281     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00


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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                          1282     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Smoot, Bobby B
351 PRIVATE ROAD 5567 1560
ALBA, TX 75410-3790                            1283     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1284    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
ROTENBERG, HERMAN
571 CORDAY ST.
LAVAL, QC H7W 4T1
CANADA                                         1285     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Palinsky, Shirley M
103 Nantucket Circle
Painesville, OH 44077                          1286     2/1/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                   1287     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
STEELE, DENNIS L
31 OUTERVALE PL
SPRING, TX 77381-4304                          1288     2/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEELE, DENNIS L
31 OUTERVALE PL
SPRING, TX 77381-4304                          1289     2/1/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
VAN GELUWE, BARBARA
1537 MILL DAM RD APT 201
VIRGINIA BCH, VA 23454-1350                    1290     2/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                               1291    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                        1292     2/2/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
GARCIA, RAUL A
14634 LEACREST DR.
HOUSTON, TX 77049-4218                         1293     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                   1294     2/1/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Adamski, Jeffrey W.
107 Pamellia Dr.
Bellaire, TX 77401-3711                        1295     2/2/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Claim docketed in error
                                               1296    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
ADAMSKI, JEFFREY W
107 PAMELLIA DR
BELLAIRE, TX 77401-3711                        1297     2/2/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00
POOLE, KENNETH
29 CLAREMONT AVE
JERSEY CITY, NJ 07305-4414                     1298     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETERSON, NOLA J
312 N BELMONT
MOUNT PULASKI, IL 62548-1206                   1299     2/1/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1300    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1301    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1302    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1303    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Pisani, Victor F
PO BOX 8952
Mandeville, LA 70470                           1304     2/2/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Pisani, Victor F
PO Box 8952
Mandeville, LA 70470                           1305     2/2/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Slezak, Mark
2103 Crystal River Dr
Kingwood, TX 77345-1615                        1306     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
SCHNEIDER, SHARON R
684 SORRELL CIR
SMYRNA, DE 19977-4307                        1307     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PISANI, VICTOR F
P O BOX 8952
MANDEVILLE, LA 70470                         1308     2/2/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SATTERFIELD, DARALL W
10596 NATURAL GAS RD
STINNETT, TX 79083                           1309     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MCCOY, THOMAS P
PO BOX 485
ROGERSVILLE, AL 35652-0485                   1310     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
UPTON, MARK L
513 N CROCKETT ST
DEER PARK, TX 77536-6329                     1311     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TIMMONS, RICHARD L
5 BLUERIDGE DR
MIDDLETOWN, DE 19709-9795                    1312     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CAREL, PENNY
169 ROCKY RIDGE RD
RED OAK, TX 75154-5034                       1313     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PLETCHER, BYRON
19549 E 1115 RD
ELK CITY, OK 73644-9504                      1314     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PROCTOR, JOHN D
PO BOX 58614
LOUISVILLE, KY 40268-0614                    1315     2/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIFFITHS, RICHARD R
PO BOX 153
ROOTSTOWN, OH 44272-0153                     1316     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RACKLEY, CARL H
18091 US HIGHWAY 421
WATHA, NC 28478-8488                         1317     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOGLE, ROBERT W
1736 LA CORONILLA DR
SANTA BARBARA, CA 93109-1618                 1318     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, JANICE L
113 SENTER VALLEY RD
IRVING, TX 75060-5366                        1319     2/3/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
HAMILTON, RANDY
PO BOX 44
RATLIFF CITY, OK 73481-0044                  1320     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LIGHTSEY, DARRELL G
28703 S FIRETHORNE RD
KATY, TX 77494-5919                          1321     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SWEET, WENDY J
17318 ASPEN CT 318
STANHOPE, NJ 07874-2798                      1322     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LEONE, BARRY A
2955 EPPINGTON SOUTH DR
FORT MILL, SC 29708-6949                     1323     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                      1324     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BEDORE, JOSEPH
4312 GOLF CLUB LN
TAMPA, FL 33618-2707                         1325     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MARKS, PEGGY M
9033 TERRACE PARK DRIVE
MENTOR, OH 44060-6435                        1326     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                       1327     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                      1328     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HENDERSON, LARRY JACK
2412 PRIMROSE DR 2116
PASADENA, TX 77502-5744                      1329     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
YODER, MICHAEL RAYMOND
2119 AVENUE N
NEDERLAND, TX 77627-5518                    1330     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                      1331     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
LYLE, PAUL G
305 OLD STATE RD
TOWNSEND, DE 19734-9027                     1332     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                      1333     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PARKS, JACK A
PO BOX 634
CLAYMONT, DE 19703-0634                     1334     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SONTAG, DENISE
202 WATERWOOD DR
WYLIE, TX 75098-7475                        1335     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                    1336     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MCBRIDE, DAVID L
1710 JANELL RENE CIR
DEER PARK, TX 77536-2843                    1337     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           1338     2/3/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SCHULTE, JAMES M
4502 CHESAPEAKE PL
AMARILLO, TX 79119-6445                     1339     2/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                      1340     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                      1341     2/3/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           1342     2/3/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                       1343     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
KENYON, ROBERT G
66 ELIZABETH RD
GENEVA, OH 44041-9144                       1344     2/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KOWENSKI, IRWIN
8826 PRICHETT DR
HOUSTON, TX 77096                           1345     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FERGUSON, MICHAEL
20604 CHARLOTTE BLVD S
MILLSBORO, DE 19966-7578                    1346     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           1347     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                      1348     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                      1349     2/3/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           1350     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SAVAGE JR, WILLIAM R
1116 PLEASANTDALE RD
KINGWOOD, WV 26537-8469                     1351     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                      1352     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
MARTIN, RON H
7231 BLACK WALNUT CIRCLE
LOUISVILLE, KY 40229                         1353     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                       1354     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SWINK, TRAVIS D
1110 WILMETH DR
SPEARMAN, TX 79081                           1355     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                     1356     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CHEEZUM, DAVID M
PO BOX 316
VERONA, VA 24482-0316                        1357     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                       1358     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Leavins, Jake E.
1083 FM 834 West
Liberty, TX 77575                            1359     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                     1360     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                           1361     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                           1362     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Ludwig, Douglass E
489 Bauer RD
Bath, PA 18014                               1363     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1364     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                     1365     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                           1366     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                     1367     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LONTZ, CARL
492 SORRENTO RD
KISSIMMEE, FL 34759-4063                     1368     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1369     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                           1370     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                            1371     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PRESSLY, KIMBERLY ANN
3638 DESERT RUN DR
LA PORTE, TX 77571-7909                      1372     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZOLNIER, JAMES
2125 CANYON LAKES DR
SAN RAMON, CA 94582                          1373     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                           1374     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
VINCENT, NANCY J
6102 WILLOW CREST LN
WEST CHESTER, OH 45069-6465                  1375     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                Creditor Name and Address   Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                         Amount                                                                                     Amount                                                Claim Amount
Cole, Cheryl Bryant
4523 Matagorda Lakes Dr
Humble, TX 77396                              1376     2/6/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Loftin, Michael W.
3815 Fordham Park Ct.
Houston, TX 77058-1209                        1377     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Pietrantonio, Ralph
51 Zephyr Rd
Trumbull, CT 06611-2207                       1378     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
MAYHEW, SHELIA J
1409 TRAILWOOD VLG DR
KINGWOOD, TX 77339                            1379     2/6/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                    1380     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
LABRY, LUCILLE
5930 LAKE RD W UNIT 703
ASHTABULA, OH 44004-8523                      1381     2/2/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
ARMSTRONG, ROBERT J
26 WINDING HILL DR
HOCKESSIN, DE 19707-2014                      1382     2/2/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
HOGENSON, KATHLEEN ANN
6432 WESTCHESTER AVE
HOUSTON, TX 77005-3762                        1383     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                       1384     2/3/2017      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
CHEEZUM, DAVID M
PO BOX 316
VERONA, VA 24482-0316                         1385     2/3/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
WETHERBEE, DALE F
19015 CRESCENT BAY DR
HOUSTON, TX 77094-3325                        1386     2/3/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
DONNELLY, VICKI V
5848 SHADY OAKS DR
FRISCO, TX 75034-7225                         1387     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                            1388     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
HUTSENPILLER, CHARLES W
1207 BARRON RD
WALESKA, GA 30183-2371                        1389     2/6/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Paul, McKinley
5702 Tautenhahn Rd
Houston, TX 77016                             1390     2/7/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
JACKSON, LYNDA
5021 PINE STREET
SEABROOK, TX 77586                            1391     2/6/2017     Gateway Coal Company                                 $0.00                                                                                                                                    $0.00
JARUFE, CREUSA D
1424 ARAPAHO DR
CARROLLTON, TX 75010-3304                     1392     2/6/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
UTER, LAWRENCE A
347 LIPPI BLVD
LAFAYETTE, LA 70508                           1393     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
KOZLOSKY, NANCY
1900 CHERRY ST
PANAMA CITY, FL 32401-4022                    1394     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Jackson, Lynda
5021 Pine Street
Seabrook, TX 77586                            1395     2/6/2017      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
MAYHEW, S J
1407 TRAILWOOD VILLAGE DR
KINGWOOD, TX 77339-3328                       1396     2/6/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
MCAFEE, NANCY K
1900 CHERRY ST
PANAMA CITY, FL 32401                         1397     2/6/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                  1398     2/6/2017     Gateway Coal Company                                 $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
SENTMAN, LARRY W
23 ERMINE LANE
NEW CASTLE, DE 19720                         1399     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                           1400     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
EDDY, RONALD DEWAYNE
1933 GIBSON RD
WAXAHACHIE, TX 75165-7420                    1401     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCMILLAN, RANDALL S
26 FAIRVIEW RD
KIRKWOOD, PA 17536-9300                      1402     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STEELE, EUGENE
204 CENTER ST
WHITESBORO, TX 76273-1704                    1403     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BAYNE, SUSAN
554 CORAL CT UNIT 501
FORT WALTON BEACH, FL 32548-6959             1404     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRUINGTON, BRENT ALAN
2013 BRENTWOOD DR
MIDLAND, TX 79707-5061                       1405     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
NEMETH, GERALD F
103 S CASTLEGREEN CIR
SPRING, TX 77381-6339                        1406     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                       1407     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SUMMERS, ROGER L
183 BERRY RD
SCOTTOWN, OH 45678-9602                      1408     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                        1409     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                           1410     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
VANDEUTEKOM, CORNELIS
4373 GEVALIA DR
BROOKSVILLE, FL 34604-5806                   1411     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                        1412     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
HOGENSON, BILL E
6432 WESTCHESTER AVE
HOUSTON, TX 77005                            1413     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GADZINSKI, RONALD
240 WESTVIEW DR
AURORA, OH 44202-9265                        1414     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                      1415     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BORDAS, JULIO J
8471 SW 48TH ST
MIAMI, FL 33155-5416                         1416     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                      1417     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCINTOSH, RAYE S
2411 ANTHONY LN
PEARLAND, TX 77581-3712                      1418     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                      1419     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Winegarner, Arlan
403 Dressen
Spearman, TX 79081                           1420     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                      1421     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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                                                                                                                         Amount                                                                                     Amount                                                Claim Amount
ARMSTRONG, JOHN B.
136 WESTSIDE LANE
MIDDLETOWN, DE 19709                                1422     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
David, Frederick D
8738 Berndale St.
Houston, TX 77029                                   1423     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CANIDA, JERRY W
1401 HIGHWAY 26
SPRUCE PINE, AL 35585-3915                          1424     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                        1425     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
CONSTANCE T TOMPKINS, WIDOW OF LEE R. TOMPKINS,
DECEASED
P O BOX 735
SHEFFIELD, AL 35660-0735                            1426     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KLIMKOWICZ, DONALD G
2817 TOWNLINE RD
MADISON, OH 44057-2348                              1427     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
LUTHER, GARY HANSEL
17550 BOBBYE LN
CANYON, TX 79015-8033                               1428     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NICHOLS, KEITH HAMLIN
16313 JERSEY HOLLOW DR
JERSEY VILLAGE, TX 77040-1131                       1429     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ODLE, WILLIAM C
3405 MARSALIS LANE
PLANO, TX 75074-8795                                1430     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MAYEAUX, LARRY DALE
1842 SIMMONS RD
DERIDDER, LA 70634-8331                             1431     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                        1432     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                  1433     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Padgett, Dianne B
10803 Burgoyne Road
Houston, TX 77042                                   1434     2/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
RANKIN, JAMES E
10990 COUNTY ROAD 10
CANADIAN, TX 79014-4926                             1435     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                              1436     2/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                                  1437     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARRERA, PEDRO
1101 E PRINCETON LN
DEER PARK, TX 77536-6527                            1438     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                            1439     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MOORE, GWEN J
902 MOORE DR NE
LELAND, NC 28451-8393                               1440     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MALLOY, BRENDA
NF44 LAKE CHEROKEE
LONGVIEW, TX 75603-9512                             1441     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                            1442     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                            1443     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00




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              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
BROCK, GARY L
1206 E 13TH ST
DEER PARK, TX 77536-2829                    1444     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
MARTIN, JAMES LARRY
1622 MAIN ST
CANADIAN, TX 79014-3511                     1445     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                      1446     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Winegarner, Peggy
403 Dressen
Spearman, TX 79081                          1447     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SALAZAR, RICARDO
1602 JACKSON DR
DEER PARK, TX 77536                         1448     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HASKINS, CHARLES H
PO BOX 1342
DOUGLAS, WY 82633-1342                      1449     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                      1450     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
HAYES, RODNEY W
PO BOX 327
GLASGOW, WV 25086                           1451     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TUTTLE, WILLIAM LEON
PO BOX 9612
HOUSTON, TX 77213-0612                      1452     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                       1453     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TAYLOR, CYNTHIA W
9811 BREUK LN
AMARILLO, TX 79119                          1454     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
THIGPEN, SR., BYRON H
234 S CHANNEL HAVEN DR
WILMINGTON, NC 28409                        1455     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
DAVIS, CHANA
32760 LEDGE HILL DR
SOLON, OH 44139-1915                        1456     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                       1457     2/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
NEUSSE, CINDY L
2304 FALL RIVER DR
ARLINGTON, TX 76006                         1458     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Padgett, Dianne B
10803 Burgoyne Road
Houston, TX 77042                           1459     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                       1460     2/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                           1461     2/3/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MOELLER, TIMOTHY C
14103 DEER RUN ST
MAGNOLIA, TX 77355-3887                     1462     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
THIGPEN, SR., BYRON H.
234 S CHANNEL HAVEN DR 39
WILMINGTON, NC 28409-3510                   1463     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WALLACE, A JANE
9201 SO. DAMEN AVENUE
CHICAGO, IL 60643                           1464     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
NESBITT, LINWOOD
612 BRACKEN FERN DR
WILMINGTON, NC 28405                        1465     2/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
REMINGTON, ROY A
225 BACKLINE RD
JEFFERSON, PA 15344-4234                    1466     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00

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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
MORRISON, BRADLEY S
1945 VALLEY OAKS CT
IRVING, TX 75061-2164                          1467     2/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
HAWKINS, LONNIE L
16407 QUAIL BRIAR DR
MISSOURI CITY, TX 77489-5709                   1468     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                    1469     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                        1470     2/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lewis, Timothy W
454 Governors Rd SE
Winnabow, NC 28479                             1471     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gritte, Raymond L
7702 Nocona Cir
Corpus Christi, TX 78413                       1472     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, BOYCENE B
5001 WESLEY RD.
AMARILLO, TX 79119                             1473     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, BOYCENE B
5001 WESLEY RD.
AMARILLO, TX 79119                             1474     2/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1475    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                    1476     2/4/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Degli, Patricia A
7143 N. Galahad Place
Painesville, OH 44077-9538                     1477     2/4/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                               1478    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1479    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Lambrecht, Glenn M
203 Caldwell St
Baytown, TX 77520-1211                         1480     2/5/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
TROY, WILLIAM M
6604 CHICK EVANS LANE
WOODRIDGE, IL 60517                            1481     2/5/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pattillo, Kathy June
107 Camaron Dr
Shawnee, OK 74804-9711                         1482     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Gedaly, Ray H
155 Towering Pines Dr.
The Woodlands, TX 77381-2598                   1483     2/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                          1484     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                 1485     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOYCE, GREGORY
1523 CHERTSEY CIR
CHANNELVIEW, TX 77530-2030                     1486     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Barmore, Deborah L
7938 Bayou Dr St
Alvin, TX 77511                                1487     2/6/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
MONTFORD, CLIFTON A
5005 BIRDS VIEW CT
CASTLE HAYNE, NC 28429                         1488     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SCHEXNAYDER, JACQUELINE M
P.O. BOX 134
PAULINA, LA 70763                              1489     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
MCCOY, MARTHA V
6426 ST ALBAN CT
ARLINGTON, TX 76001-7895                      1490     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Ashford, Catherine B
147 W Cliffside Ave
Amarillo, TX 79108                            1491     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITE, JUDI A
7 PRAIRIE DELL TRAILER CT MH
UNION, MO 63084-3354                          1492     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229                              1493     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Arizmendi, Carmen
3416 Oriole Avenue
McAllen, TX 78504                             1494     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITE, STEPHEN LEE
PO BOX 1829
MONT BELVIEU, TX 77580                        1495     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
UNDERWOOD, PEARL H
614 W WALNUT AVE
PAINESVILLE, OH 44077-2668                    1496     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                       1497     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                1498     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
WIGHT, ANDREW W.R.
THE OLD POST OFFICE
CHURCH LANE
CHEARSLEY, BUCKS HP18 ODH
UNITED KINGDOM                                1499     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                              1500     2/6/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
West, Janice L
11060 McClary Rd.
PO Box 75
Dumas, TX 79029                               1501     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Ashraf, Saied
5711 Andover
Amarillo, TX 79109                            1502     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229-5208                         1503     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                1504     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                             1505     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                             1506     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Lozier, John G
5603 Lobello Dr.
Dallas, TX 75229                              1507     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CALVERT, WILLIAM S
7810 ELIZABETH RD
PASADENA, MD 21122-2310                       1508     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
EADY, MAX R
312 W COURTLAND AVE
MUSCLE SHOALS, AL 35661-2816                  1509     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                      1510     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                                1511     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00


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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                      1512     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                           1513     2/6/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Sheridan, Robert A
830 Meadow Ave
Scranton, PA 18505-2534                       1514     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Hawkins, Lonnie L
16407 Quail Briar Dr
Missouri City, TX 77489-5709                  1515     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Donnelly, JR, Charles E
5848 Shady Oaks DR
Frisco, TX 75034-7225                         1516     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                            1517     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                           1518     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                           1519     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DUDLEY, ROBERT L
19125 FOREST RD 219
RICHARDS, TX 77873                            1520     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
ROBKER, DOUGLAS EARL
7004 N BELLEFONTAINE AVE
KANSAS CITY, MO 64119-5212                    1521     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229                              1522     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                      1523     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
STALZER, WALTER E
6211 CHASE DR
MENTOR, OH 44060-3601                         1524     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Moss, Matthew Scott
7906 Success Place
Amarillo, TX 79119                            1525     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                             1526     2/6/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ATKINSON, LACY
22 BEULAH LN
HAMPSTEAD, NC 28443-8948                      1527     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCHMIDT, LILA J
5107 GLADEHILL DR
KINGWOOD, TX 77345-2418                       1528     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Jackson, Elvenia
9919 Bayou Woods
Baytown, TX 77521                             1529     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Hull, Robert A
10417 Coppedge Lane
Dallas, TX 75229-5208                         1530     2/6/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Friend, Kenneth D
1567 Crellin Mine Rd
Terra Alta, WV 26764-7507                     1531     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Malek, David R
1901 Willowbend Drive
Deer Park, TX 77536-8902                      1532     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
REHO, STEVEN N
1725 W JACKSON ST
PAINESVILLE, OH 44077-1355                    1533     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SEBEK, CONSTANCE
15121 NE 27TH AVENUE
VANCOUVER, WA 98686                           1534     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Jones, Melissa Kondo
2504 Nighthawk Dr.
Plano, TX 75025                              1535     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROBINSON, ANNA M
304 SAGE DR
GALENA PARK, TX 77547                        1536     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DURKAN, RAYMOND
2310 MILLVALE DRIVE
KINGWOOD, TX 77345                           1537     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BARROWS, RUSSELL ERNEST
521 KEARLEY DR
FATE, TX 75087-8607                          1538     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GATLIN, JANIS N
1917 REW AVE
DUNCANVILLE, TX 75137-4539                   1539     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WEST, BRUCE, ESTATE OF
PO BOX 75
DUMAS, TX 79029-0075                         1540     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOHNSON, ARTIS
4294 RIVER OAKS DR
FLORISSANT, MO 63034-3009                    1541     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KEGLEY, DAVID B
126 WOOLENS RD
ELKTON, MD 21921-1821                        1542     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WAGUESPACK, LARRY P
3434 S ANGELLE ST
PAULINA, LA 70763-2230                       1543     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1544     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PAULEY, LARRY W
535 21ST STREET
DUNBAR, WV 25064                             1545     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILSON, ROGER
189 MODERN FARMS RD
WESTWEGO, LA 70094-2330                      1546     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BEAUXIS, ALVIN R
104 GULLS POINTE DR
LAFAYETTE, LA 70506                          1547     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
POWELL, CLIFTON EARL
5338 ESPUELA LN
BAYTOWN, TX 77521-2647                       1548     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILLINGHAM, ARVIA DUANE
105 SKOKIE RD
AMARILLO, TX 79118                           1549     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                        1550     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
FOX, HELEN J
1533 LOCKNEY ST
AMARILLO, TX 79106-2405                      1551     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WILLIS, CARLTON
906 CHURCH ST
NAVASSA, NC 28451-9795                       1552     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CANNON, DOUGLAS
670 COUNTY ROAD 3552
SULPHUR BLUFF, TX 75481-5101                 1553     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                      1554     2/7/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
LEWIS, DAVID D
1859 COUNTY ROAD 1350
CHICKASHA, OK 73018-8023                     1555     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                        1556     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00




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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                       1557     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                        1558     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                        1559     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BEAUXIS, AL R
104 GULLS POINTE DR
LAFAYETTE, LA 70506-6426                     1560     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Ondercin, Gregory S.
16225 Lake Forest Dr.
Strongville, OH 44136-2521                   1561     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GARCIA, ROULEN
3602 HEDGE ROW ST
GRANBURY, TX 76048-3930                      1562     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                        1563     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
POWELL, DONNA F
1121 E PURDUE LANE
DEER PARK, TX 77536-6531                     1564     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                       1565     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1566     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                        1567     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                       1568     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
ZELLER, WILLIAM J
131 OAKLAKE ST
PIERRE PART, LA 70339                        1569     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                        1570     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SEKKI, RUSSELL R
235 ORCHARD ST
FAIRPORT HARBOR, OH 44077-5534               1571     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Prebul, Thomas
4084 Perivale Road
Mississauga, ON L5C 3Z8
Canada                                       1572     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BAILEY, JACK K
98 MALONEY RD
ELKTON, MD 21921-6333                        1573     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KNOX, MICHAEL
PO BOX 135
ROMAYOR, TX 77368-0135                       1574     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Zeller, William J
131 Oaklake St
Pierre Part, LA 70339                        1575     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1576     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MONTGOMERY, MARY C
205 NORTH ST
CHARDON, OH 44024-1031                       1577     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LOUGHRY, ELEANOR
1114 PHYLLIS ST
DEER PARK, TX 77536-3624                     1578     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00


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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1579     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                       1580     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                          1581     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rodrick, Robert A.
2609 Chambray Ln.
Mansfield, TX 76063                          1582     2/8/2017        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
THOMAS, ROBERT O.
314 E. BUFFALO CHURCH RD.
WASHINGTON, PA 15301                         1583     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NELSON, FRANCES
184 LARCHWOOD DR
PAINESVILLE, OH 44077-1939                   1584     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                          1585     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Gonzales, Kristine K
5930 Oakmoss Trl
Spring, TX 77379-2503                        1586     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
RHODES, DAVID C
9318 WALNUT BROOK CT
HOUSTON, TX 77040-7649                       1587     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HULL, ROBERT A
10417 COPPEDGE LANE
DALLAS, TX 75229                             1588     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PARSONS, DAVID A.
106 WHITE ST. APT D
CHARLESTON, WV 25302                         1589     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
POWELL, JOHN D
14703 CARSEN BND
CYPRESS, TX 77429                            1590     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LANDRY, MICHAEL PAUL
14196 ADAM ARCENEAUX DR
GONZALES, LA 70737-6992                      1591     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Sherrill, Sylvia
315 County Road 2261
Valley View, TX 76272-6389                   1592     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
WITT JR, GERALD F
1019 MISTY TRAILS LANE
LEAGUE CITY, TX 77573                        1593     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                           1594     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GILES, FRANCIS
314 TIDE WATER LANE
MIDDLE RIVER, MD 21220                       1595     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAMBERT, MARK T
3391 S ANGELLE ST
PAULINA, LA 70763-2229                       1596     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HENDRICKSON, JEAN M
630 E MAIN ST
MADISON, OH 44057-3208                       1597     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CLARK, AUDREY B
215 GORES ROW
WILMINGTON, NC 28401-4837                    1598     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Smith, Stephnie L
725 Phillips Dr
Dumas, TX 79029-5325                         1599     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KRUTYHOLOWA, KATHY A
11560 AUBURN RD
CHARDON, OH 44024                            1600     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1601     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
FRITZ, DARLENE A
11560 AUBURN RD
CHARDON, OH 44024-9310                       1602     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DOLIER, KATHLEEN R
310 HUME LN
BAKERSFIELD, CA 93309-2427                   1603     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Smith, Kristina D.
1226 Porto Pt.
New Braunfels, TX 78132                      1604     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Brady, Richard F
1416 Bascomb Drive
Raleigh, NC 27614-9014                       1605     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1606     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
DAVIS, JOHN C
5992 N ARDEN DR.
MENTOR, OH 44060                             1607     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Knox, Michael
PO 135
Roma York, TX 77368                          1608     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                      1609     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Remondet, Paul E
39277 Carly Lane
Paulina , LA 70763-2137                      1610     2/6/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                           1611     2/6/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                     1612     2/6/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1613     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Collier Sr., Ricky J
313 Regency Dr.
Deer Park, TX 77536                          1614     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1615     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1616     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Zolnier, James
2125 Canyon Lakes Dr
San Ramon, CA 94582                          1617     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PEREZ, CARLOS
750 COUNTY ROAD 316
FLORENCE, AL 35634-6006                      1618     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CUTLER, KEVIN H
2309 E REATA DR
DEER PARK, TX 77536-4961                     1619     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
YANCEY, JIMMY M
305 SOUTH BLACKWELL
LA PORTE, TX 77571                           1620     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ALLEN, NATHAN
PO BOX 845
GONZALES, LA 70707-0845                      1621     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GONZALES, KRISTINE K
5930 OAKMOSS TRL
SPRING, TX 77379-2503                        1622     2/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PERQUE, PERRY P
22745 INNESS LN
VACHERIE, LA 70090                           1623     2/6/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00

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                                                                                                     Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                Amount                                                                                     Amount                                                Claim Amount
AMODEO, JAMES
3303 OAK GARDENS DR
KINGWOOD, TX 77339-5507                      1624     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Rice (Deceased), Bobby
c/o Paula L. Rice
14618 Wadlington Dr.
Houston, TX 77044                            1625     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Branchick, Susan E.
7700 Snowberry Ct.
Mentor, OH 44060                             1626     2/7/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
WESEMAN, LUKE W
1003 MEADOW CREEK DR
ALLEN, TX 75002-1956                         1627     2/6/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
BUTLER, WILLIE L
3414 N ATLANTA AVE
TULSA, OK 74110-1537                         1628     2/3/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
KENNEDY, STEVEN F
1816 LAKESIDE LANE
FRIENDSWOOD, TX 77546                        1629     2/7/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1630     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Burkett, Donna Mogab
3915 Vista Road
Pasadena, TX 77504                           1631     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
DOMITROVICH, THEODORE R
4312 JENNING CT
PLANO, TX 75093-5500                         1632     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
LYLES, JAMES N
18000 PRINE ROAD
CITRONELLE, AL 36522                         1633     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
VAUGHT, RONALD J
913 PAULETTE DR
DEER PARK, TX 77536-4932                     1634     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
VEVERKA, CATHERINE A
21765 LITTLE BROOK WAY
STRONGSVILLE, OH 44149                       1635     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Claim docketed in error
                                             1636    1/31/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
ZELLER, RONALD D
2519 E 4925 S
VERNAL, UT 84078-9267                        1637     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Haskins, John N
361 Winslow Dr
Souderton, PA 18964-2193                     1638     2/7/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Thomas, Robert O.
314 E. Buffalo Church Rd.
Washington, PA 15301                         1639     2/7/2017         Gateway Coal Company                                     $0.00                                                                                                                                    $0.00
PREBUL, THOMAS
4084 PERIVALE ROAD
MISSISSAUGA, ON L5C 3Z8
CANADA                                       1640     2/7/2017    Maxus (U.S.) Exploration Company                              $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1641     2/7/2017          Tierra Solutions, Inc.                                  $0.00                                                                                                                                    $0.00
GREEN, JACKIE L
3023 ROB LN
NACOGDOCHES, TX 75961                        1642     2/7/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Herzog, Larry Wayne
1001 Piney Creek Rd
LaGrange, TX 78945                           1643     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
STEFFEK, DOUGLAS A
1705 N PARK SIDE DR
DEER PARK, TX 77536-5433                     1644     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
Shipp, James G.
1557 FM 449
Longview, TX 75605-7430                      1645     2/7/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00




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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Yates, Steven Moore
12853 Cross Point Dr.
Frisco, TX 75033                             1646     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RODRICK, ROBERT A.
2609 CHAMBRAY LN
MANSFIELD, TX 76063-5841                     1647     2/7/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
JOHNSON, JOAN M
9999 SPENCER HWY APT 1905
LA PORTE, TX 77571-4067                      1648     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SAIN, BOBBIE J
20025 CHAPEL POINT LN
CORNELIUS, NC 28031-7053                     1649     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THORN, TERRY A
1126 GLENCREST DRIVE
LA PORTE, TX 77571-7805                      1650     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1651     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                            1652     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1653     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                           1654     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HALLETT, CLIFFORD R
113 REYBOLD DR BOX 4114
DELAWARE CITY, DE 19706-8721                 1655     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MURALT, IONE
1462 15TH ST N
WAHPETON, ND 58075-3519                      1656     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Sherrill, Sylvia
315 County Road 2261
Valley View, TX 76272-6389                   1657     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Snider, James Mark
14551 Dairy Ashford
Houston, TX 77079                            1658     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                  1659     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                        1660     2/7/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MARSH, JOAN M
PO BOX 93123
PHOENIX, AZ 85070-3123                       1661     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Snider, James Mark
14551 Broadgreen
Houston, TX 77079                            1662     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Snider, James Mark
14551 Broadgreen
Houston, TX 77079                            1663     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                           1664     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           1665     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                           1666     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1667     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                           1668     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
SINGLETON, JACQUELINE D
16603 QUIET QUAIL DR
MISSOURI CITY, TX 77489-5407                 1669     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                  1670     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                             1671     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BEAR, SIDNEY MAURICE
323 WILLOW VISTA DR
EL LAGO, TX 77586-6017                       1672     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LANDRY, GEORGE D
1485 GRAYSTONE DR
AURORA, IL 60502-1329                        1673     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                         1674     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                        1675     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1676     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                         1677     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
WILLIS, JON C
11001 COLLINGSWOOD
LA PORTE, TX 77571-4397                      1678     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           1679     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Gillis, Gretchen M.
1119 Banks Street
Houston, TX 77006                            1680     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Durley, Henry James
7023 Richwood
Houston, TX 77087                            1681     2/8/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1682     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WILSON, SHERRELL LYNN
32510 GREEN BEND COURT
MAGNOLIA, TX 77354                           1683     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1684     2/9/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           1685     2/8/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BROWN JR, WESLEY
858 JACKEYS CREEK LN SE
LELAND, NC 28451                             1686     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Risener, Charles R
4310 County Road 61
Florence, AL 35634-6419                      1687     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MOGEL, RAY L
20037 ROCKWELL RD
CORONA, CA 92881-4893                        1688     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KING, HAROLD
4950 WINDING TIMBERS CIRCLE
HUMBLE, TX 77346                             1689     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BUCKNER (DECEASED), JERRY W
3514 RAMSEY DR
PASADENA, TX 77503-2744                      1690     2/7/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                          $0.00                                          $0.00
CHRISP, MARY A
1707 YOUNG STREET
HICKMAN, KY 42050-1945                       1691     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
HARRIS, RONALD W
9722 TANGLEWOOD DR
BAYTOWN, TX 77523-2577                       1692     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                      1693     2/7/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Harris, Ronald W.
9722 Tanglewood Dr
Baytown, TX 77523-2577                       1694     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MILNER, SAM
206 LONG CANYON CT
RICHARDSON, TX 75080-2668                    1695     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Pena, Jerry
2305 Thomas Ave
Pasadena, TX 77506-3053                      1696     2/7/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Smith, Stephine L
725 Phillips Dr
Dumas, TX 79029-5325                         1697     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SALLENG, WILLIAM E
297 FULKERSON RD
HORSE CAVE, KY 42749-8002                    1698     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Harris, Ronald W
9722 Tanglewood Dr
Baytown, TX 77523-2577                       1699     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Friend, Kenneth D
1567 Crellin Mine Rd
Terra Alta, WV 26764-7507                    1700     2/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1701     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
AMOROSO, JOSEPH C
537 SALEM CHURCH RD
NEWARK, DE 19702                             1702     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HARRIS, TANYA Y
6617 STEWART BLVD
THE COLONY, TX 75056-4651                    1703     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHIPMAN, CAROLYN CHAMBERS
1705 THROWBRIDGE LANE
PLANO, TX 75023-7429                         1704     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROLLING, DENISE
18552 VISTA DEL SOL
DALLAS, TX 75287                             1705     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                   1706     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Allen, Johnny L
8342 Cassidy Creek Ct
Houston, TX 77095                            1707     2/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FULCE, RODNEY W
8213 PROSPER DR
AMARILLO, TX 79119-7204                      1708     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BRADFORD, KAREN N
834 NORA LANE
DESOTO, TX 75115                             1709     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1710     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                            1711     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CAMERON, KENNETH J
PO BOX 428
ROWLETT, TX 75030-0428                       1712     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                      1713     2/7/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PENA, JERRY
2305 THOMAS AVE
PASADENA, TX 77506-3053                      1714     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               1715     2/7/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                          1716     2/7/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                          1717     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                              1718     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                              1719     2/7/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                    1720     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
GIVEN JR., RONDEL LINGER
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                    1721     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                        1722     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
TRONCOSO, JUAN C
304 HITCH WAGON DR
MCKINNEY, TX 75071                             1723     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GORDON, PAULA M.
2741 WEST 37TH AVENUE
DENVER, CO 80211                               1724     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZAPPITELLI, BARBARA A
651 WRIGHTS AVE
CONNEAUT, OH 44030-1666                        1725     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOSTIN, HOWARD IRVING
330 SALTWINDS DRIVE
EASTHAM, MA 02642-1777                         1726     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SHERRILL, SYLVIA C
315 COUNTY ROAD 2261
VALLEY VIEW, TX 76272-6389                     1727     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Alford, William V.
P.O. Box 2164
Lexington, KY 40588-2164                       1728     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                              1729     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Brenner, Michael G
7811 Legend
Amarillo, TX 79121-1717                        1730     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                           1731     2/7/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                          1732     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                          1733     2/7/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                           1734     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SMITH, STEPHNIE L
725 PHILLIPS DR
DUMAS, TX 79029-5325                           1735     2/7/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
POCHE, TERRY L
PO BOX 101
HESTER, LA 70743-0101                          1736     2/7/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                          1737     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00


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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Cambre, Ched
PO Box 961
Gramercy, LA 70052                          1738     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Larry, John
c/o Latonya McIntyre
2251 S. Springfield
Chicago, IL 60623                           1739     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Cribbs, Thomas Ralph
Tom Cribbs
777 Legends View Dr.
Eureka, MO 63025                            1740     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Cribbs, Thomas Ralph
777 Legends View Dr.
Eureka, MO 63025                            1741     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
CRIBBS, THOMAS R
777 LEGENDS VIEW DR
EUREKA, MO 63025-2091                       1742     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Prebul, Thomas
4084 Perivale Road
Mississauga, ON L5C 3Z8
Canada                                      1743     2/7/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
White, S J
260 Mill Morr Dr.
Painesville , OH 44077-1334                 1744     2/7/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HOLLAND, RUBY D
PO BOX 606083
CLEVELAND, OH 44106-0583                    1745     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                       1746     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                       1747     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                       1748     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                       1749     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                            1750     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                            1751     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                            1752     2/9/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
JACK, DAVID L
1421 WATSON DR
DEER PARK, TX 77536                         1753     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LOCKWOOD, HENRY C.
1555 W. DEBERRY AVE.
ARANSAS PASS, TX 78336                      1754     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BARROS, CATHERINE E
9210 FLICKERING SHADOW DRIVE
DALLAS, TX 75243                            1755     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                          1756     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Webb, Ronald
2122 Spillman Drive
Zellwood, FL 32798                          1757     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TAYLOR, RONALD W
405 W FORREST LN
DEER PARK, TX 77536-4021                    1758     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MATITS, JUDITH N
605 DAREN LN O605
MINE HILL, NJ 07803-3053                    1759     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                           1760     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MALKOWSKI, SUSAN E
321 S WESTHAVEN DR APT 104
OSHKOSH, WI 54904-7981                       1761     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHITE, STEPHEN LEE
PO BOX 1829
MONT BELVIEU, TX 77580                       1762     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Webb, Sr., Ronald Lee
2122 Spillman Drive
Zellwood, FL 32798                           1763     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
COOPER, MICHAEL WAYNE
12703 W RIVER RUN DR
BAYTOWN, TX 77523-8554                       1764     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRAHAM, LINDA T
1708 SACRAMENTO TERRACE
PLANO, TX 75075-6724                         1765     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SHEETS, S B
PO BOX 238
SPEARMAN, TX 79081                           1766     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LINCOSKI, DANIEL
184 WOODLAND RD
DAISYTOWN, PA 15427                          1767     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LINCOSKI, DANIEL
184 WOODLAND RD
DAISYTOWN, PA 15427                          1768     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
SNIDER, JAMES MARK
14551 BROADGREEN DR
HOUSTON, TX 77079-6505                       1769     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
ODOM, RICHARD D
4163 LITTLE KELLY RD
ROCKY POINT, NC 28457-8665                   1770     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Millet, Mark A.
3674 Angelle Lane
Paulina, LA 70763                            1771     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
INGLE, ROBIN M
409 DANIEL LN
CEDAR HILL, TX 75104-1903                    1772     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                        1773     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             1774     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                             1775     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FINELLI, JR, WILLIAM J
8981 CLINTON RIVER ROAD
STERLING HEIGHTS, MI 48314-2410              1776     2/8/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
Baker, Edward J.
12035 Fairbury Dr.
Houston, TX 77089-6321                       1777     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Snider, James Mark
14551 Broadgreen Dr.
Houston, TX 77079                            1778     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SNIDER, JAMES MARK
14551 BROADGREEN DR
HOUSTON, TX 77079-6505                       1779     2/8/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                        1780     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Falgoust, Molly S
22885 North Oak Street
Vacherie, LA 70090-4456                      1781     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                           1782     2/8/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00

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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Snider, James Mark
14551 Broadgreen Drive
Houston, TX 77079                            1783     2/8/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BERNAL, CARLOS A
501 MAPLE ST
GOLDEN, CO 80403                             1784     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           1785     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           1786     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Schexnailder, Sandy
934 SE 5th
Grand Prairie, TX 75051                      1787     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JURCZYKOWSKI, DONNA M
36 DENNISON DR
GLENDALE HEIGHTS, IL 60139-1875              1788     2/8/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1789     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
CRAWFORD, GARY LEON
10014 STONEMONT RD
LA PORTE, TX 77571-4057                      1790     2/8/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
GIVEN, RONDEL
PO BOX 14122
MYRTLE BEACH, SC 29587-4122                  1791     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROUSSEL, KENNETH D
PO BOX 67
HESTER, LA 70743-0067                        1792     2/8/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BROWN, JEFFREY K
4023 10TH STREET NW
GIG HARBOR, WA 98335                         1793     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SEELING, ALAN F
29275 COUNTY ROAD 358A
BUENA VISTA, CO 81211-9632                   1794     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                    1795     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
KANE, ROBERT J
3957 STONE POINT DR NE
ROCHESTER, MN 55906-5461                     1796     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                    1797     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Claim docketed in error
                                             1798     2/8/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                        1799     2/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                        1800     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                      1801     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KRAUTH, GREGORY A
274 TRENTON LAKEWOOD RD
CREAM RIDGE, NJ 08514-2115                   1802     2/8/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Killion, Robert N.
3 S. Buck Ridge
Woodlands, TX 77381                          1803     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Kehl, Monty
1692 Ridge Road
Iowa City, IA 52245                          1804     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KILLION, ROBERT N
3 S. BUCK RIDGE
WOODLANDS, TX 77381                          1805     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00


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                                                                                                      Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
              Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                     1806     2/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                       1807     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                       1808     2/9/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                       1809     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                   1810     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                   1811     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILLIAMS, RICHARD A
8429 BOWDEN WAY
WINDERMERE, FL 34786-5302                   1812     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
YELVERTON, ROY ALAN
108 TREE CREST CIR
SPRING, TX 77381-3295                       1813     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Killion, Robert N.
3 S. Buck Ridge
Woodlands, TX 77381                         1814     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LOUQUE, JODY P
3255 LA 642
PAULINA, LA 70763-2406                      1815     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KIRKPATRICK, KENT C
2217 CHIPPEWA HLS
GUNTER, TX 75058-4221                       1816     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MATHERNE, GARY M
PO BOX 2721
RESERVE, LA 70084-2721                      1817     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                          1818     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SWAILS, BETTY J
4241 LANE ROAD
PERRY, OH 44081-9301                        1819     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                          1820     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WALSH, CAROL S
62 FORD RD
LANDING, NJ 07850-1650                      1821     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                        1822     2/9/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
MURO, HENRY
738 CHOCTAW DR
SAN JOSE, CA 95123                          1823     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                        1824     2/9/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
KIRKPATRICK, KENT C
2217 CHIPPEWA HLS
GUNTER, TX 75058-4221                       1825     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Parish, Shirley
1112 Kiowa Dr West
Lake Kiowa, TX 76240                        1826     2/9/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                            1827     2/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                      1828     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00

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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
MILES, NICK P
1630 RIDING CLUB ROAD
KEENE, VA 22946                               1829     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
May, Don Earl
331 Lakeview Dr.
Victoria, TX 77905-4017                       1830     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, KIM P
601 SHERWOOD OAKS DR
HALLSVILLE, TX 75650                          1831     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McLain Clark, Valorie K
5312 Dunster Dr
McKinney, TX 75070-8886                       1832     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                        1833     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Chavez, Jamie C.
18218 Quail Run Circle
Conroe, TX 77302-6495                         1834     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Peplowski, Michael A.
5501 W. Loveland Rd.
Madison, OH 44057-9007                        1835    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GARCIA, ABEL M.
10106 SAGE ROYAL LN.
HOUSTON, TX 77089-4334                        1836    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Clark, Stephen L
307 S Rosemont Avenue
Dallas, TX 75208-5814                         1837    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Smith, Nonnie
2802 San Pedro Ct
Youngstown, OH 44511                          1838    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Prince, Pamela M.
6680 Ross Road
Madison, OH 44057                             1839    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RODEN, ROCKY R
4927 COUNTY ROAD 2161
CENTERVILLE, TX 75833-3433                    1840    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                         1841     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Barmore, Clifford W
7938 Bayou Drive St
Alvin, TX 77511                               1842    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                       1843    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Barber, Betty A
4415 Sapelo Dr.
Evans, GA 30809                               1844    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                        1845    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                        1846    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                        1847    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                       1848    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                       1849    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                         1850     2/9/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                         1851     2/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00

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                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                      1852    2/10/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
SPEER, DAVID G
1107 LAKE FRASER CT
CALGARY, AB T2J 7G4
CANADA                                      1853    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                            1854    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SANCHEZ, JACOBO S
11418 GNARLWOOD DR
HOUSTON, TX 77089-5328                      1855    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                           1856    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HIMES, DONALD A
PO BOX 415
SAINT JAMES, LA 70086-0415                  1857    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                            1858    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GASS, RICHARD B
19 ARABIAN WAY
SOUTHAMPTON, PA 18966-5301                  1859    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                       1860    2/10/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                       1861     2/9/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                        1862    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MCENTIRE, CURTIS LYNN
19801 HUNTERS RUN
CANYON, TX 79015-6322                       1863     2/9/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Gordon, Van Rudy
3211 Eastex Frwy
Houston, TX 77026                           1864     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                        1865    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                      1866    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                      1867    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ANDERSON, MICHAEL R
1217 KENNY ST
DEER PARK, TX 77536                         1868    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                           1869    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                           1870    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                      1871    2/10/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
BOWER, ROBERT L
3837 WATERFORD DR
ADDISON, TX 75001-7955                      1872    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                       1873    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
LANDRY, MICHAEL PAUL
14196 ADAM ARCENEAUX DR
GONZALES, LA 70737-6992                      1874    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOURGEOIS, LINDA V
32240 LONGVIEW ST
PAULINA, LA 70763                            1875    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                            1876    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BREWER, ANNA R
417 W PALMER ST
MORRISVILLE, PA 19067-2177                   1877    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WHITESIDE, JAMES E
3409 BLUEBONNET ST
PASADENA, TX 77505                           1878    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROSS, DEBRA C
1061 SUNSET DR
KAUFMAN, TX 75142-7841                       1879    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KOGOY, JOAN E
7247 FOX MILL RD UNIT D
MENTOR, OH 44060-6355                        1880    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ACCARDO, RICKY G
3518 REDWOOD LANE
PAULINA, LA 70763                            1881    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RANDALL, ALBERT G
56 CIMARRON ESTATES GREEN
OKOTOKS, AB T1S 0A4
Canada                                       1882    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SAUNDERS, ROSS E
6706 FALLING WATERS DR
SPRING, TX 77379-4852                        1883    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Leathem, Theodore M.
132 Ashford Road
Cherry Hill, NJ 08003                        1884    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
WRIGHT, LEE A
PO BOX 791
HARDIN, TX 77561-0791                        1885    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SKEES, JAMES L
101 W PARK AVE
ST MARY'S, KS 66536                          1886    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SAUNDERS, ROSS E
6706 FALLING WATERS DR
SPRING, TX 77379-4852                        1887    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CORMIER, CLIFTON I
3905 WAYNE ST
HOUSTON, TX 77026                            1888    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
GILBERT, JOHN
125 WANDA WAY 105
HURST, TX 76053-6942                         1889     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
STERN, LLOYD H.
7908 FT. SMALLWOOD RD.
CURTIS BAY, MD 21226-1908                    1890    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                         1891    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                    1892    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                        1893    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                         1894    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                        1895    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00




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                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                                       1896    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Turpack, Harold S.
852 N. Shore Road
Lake Oswego, OR 97034                                       1897    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                                        1898    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                                   1899    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITHART, DEBBIE LYNN
84 RIVER BIRCH WAY
GREER, SC 29650-4657                                        1900    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BRYSON, DONALD L
1450 AXMINSTER LANE
ESTES PARK, CO 80517-5605                                   1901    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Falgoust, Molly S
22885 North Oak Street
Vacherie, LA 70090                                          1902    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KENSELL, DEBORAH S
7710 WILLIAMS AVE
FRISCO, TX 75033-3531                                       1903     2/9/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                          1904    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1905    2/10/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Walters, Tina M.
2816 Nighthawk Drive
Mesquite, TX 75181                                          1906    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Kline Jr, Donald L
386 Sandy Creek Dr
Sunnyvale, TX 75182-3255                                    1907    2/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILSON, JOSEPH
701 W TARA LN
DUNCAN, SC 29334-9287                                       1908    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                                       1909    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GRZYBOWSKI, GAIL MARIE
8801 LAKESIDE DR
ROWLETT, TX 75088-5590                                      1910    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Enriquez, Maria S
13731 Yardmaster Trl
Houston, TX 77034                                           1911    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                                  1912    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
VANVALKENBURG, CYNTHIA P
6813 MARIKA CIR
AMARILLO, TX 79124-2730                                     1913    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KLINE JR, DONALD L
386 SANDY CREEK DR
SUNNYVALE, TX 75182-3255                                    1914    2/11/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                                      1915    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                                  1916    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
RODRIGUEZ, NICANOR
416 CEDAR MEADOW CIR
AMARILLO, TX 79124-1425                                     1917    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
PEARSON-ALEXANDER, DALIA
21351 VILLAGE CROSSING LANE
PORTER, TX 77365-5187                          1918    2/12/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Claim docketed in error
                                               1919    2/11/2016        Maxus Energy Corporation                                                                                                                                                                             $0.00
KATONA, ROBERT R.
65 MENTOR AVE.
PAINESVILLE, OH 44077                          1920    2/11/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Road
Huffman, TX 77336-3801                         1921    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
CHAMBERS, LINDA M
122 KOLAT LANE
RICES LANDING, PA 15357                        1922    2/12/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Leathem, Theodore M.
132 Ashford Road
Cherry Hill, NJ 08003                          1923    2/11/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
KLINE JR, DONALD L
386 SANDY CREEK DR
SUNNYVALE, TX 75182-3255                       1924    2/11/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1925    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
HARDAGE, GINGER C
4502 WILDWOOD RD
DALLAS, TX 75209-1926                          1926    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIBSON, MARION A
1831 MAYFIELD DR
CRESTWOOD, KY 40014                            1927    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KUHN, BILLY C
3440 CLARK RD
PERRY, OH 44081-9537                           1928    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Seago, Jerrell C.
603 Inwood Drive
Baytown, TX 77521                              1929     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Johnson, William A
3304 Camden Drive
Flower Mound, TX 75028-2922                    1930    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SALCEDO, ANA MARIA
3603 WAKEFOREST ST
HOUSTON, TX 77098-5509                         1931    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1932    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1933    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1934    2/14/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1935    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1936    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                               1937    2/14/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Garmon, Jeanette K
5425 Timber Creek Circle
Pace, FL 32571                                 1938    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1939    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
MIER, THOMAS L.
PO BOX 575
WELSH, LA 70591-0575                           1940    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                               1941    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
JOHNSON, WILLIAM A
3304 CAMDEN DRIVE
FLOWER MOUND, TX 75028                         1942    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Claim docketed in error
                                               1943    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00




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                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1944    2/10/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Claim docketed in error
                                                            1945    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1946    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1947    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1948    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1949    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1950    2/14/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1951    2/14/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                                            1952    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Stutts, Michael
5 Greenway Plz Ste 110
Houston, TX 77046-0521                                      1953    2/13/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
Truby, Charles Michael
8806 Alatera Grove
Boerne, TX 78015                                            1954    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1955    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
LAYCOCK, CAROL A.
2658 EQUESTRIAN AVE.
SPRINGDALE, AR 72762                                        1956    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Clifford, Judith Rock
2710 Park Hills Drive
Katy, TX 77494                                              1957    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                                           1958    2/12/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                                   1959    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                                            1960    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
MILLER, THOMAS WILLIAM
2933 FAWN DR
BURLINGTON, KY 41005-9738                                   1961    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Jones, Esther J
PO Box 150144
Arlington, TX 76015-6144                                    1962    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                          1963    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                                            1964    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1965    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1966    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                          1967    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Claim docketed in error
                                                            1968    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1969    1/31/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                            1970    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00

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                                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                                            1971    2/14/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
WALTERS, TINA M.
2816 NIGHTHAWK DRIVE
MESQUITE, TX 75181                                          1972    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Claim docketed in error
                                                            1973    2/14/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Keener, Thelma
97 Narrows Road
Painesville, OH 44077-4910                                  1974     2/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Schwartau, Kurt
7116 Timbers Dr
Evergreen, CO 80439                                         1975    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Spilman, Kathy D
1509 Cleveland Dr.
Deer Park, TX 77536                                         1976    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                                     1977    2/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Flewellen III, Johnnie
6005 S. Gessner Apt. #2340
Houston, TX 77036                                           1978    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Urzen, William J
1104 Church Street
Jessup, PA 18434                                            1979    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Miller, Frank Richard
1135 North Lincoln
Casper, WY 82601                                            1980    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Walters, Tina M.
2816 Nighthawk Drive
Mesquite, TX 75181                                          1981    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Goodson, Jerry L
68 County Road 2322
Dayton, TX 77535-3656                                       1982    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1983    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
BRCAK, JOAN M
3758 OHIO ST
PERRY, OH 44081-9551                                        1984    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

KRIVACEK, KATHRYN JO AS SURVIVOR TO CHARLES J. KRIVACEK
1120 REDDINGTON DR.
AURORA, IL 60502-9474                                       1985    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
OJEDA, ROLANDO
706 N ELM ST
COMANCHE, TX 76442-1548                                     1986    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                                       1987    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PIERCE, PEGGY J
RR 2 BOX 111
BALKO, OK 73931-9802                                        1988    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCHOENDORFER, CAROLE D
3790 N RIVER HILLS DR
TUCSON, AZ 85750-2070                                       1989    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                                       1990    2/10/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Laycock, Carol A.
2658 Equestrian Ave.
Springdale, AR 72762                                        1991    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BARNES, CLARENCE W
4402 RASPBERRY RD
WILMINGTON, NC 28405-8477                                   1992    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                                       1993    2/10/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00

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                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
Zeringue, Jeffery J
8377 HWY 405
Donaldsonville, LA 70346-8313                          1994    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Morris, Faye Z
8359 HWY 405
Donaldsonville, LA 70346-8313                          1995    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Benich, Julie J
8919 Summerdale Lane
Conroe, TX 77302                                       1996    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Lundin, Francis Walter
13080 Bayou Terrace Dr
Saint Amant, LA 70774                                  1997    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Calcagno, Mary O
P.O. Box 989
307 Tania
Gramercy, LA 70052                                     1998    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Benich, Julie J
8919 Summerdale Lane
Conroe, TX 77302                                       1999    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                                  2000    2/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
GRIESMER, ROBERT A
7830 MOUNTAIN ASH DR
MENTOR, OH 44060-8102                                  2001    2/10/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                                  2002    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Stanley, Charles B.
c/o Steven W. Soule, Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 S. Boston Ave
Suite 200
Tulsa, OK 74103-3706                                   2003    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                                  2004    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Shetina, Anthony E
678 Second Street #1
Fair Port Harbor, OH 44077                             2005    2/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ROUSSEL, MARK A
3572 KENMORE DR
PAULINA, LA 70763-2312                                 2006    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HOLODNAK, J LARRY
2419 JEFFERSON EAGLEVILLE RD
JEFFERSON, OH 44047-9609                               2007    2/10/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                                       2008    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                       2009    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                       2010    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                                  2011    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Claim docketed in error
                                                       2012    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                    2013    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GOODSON, JERRY L
68 COUNTY RD 2322
DAYTON, TX 77535-3656                                  2014    2/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Claim docketed in error
                                                       2015    2/13/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                                      2016    2/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Padilla, Gabriel
105 Bayrock Circle
Amarillo, TX 79118                            2017    2/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHETINA, ANTHONY
152 CHAUCER CT
WORTHINGTON, OH 43085-3905                    2018    2/11/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Leathem, Theodore M
132 Ashford Road
Cherry Hill, NJ 08003                         2019    2/11/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MANLEY, CHRIS LAMAR
153 CHIPPENDALE SQ
KINGSPORT, TN 37660                           2020    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                             2021    2/12/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                             2022    2/12/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MEYERHOFF, JAMES C
5610 TUPPER LAKE DR.
HOUSTON, TX 77056                             2023    2/12/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Flick, Sondra Caroline
4821 Coral Road
Fort Myers Beach, FL 33931-3914               2024    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Truby, Charles Michael
8806 Alatera Grove
Boerne, TX 78015                              2025    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                              2026    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
REDIG, BRUCE R
PO BOX 1154
GILLETTE, WY 82717-1154                       2027    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Shetina, Anthony E.
678 Second Street #1
Fair Port Harbor, OH 44077                    2028    2/11/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
TRUBY, CHARLES MICHAEL
8806 ALATERA GROVE
BOERNE, TX 78015                              2029    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
MIER, THOMAS L.
PO BOX 575
WELSH, LA 70591-0575                          2030    2/12/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                           2031    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
FARHADI, MAHMOUD
10210 WINDING WOOD LN
TOMBALL, TX 77375-6972                        2032    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                               2033    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                     2034    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
SMITH, HELEN S
4321 S MONROE ST
AMARILLO, TX 79110                            2035    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BATTISE, IRMA J
PO BOX 3081
BAYTOWN, TX 77522                             2036    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BOOKER, EARNEST C
PO BOX 674
HARDIN, TX 77561                              2037    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BADDERS, WILLIAM M
260 CHRISTIANA RD APT N16
NEW CASTLE, DE 19720-2963                     2038    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                 Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
RINI, FLORENCE E
2002 N BANCROFT PKWY
WILMINGTON, DE 19806-2204                              2039    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Spilman, Kathy D
1509 Cleveland Drive
Deer Park, TX 77536                                    2040    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Stanley, Charles B.
c/o Steven W. Soule, Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 S. Boston Ave
Suite 200
Tulsa, OK 74103-3706                                   2041    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DICKENS, LINDA
546 ORCHARD AVE
ELKVIEW, WV 25071-7676                                 2042    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BULLOUGH, ROGER D
203 VILLA HILL CT
DICKSON, TN 37055-2667                                 2043    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LIMMER, JOHNNY RAY
710 WYND AVE 73869
PASADENA, TX 77503-2028                                2044    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOYCE, MARILYN A
2923 IZABELLA CT
FRISCO, TX 75033-8031                                  2045    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ZORICH, RICHARD A
405 LAKEFIELD TER
STROUDSBURG, PA 18360-7763                             2046    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CONTENZA, MICHAEL D
8693 WOODHAWK LANE
KIRTLAND, OH 44094                                     2047    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
KAMMERER, RICHARD J
1100 SOMERVILLE DR
OXFORD, MI 48371-5944                                  2048    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MILLER, LANDIS E
702 RIVER ST
GRAND RIVER, OH 44045-0452                             2049    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PROCTOR, CARLTON ROYCE
P.O. BOX 1433
DAYTON, TX 77535                                       2050    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MATRANGA, PAULA E
308 NORTHCLIFF RIDGE LN
FRIENDSWOOD, TX 77546-1726                             2051    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                               2052    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DEVENISH, BRIAN
29588 N 129TH DR
PEORIA, AZ 85383-5262                                  2053    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KELM, DONALD L
PO BOX 2009
PORT ANGELES, WA 98362-0270                            2054    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Stanley, Charles B.
Steven W. Soulé
320 S. Boston Ave., Suite 200
Tulsa, OK 74103-3706                                   2055    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
McIntyre, John F.
Hall Estill c/o Steven W. Soule
320 S. Boston Ave.
Suite 200
Tulsa, OK 74103                                        2056    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                                    2057    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MCFADDEN JR, LEROY
3005 CABOT COURT
WILMINGTON, NC 28405                                   2058    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                       2059    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
McIntyre, John F.
Hall Estill c/o Steven W. Soule
320 S. Boston Ave.
Suite 200
Tulsa, OK 74103                                2060    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SPILMAN, KATHY D
1509 CLEVELAND DR
DEER PARK, TX 77536-6414                       2061    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MCWILLIAMS, DOUGLAS L
1806 MACLIN DR
TUSCUMBIA, AL 35674-6102                       2062    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TEMPLE, RICHARD SCOTT
2445 N GOWER ST
LOS ANGELES, CA 90068-2257                     2063    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pennington, James M
29731 East Irvin Rd
Huffman, TX 77336                              2064    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Smith, Mark F.
304 Galeton Ct.
Greer, SC 29651-2320                           2065    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                      2066    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                      2067    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                    2068    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Stauffer, Carole B
7101 Tremont Lane
Rowlett, TX 75089                              2069    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
YARNELL, RICHARD A
548 HOLLETTS CORNER RD
CLAYTON, DE 19938                              2070    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GUCKER, DORIS
167 COUNTY ROAD 199
GARY, TX 75643-3759                            2071    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JAMISON, ANDREW J
PO BOX 23361
HOUSTON, TX 77228-3361                         2072    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                2073    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MATRANGA, JOSEPH D
308 NORTHCLIFF RIDGE LN
FRIENDSWOOD, TX 77546-1726                     2074    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HOLLIS, MARK P
PO BOX 477
WESTCLIFFE, CO 81252-0477                      2075    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Murr, Austin
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                2076    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
HORN, LEROY
128 LEDET DR R5
THIBODAUX, LA 70301-6123                       2077    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WALK, ARTHUR
16800 COUNTY ROAD 290
COSBY, MO 64436-9186                           2078    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                            2079    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00



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                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
Trampenau, Richard H
9220 Milton Ave.
Gig Harbor, WA 98332-1085                              2080    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BROWN, JEAN D
17199 SUMMERFIELD RD S
PRAIRIEVILLE, LA 70769-6643                            2081    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Tommerup, Jeffery Roy
c/o Steven W. Soule Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson PC
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                        2082    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Tommerup, Jeffery Roy
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                        2083    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SALAIS, THOMAS A
2408 CREEKS EDGE DR
PEARLAND, TX 77581-4486                                2084    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
HERNANDEZ, MANUEL J
2223 OUACHITA ROAD 2
STEPHENS, AR 71764-9298                                2085    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOYCE, MARILYN A
2923 IZABELLA CT
FRISCO, TX 75033-8031                                  2086    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Rigatti, Vincent G.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2087    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CARROLL, JOSEPH L
9406 WOOLSEY CT
HUMBLE, TX 77396-1941                                  2088    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Rigatti, Vincent G.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2089    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CROYLE, WILLIAM E
544 GRAND RIDGE DR.
HOWARD, OH 43028                                       2090    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
YOUNG, RAYMOND
3036 ROSEDALE AVE
DALLAS, TX 75205-1452                                  2091    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                                  2092    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
EBRIGHT, FRANK W
96 ROLLING GREEN LANE
ELKTON, MD 21921                                       2093    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2094    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SHIVER, BEVERLY S
20 LOGAN RD
CASTLE HAYNE, NC 28429-5617                            2095    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
URSIN, OUBE
29010 HIGHWAY 643
VACHERIE, LA 70090-3023                                2096    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2097    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
HUGHES, JAMES F
8035 SHOSHONE TRL
TINLEY PARK, IL 60477-7838                             2098    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DEVALL, JUNIOR P
1525 N PRESTON HWY
KINGWOOD, WV 26537-7675                                2099    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Mansanarez, Eric L.
Steven W. Soulé
Dustin Perry
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
320 South Boston Avenue, Suite 200
Tulsa, OK 74103-3706                                   2100    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                                  2101    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Vandenberg, D
14906 Harvrenee Dr
Cypress, TX 77429                                      2102    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                                 2103    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KING, KRISTINA
7332 SHADOWBROOK DR
WILLOUGHBY, OH 44094-9738                              2104    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                                  2105    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KING, JOSEPH B
7332 SHADOWBROOK DR
WILLOUGHBY, OH 44094-9738                              2106    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
TAYLOR, JOHN D
4150 HERRING RD
KINGWOOD, WV 26537-8419                                2107    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOLDEN, JIMMIE L
702 DUVALL BLVD HI
LEWISVILLE, TX 75077-6950                              2108    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McPherson, Kenneth W.
PO BOX 1200
Canadian, TX 79014-1200                                2109    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                                  2110    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                   2111    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                            2112    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MCKAUGHAN, FANNIE B
PO BOX 127
Soper, OK 74759                                        2113    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CAYTON, INGRID STORM
4442 SEAPINES DR SE
SOUTHPORT, NC 28461                                    2114    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                                   2115    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Seago, Jerrell C.
603 Inwood Drive
Baytown, TX 77521                                      2116    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MADDOX, JOSEPH A
32839 FOXRUN DR
WALKER, LA 70785-5749                                  2117    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
LITTLE, GARY W
983 COUNTY ROAD 650
DAYTON, TX 77535-7619                                  2118    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Jones, Esther J
PO BOX 150144
Arlington, TX 76015                            2119    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                        2120    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pearson-Alexander, Dalia
21351 Village Crossing Lane
Porter, TX 77365                               2121    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                         2122    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Taylor, Michael Rand
2121 Hickory Manor Dr
Huffman, TX 77336-2625                         2123    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                         2124    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
ZAPPATERRINI, DAVID J
2002 N BANCROFT PKWY
WILMINGTON, DE 19806                           2125    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                          2126    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                          2127    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                          2128    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SHOLAR, DELORIUS F
794 ANGOLA BAY RD
WALLACE, NC 28466-7126                         2129    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Harlow, Dan R
The Resort at Paws Up
40060 Paws Up Road
Greenough, MT 59823                            2130    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CORLEE, JANE
2627 VIOLET ST
PASADENA, TX 77503                             2131    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CASTILLO, BIOLANDA SIFUENT
5124 MCCARTY BLVD
AMARILLO, TX 79110-3009                        2132    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCHWARTAU, KURT
7116 TIMBERS DRIVE
EVERGREEN, CO 80439                            2133    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Tommerup, Jeffery Roy
Hall Estill c/o Steven W. Soule
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                2134    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
WOODARD, DENNIS M
3238 S RIDGE RD E
ASHTABULA, OH 44004-4544                       2135    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                         2136    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                          2137    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FARHADI, MAHMOUD
10210 WINDING WOOD LN
TOMBALL, TX 77375-6972                         2138    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                    2139    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GRAYS, OSCAR C
PO BOX 534
DAYTON, TX 77535                               2140    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00

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                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
SLOAN, PEGGY A
7612A BRIDGES AVE
RICHLAND HILLS, TX 76118                               2141    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                                  2142    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                            2143    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
HILEMAN, MILTON
255 LAUREL RUN PISGAH RD
BRUCETON MILLS, WV 26525-5555                          2144    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CONNERS, KEVIN MICHAEL
1400 CAROLINA PLACE
DOWNINGTOWN, PA 19335                                  2145    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
BRAUD, LENETTE D
8187 KINGVIEW ST
SAINT JAMES, LA 70086-7529                             2146    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ALEXANDER, RONALD
PO BOX 318225
BATON ROUGE, LA 70831-8225                             2147    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WIGGINS, JAMES E
8012 SAN CRISTOBAL DR
DALLAS, TX 75218-4428                                  2148    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
LOVETT, WAYNE T
3301 LA FAYETTE LN
AMARILLO, TX 79118                                     2149    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                            2150    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2151    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
FORT, FRANK THOMAS
33222 BOARDWALK DRIVE
SPANISH FORT, AL 36527-7032                            2152    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McIntyre, John F.
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
c/o Steven W. Soulé
Dustin Perry
320 S. Boston Ave., Suite 200
Tulsa, OK 74103-3706                                   2153    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2154    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                                2155    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
DAVISON, ELMIRA B
2322 E 88TH ST
CLEVELAND, OH 44106-3438                               2156    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, ROOSEVELT
16035 MILLERS LANDING LANE
HOUSTON, TX 77049                                      2157    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Thomas, Harry Glenn
5213 Hedgerow Lane
Wilmington, NC 28409                                   2158    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HERBERT, DIANE
8 BATEMAN WAY
HILLSBOROUGH, NJ 08844-8104                            2159    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                                2160    2/13/2017        Maxus Energy Corporation                                                                                               $0.00                                                                         $0.00
GROMADSKI, RAYMOND P
2188 TROUT AVE SW
SUPPLY, NC 28462-3993                                  2161    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                                 2162    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00

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                  Creditor Name and Address          Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
WHITAKER, TERRY WAYNE
38371 WELSH DR
PRAIRIEVILLE, LA 70769-3848                            2163    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                   2164    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                                 2165    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                                    2166    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                                    2167    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
Rigatti, Vincent G.
Hall, Estill, Hardwick, Gable, Golden & Nelson, PC
c/o Steven W. Soulé
Dustin Perry
320 S. Boston Ave., Suite 200
Tulsa, OK 74103                                        2168    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                                2169    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
LEVET, KENNETH J
2191 N BANK LANE
VACHERIE, LA 70090                                     2170    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WALZ, DONALD
31 E 4TH ST
NEW CASTLE, DE 19720-5013                              2171    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                   2172    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
KNOX, JOSEPH M
1640 W 8TH ST
ASHTABULA, OH 44004-2848                               2173    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THIGPEN, BILLY R
1660 HERMITAGE DR
FLORENCE, AL 35630                                     2174    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                                    2175    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
PARRISH, JAMES E
121 MOUNTAIN BROOK DR
KILLEN, AL 35645-8831                                  2176    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WHITEHEAD, JIMMIE R
1480 FM 1011 RD
LIBERTY, TX 77575-6406                                 2177    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ZERINGUE, WILLIAM J
12192 VERBA LN
SAINT AMANT, LA 70774-3641                             2178    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PATT, CHRISTINE JOANN
911 SAGE TREE CT
LAS VEGAS, NV 89101-5555                               2179    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
JONES, ESTHER J
PO BOX 150144
ARLINGTON, TX 76015                                    2180    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Pittenger, Richard T
4720 Yorkshire Lane
Suwanee, GA 30024                                      2181    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JONES, ESTHER J
PO BOX 150144
ARLINGTON, TX 76015                                    2182    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                                   2183    2/13/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                                2184    2/13/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
LOUQUE, STEPHEN G
3405 S ANGELIE STREET
PAULINA, LA 70703                            2185    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KERNS, JOHN L
897 STATION CAMP RD
LE ROY, WV 25252-7129                        2186    2/13/2017        Maxus Energy Corporation                                    $0.00                       $0.00                          $0.00                                                                         $0.00
MURPHY, THOMAS R
4910 GLENPARK DR
LA PORTE, TX 77571-7811                      2187    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
STRAW, DEAN W
4102 RUSTIC LN
CARROLLTON, TX 75007                         2188    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
MCGOVNEY, MCGOVNEY A
14812 AVERY RANCH BLVD APT 69
AUSTIN, TX 78717-3939                        2189    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
VARGAS, ARTHUR
10804 BOIS D ARC ST
LA PORTE, TX 77571-9508                      2190    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TAYLOR, MICHAEL RAND
2121 HICKORY MANOR DR
HUFFMAN, TX 77336-2625                       2191    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                      2192    2/13/2017           Tierra Solutions, Inc.                                   $0.00                                                      $0.00                                                                         $0.00
LOVETT, WAYNE T
3301 LA FAYETTE LN
AMARILLO, TX 79118                           2193    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                       2194    2/13/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                       2195    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Spell, Larry J.
28487 Huffman Cleveland Rd
Huffman, TX 77336-3801                       2196    2/13/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
DUKE, JACK W.
4806 CREPE MYRTLE LN.
PASADENA, TX 77505                           2197    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                       2198    2/13/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SINGH, LISA J
473 GEORGETOWN DR
APT B
LEBANON, OH 45036-1771                       2199    2/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CHARSINSKY, KENNETH
3007 STANTON ST
HOUSTON, TX 77025-2630                       2200    2/13/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2201    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Conners, Kevin Michael
1400 Carolina Place
Downingtown, PA 19335                        2202    2/13/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                          2203    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JENKINS, CLINTON LEON
4426 WESCOTT DR
GRAND PRAIRIE, TX 75052                      2204    2/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRAY, DAVID A
4615 AUGUSTA DR
PASADENA, TX 77505-5527                      2205    2/13/2017    Maxus International Energy Company                              $0.00                                                      $0.00                                                                         $0.00
HEINTSCHEL, BELINDA R
7322 COTTONWOOD
BAYTOWN, TX 77521                            2206    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
LEWIS, KATHY R
2006 TEXAS
PERRYTON, TX 79070                           2207    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WEST, MARGARET F
225 DEFOREST AVE
BRIDGEPORT, CT 06607-2414                    2208    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ABRAHAM, ANITA F
51 HICKORY OAK DRIVE
THE WOODLANDS, TX 77381-2574                 2209    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SILLANPA, MARGARET I
43 MILL MORR DR
PAINESVILLE, OH 44077                        2210    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SCOTT, HORMILDA B
305 S BELLEVIEW ST
AMARILLO, TX 79106                           2211    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HART, STEVEN W
265 ALMA ST
TUSCUMBIA, AL 35674-9235                     2212    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
ANDREWS, CRAIG R
18117 CLIFTON RD
LAKEWOOD, OH 44107-1024                      2213    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SMITH, RANDY H
6724 WAKEHURST RD
CHARLOTTE, NC 28226-5566                     2214    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Dixon, Daniel K
6451 Ridglea Crest Drive
Fort Worth, TX 76116                         2215    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                        2216    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Claim docketed in error
                                             2217    2/14/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
VIEREGGE, WILLIAM L
4709 CONTENDER LN
WILMINGTON, NC 28409-8917                    2218    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
TEBOE, DENNIS L
14932 WALKER RD
CONROE, TX 77302-6668                        2219    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                             2220    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DUANE, CAROL A
7950 GARFIELD RD
MENTOR, OH 44060-5956                        2221    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BOLLOZOS, ABRAHAM P
6284 MISSION ST
DALY CITY, CA 94014                          2222    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                             2223    2/14/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
OLDS, CLIFTON W.
49 AUGUSTINA DR.
ELKTON, MD 21921                             2224    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                        2225    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                        2226    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                    2227    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                    2228    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                    2229    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00


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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                    2230    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                         2231    2/14/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PETRO, LAWRENCE G
2938 CLYSTON RD
NORRISTOWN, PA 19403-4723                    2232    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GRIGSBY, LINDA L
2412 BUTTERCUP DR
RICHARDSON, TX 75082-2342                    2233    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Brady, Timothy Scott
1009 Maley Rd
Cove, TX 77523                               2234     2/6/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                          2235     2/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                        2236    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                         2237    2/14/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
COLEMAN, SHARON O
11055 REYN DR
GONZALES, LA 70737-7764                      2238    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                      2239    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MILES, KENNETH D
11230 SAGEWOOD DR
HOUSTON, TX 77089-4751                       2240    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GINN, THOMAS T
213 YORKSHIRE CT
DEER PARK, TX 77536-8117                     2241    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WHITELEY, ELIZABETH
11 STONE ARROW PL
THE WOODLANDS, TX 77382                      2242    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DIXON, DANIEL K
6451 RIDGLEA CREST DRIVE
FORT WORTH, TX 76116                         2243    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CARMICHAEL, WILLIE J
2804-B PLAZA COURT
MARION, SC 29571                             2244    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                             2245    2/14/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
DIEDRICH, JEFFERY D
15082 ALSTONE DR
FRISCO, TX 75035                             2246    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                        2247    2/14/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
KEAN, ALLAN E
9315 SHADY LANE CIR
HOUSTON, TX 77063                            2248    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BECNEL, KENNETH J
1719 HIGHWAY 307
THIBODAUX, LA 70301-8629                     2249    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                        2250    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                      2251    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COFFMAN, MICHAEL KEITH
20102 HALEY CREEK PL
BEND, OR 97702-9377                          2252    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                      2253    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
SCHELLBERG, ALVARD A
14014 NITIDA ST
HOUSTON, TX 77045-5146                       2254    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FERL, JERRY M
5210 SAMUEL AVE
ASHTABULA, OH 44004-6628                     2255    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                      2256    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                             2257    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RICHARDS, STEPHEN MARSHALL
140 MAGNOLIA RESERVE LOOP
MAGNOLIA, TX 77354-3862                      2258    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
COKER, JO ELLEN
113 LAKEWOOD DR.
BAYTOWN, TX 77520                            2259    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KESSLER, JOAN L
518 SEVENTH STREET
FAIRPORT HARBOR, OH 44077                    2260    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Giancaspero, Waldemar Nedo
15 Indian Clover Dr.
The Woodlands, TX 77381                      2261    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GIRGIS, JOHN J
7427 NATIVE OAK LN
IRVING, TX 75063                             2262    2/14/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
KNEBUSCH, WILLIAM ELLIOT
1732 STERLING TRACE DR
KELLER, TX 76248-8746                        2263    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                     2264    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Kalterman, Stewart
5005 Hidalgo St., Unit 209
Houston, TX 77056                            2265    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                     2266    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                     2267    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
Dixon, Daniel K
6451 Ridglea Crest Drive
Fort Worth, TX 76116                         2268    2/14/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                      2269    2/14/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
DUANE, WARREN C
7950 GARFIELD RD
MENTOR, OH 44060-5956                        2270    2/14/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                      2271    2/14/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
CULVER, SUSAN C
7929 CHURCHILL WAY APT 2214
DALLAS, TX 75251-2094                        2272    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
DERBONNE, MARY B
4203 FM 1960
DAYTON, TX 77535-5903                        2273    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DILLOW, EDWARD
721 FRESA
PASADENA, TX 77502                           2274    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                      2275    2/14/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00

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                                                                                                                          Amount                                                                                     Amount                                                Claim Amount
BROWN, STEVEN M.
3914 ASPEN MOUNTAIN TRL.
KINGWOOD, TX 77345-1346                              2276    2/14/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                             2277    2/15/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
DUMAN, DYANA L
7312 GENTLE VALLEY ST
LAS VEGAS, NV 89149-1616                             2278    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                              2279    2/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
COLEMAN, SHARON O
11055 REYN DR
GONZALES, LA 70737-7764                              2280    2/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                              2281    2/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                              2282    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McIntosh, Frances R.
2411 Anthony
Pearland, TX 77581                                   2283    2/15/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Pension Benefit Guaranty Corporation
Office of the Chief Counsel, Attn: Michael Baird
1200 K St., NW, Suite 340
Washington, DC 20005-4026                            2284    2/15/2017        Maxus Energy Corporation                           $4,662,443.42                                                                                                                              $4,662,443.42
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                              2285    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                              2286    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                              2287    2/14/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
SAMMONS, PHYLLIS R.
18606 PENINSULA COVE LN
CORNELIUS, NC 28031-7751                             2288    2/15/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                              2289    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                              2290    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                              2291    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                2292    2/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Branchick, Susan E.
7700 Snowberry Ct.
Mentor, OH 44060                                     2293    2/15/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                2294    2/15/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
McIntosh, Frances R.
2411 Anthony
Pearland, TX 77581-3712                              2295    2/15/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                2296    2/15/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                                2297    2/15/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00




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                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
MORGAN, PENNY RHAE
207 PARK MEADOWS DR
EULESS, TX 76039-4342                          2298    2/15/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
MCINTOSH, FRANCES R.
2411 ANTHONY LN
PEARLAND, TX 77581-3712                        2299    2/15/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2300    2/15/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2301    2/15/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2302    2/15/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2303    2/15/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Pension Benefit Guaranty Corporation
Attn: Michael Baird
Office of the Chief Counsel
1200 K St., NW, Suite 340
Washington, DC 20005-4026                      2304    2/16/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PEIL, WILLIAM D
PO BOX 275
DARROUZETT, TX 79024-0275                      2305    2/15/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
SOWMA, JERRY
15172 RED BANK RD
BREMOND, TX 76629-5312                         2306    2/16/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ROPER, CORNELIUS M
39606 FERDINAND ST
PAULINA, LA 70763                              2307    2/16/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SALCEDO, ANA MARIA
3603 WAKEFOREST ST
HOUSTON, TX 77098-5509                         2308    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
HILTON, QUEEN S
1112 RIVERSIDE AVE APT 6G
TRENTON, NJ 08618                              2309    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
EVANS, PAUL A
11 2ND AVENUE
ROEBLING, NJ 08554-1001                        2310    2/17/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
STULTS, MARTIN
454 STALLION SPRINGS DR
FISCHER, TX 78623                              2311    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
THIGPEN, HAROLD DALLEN
522 CORLEY DR
HIGHLANDS, TX 77562-2806                       2312    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
NEAL, JOHN R
9810 CREEKWOOD RD
LOUISVILLE, KY 40223-1174                      2313    2/17/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
MILLER, W MARK
4225 STANTON BLVD
PLANO, TX 75093-6918                           2314    2/17/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996                 2315    2/17/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                         2316    2/17/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                         2317    2/17/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                         2318    2/17/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
YOSH, JAMES P
11431 TIMBER POINT DR D
CHESTERFIELD, VA 23838-8952                    2319    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
HILTON, QUEEN S
1112 RIVERSIDE AVE APT 6G
TRENTON, NJ 08618                            2320    2/17/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2321    2/17/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2322    2/17/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2323    2/17/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
ROSSI, DINO A
PO BOX 193
BENTLEYVILLE, PA 15314-0193                  2324    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2325    2/17/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BROWN, CHRISTINA M
3104 AVORY RIDGE LN
PEARLAND, TX 77581-5682                      2326    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2327    2/17/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                       2328    2/17/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2329    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
FRUHLING, DAVID H
9410 WORTHINGTON CT
COLLEGE STATION, TX 77845-4996               2330    2/17/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
JOHNSON JR, TYREE
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2331    2/17/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Johnson, Jr., Tyree
2001 Eastwood Drive
Unit 74
Vacaville, CA 95687                          2332    2/17/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BOUDREAUX, RANDY E
1848 CABANOSE ST 27
LUTCHER, LA 70071-5623                       2333    2/17/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2334    2/18/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2335    2/18/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2336    2/18/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2337    2/18/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2338    2/18/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2339    2/18/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2340    2/18/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00



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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2341    2/18/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2342    2/18/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
PROCTOR, RONALD C.
PO BOX 1407
DAYTON, TX 77535-0024                        2343    2/18/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BURNS, JAMES R
3907 TRAILWOOD DR
BAYTOWN, TX 77521                            2344    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
OLSCHESKY, ROBERT F
3515 S COLLEGE RD 397/8
WILMINGTON, NC 28412-0913                    2345    2/21/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
LOHR, SHIRLEY A
867 SKINNER AVE
PAINESVILLE, OH 44077-4252                   2346    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ANDERSON, JOHN
808 DUSKY SAP CT
GRIFFIN, GA 30223                            2347    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CHAVIS, JOHN HUGH
1506 MARCO DR
PASADENA, MD 21122-4837                      2348    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DEEB, CHARLES G
8779 PINEWOOD CT
MENTOR, OH 44060-2248                        2349    2/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WOODS, JODY SCOTT
2501 LIVINGSTON LN
GRAND PRAIRIE, TX 75052-4107                 2350    2/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
THOMPSON, JERALD
11902 GRAPEWOOD DR
HOUSTON, TX 77089-5438                       2351    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
RITONDARO, ROSEMARY
3086 VILLAGE GREEN DR D
WESTLAKE, OH 44145-4582                      2352    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SKAGGS, MERTON M
1585 LAND FALL CIR
BARTONVILLE, TX 76226-8420                   2353    2/22/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Keeling, Irene
3921 Ashburton Way
Flower Mound, TX 75022-5174                  2354    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WILLIAMS, DANNY CHARLES
7734 DILLON ST
HOUSTON, TX 77061-2909                       2355    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
PETERS, BARBARA
5010 GROVE WEST BLVD UNIT 807
STAFFORD, TX 77477-2620                      2356    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SHIRLEY, BILLIE R
921 N UNION RD
STILLWATER, OK 74075-8720                    2357    2/22/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WILLIAM C BROOKS
111 KURT DRIVE
DOVER, DE 19901                              2358    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
MARQUEZ, ROBERTO C
14223 ROUNDSTONE LN
HOUSTON, TX 77015-2451                       2359    2/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
SKAGGS, MERTON M
1585 LAND FALL CIR
BARTONVILLE, TX 76226-8420                   2360    2/22/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
MILLER, JON MARSHALL
4031 COBBLERS LN
DALLAS, TX 75287-6724                        2361    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
REEVES, DOUGLAS LEE
PO BOX 948
PERRYTON, TX 79070-0948                      2362    2/22/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Miller, Linda C
6701 Eastridge Rd. Apt #117
Odessa, TX 79762                             2363    2/22/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00

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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
BRAGG, LARESHIA DIANE
1923 SHAWNEE TRL
DALHART, TX 79022-5211                       2364    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WEHRMAN, CAROL RUTH
613 PEDERNALES
PO BOX 57813
WEBSTER, TX 77598-7813                       2365    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BURGOS, JORGE E
183 E LANSDOWNE CIR
THE WOODLANDS, TX 77382-2726                 2366    2/27/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
CROMBIE, ANN C.
PO BOX 350
ADELPHIA, NJ 07710-0350                      2367    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
KLINGERMAN, LINDA R
20229 COUNTRY CLUB DR
ESTERO, FL 33928                             2368    2/28/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
WHEELDON, DAN L
4372 OREGON ST
PERRY, OH 44081-9562                         2369    2/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, CLAUDE M
4906 MIDDLE RIDGE RD
PERRY, OH 44081-8700                         2370    2/28/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
BROCK, JOCELYN Y
314 W STERLING
BAYTOWN, TX 77520-4046                       2371    2/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Huff, Sharell A
24799 Lake Shore Blvd Apt 505
Euclid, OH 44123-1245                        2372    2/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COX, PATRICK W
30281 MARBELLA VISTA
SAN JUAN CAPISTRANO, CA 92675                2373    2/27/2017        Maxus Energy Corporation                                                                $0.00                          $0.00                                                                         $0.00
Fisher, Robert E
45 North Wade Ave., Apt. B-1
Washington, PA 15301                         2374    2/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                     2375     3/1/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Dr
Macedonia, OH 44056-1878                     2376     3/1/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                     2377     3/1/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                     2378     3/1/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
Carr, Cornelius Patrick
8548 Bella Drive
Macedonia, OH 44056-1878                     2379     3/1/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
Boruk, Robert Eric
2707 Volute Ct
Houston, TX 77038                            2380     3/2/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Anguiano, Richard Flores
1805 12th St
Galena Park , TX 77547                       2381     3/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Wadsworth, David A.
26 Graceful Elm
The Woodlands, TX 77381                      2382     3/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Eaglin, James
17007 Hidden Treasure Circle
Friendswood, TX 77546                        2383     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
EAGLIN, JAMES
17007 HIDDEN TREASURE CIR
FRIENDSWOOD, TX 77546-3461                   2384     3/6/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           2385     3/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00




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                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
CHARBA, DAVID
5489 CHARBA LN
FLATONIA, TX 78941-5309                      2386     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
HANCOCK, JOHN L
PO BOX 410
BATSON, TX 77519-0410                        2387     3/6/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DIMAIO, JOYCE A.
308 DEVON RD
FAIRLESS HILLS, PA 19030                     2388     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Collins, Johnny Roy
5627 South Brook Dr.
Houston, TX 77033-3220                       2389     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
EVANGELISTA, NICHOLAS H
25 SANFORD ST
PAINESVILLE, OH 44077-3043                   2390     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                           2391     3/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                           2392     3/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                           2393     3/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Blouin, Irvin W.
38488 Arrowhead Drive
Gonzales, LA 70737                           2394     3/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Williford, John A
10320 Hunter Creek Ln.
Conroe, TX 77304                             2395     3/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
RANGEL, RAMONA
521 S CLINTON AVE
DALLAS, TX 75208-5918                        2396     3/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ARMSTRONG, ROBERT J
26 WINDING HILL DR
HOCKESSIN, DE 19707-2014                     2397     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BRAMSTEDT, WILLIAM R
1166 EUREKA MILL RUN
THE VILLAGES, FL 32162                       2398     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
FERNANDEZ, JUAN A
7526 SW 111 PLACE
MIAMI, FL 33173                              2399     3/6/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CORODEMUS & CORODEMUS LLC
120 WOOD AVE SO STE 500
ISELIN, NJ 08830                             2400     3/6/2017        Maxus Energy Corporation                              $17,281.25                                                                                                                     $0.00      $17,281.25
Lee, Jean E
1671 Stone Pine Lane
Menlo Park, CA 94027                         2401     3/6/2017        Maxus Energy Corporation                             $524,000.00                                                                                                                     $0.00     $524,000.00
Cox, Patrick W.
30281 Marbella Vista
San Juan Capistrano, CA 92675                2402     3/7/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
Denson, William R.
1821 Meadow Creek Dr.
Pearland, TX 77581                           2403     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
De Liege, Maureen
617 Rollins Road Apt 1
Burlingame, CA 94010-2784                    2404     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BANDT, KERMIT
PO BOX 1548
LAFAYETTE, CA 94549-1548                     2405     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BEASLEY JR, DONNIE
334 SHADY ROCK LN
HOUSTON, TX 77015-2129                       2406     3/7/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BLOCK, LAURI K.
5403 MORNINGSIDE AVE
DALLAS, TX 75206                             2407     3/8/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00




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                                                                                                                  Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address              Claim No. Claim Date               Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                             Amount                                                                                     Amount                                                Claim Amount
Wolf, Joseph R.
2A-10-2 The View Twin Tower
Jalan Batu Uban 5, Gelugor
Penang 11700
Malaysia                                                  2408     3/7/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
CROMBIE, ANN C.
PO BOX 350
ADELPHIA, NJ 07710-0350                                   2409     3/7/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
BROCK, LEONARD
374 COUNTY ROAD 958
TISHOMINGO, MS 38873-9621                                 2410     3/7/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Claim docketed in error
                                                          2411     3/8/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
Claim docketed in error
                                                          2412     3/8/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
BELL, KAREN S
22022 GLEN ARDEN LN
KATY, TX 77450-7615                                       2413     3/8/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
BLOCK, LAURI K
5403 MORNINGSIDE AVE
DALLAS, TX 75206-5839                                     2414     3/8/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Claim docketed in error
                                                          2415     3/8/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
ETEMADI, MOHAMAD R
13967 TEEL RD
MONTGOMERY, TX 77356-7449                                 2416     3/8/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Best, James Leonard
806 South Elm Boulevard
Champaign, IL 61820                                       2417     3/9/2017       Maxus Energy Corporation                                   $0.00                       $0.00                                                                                                        $0.00
Best, James Leonard
806 South Elm Boulevard
Champaign, IL 61820                                       2418     3/9/2017       Maxus Energy Corporation                             $19,849.00                                                                                                                     $0.00      $19,849.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                                       2419     3/9/2017    Maxus (U.S.) Exploration Company                                                                                                                                                       $0.00           $0.00
FLANAGAN, LISA K
1021 SUNSET TER
AMARILLO, TX 79106-6336                                   2420     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
ANDERSON, JOHN
808 DUSKY SAP CT
GRIFFIN, GA 30223                                         2421     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
BARNES, JOHN W.
C/O SHIRLEY CAMP
11841 BENT BRANCH RD
PIKEVILLE, KY 41501                                       2422     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
EVANS, GENE RAYMOND
PO BOX 969
SMITHVILLE, TX 78957-0969                                 2423     3/9/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00
EVANS, GENE RAYMOND
PO BOX 969
SMITHVILLE, TX 78957-0969                                 2424     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
BUSBIN, MARIE G
1861 GRADY HOPE ROAD
FORT MILL, SC 29715                                       2425     3/9/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
BARRY, JR., FRANKLIN S.
8198 KNIGHTSBRIDGE LANE
MENTOR, OH 44060-8044                                     2426     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
COX, PATRICK W
30281 MARBELLA VISTA
SAN JUAN CAPISTRANO, CA 92675                             2427     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
CHINSKI, WALTER
121 GROVE MANSION WAY
BEAR, DE 19701                                            2428     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
FORNALE, EVELYN J
145 FAIRVIEW AVE
SOUTH ORANGE, NJ 07079-2524                               2429     3/9/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Department of the Treasury - Internal Revenue Service
P.O. BOX 7346
Philadelphia, PA 19101-7346                               2430    3/10/2017       Maxus Energy Corporation                                   $0.00                                                                                                                                    $0.00

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               Creditor Name and Address        Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                       Amount                                                                                     Amount                                                Claim Amount
KUCHES, THOMAS J
27490 BELMONT BLVD
MILLSBORO, DE 19966                               2431    3/13/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COOK, OSCAR BRYSON
13607 LAKEHILLS VIEW CIR
CYPRESS, TX 77429-6003                            2432     3/9/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2433    3/10/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BACON, JAMES W.
41153 AVOYELLES AVE
GONZALES, LA 70737-8591                           2434    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2435    3/10/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2436    3/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
Bushin, Marie G.
1861 Grady Hope Rd
Fort Mill, SC 29708                               2437    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2438    3/10/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
CAYTON, INGRID STORM
4442 SEAPINES DR SE
SOUTHPORT, NC 28461                               2439    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2440    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2441    3/10/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                                  2442    3/10/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Jones, William Gary
913 W Main St
Houston, TX 77006-4920                            2443    3/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Collier Sr., Ricky J
313 Regency Dr.
Deer Park, TX 77536                               2444    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CHANNING, JOHN F
1006 REDFISH ST
BAYOU VISTA, TX 77563                             2445    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Flewellen III, Johnnie
6005 S. Gessner Apt. #2340
Houston, TX 77036                                 2446    3/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
FLOREK, LARRY
861 RIDGEVIEW DR.
MEDINA, OH 44256                                  2447    3/12/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DUHE, BARRY J
2479 ADMIRALS LANDING
PAULINA, LA 70763                                 2448    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BEVERLY A. MCINTYRE DECEASED
ATTN: KATHLEEN M. BELL
EXECUTOR OF THE ESTATE OF BEVERLY A. MCINTYRE
8960 WILDWOOD DR
NORTH ROYALTON, OH 44133-1154                     2449    3/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                             2450    3/10/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Benamati, Frank Edward
PO Box 323
Mather, PA 15346                             2451    3/10/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
DOLIER, KATHLEEN R
310 HUME LN
BAKERSFIELD, CA 93309-2427                   2452    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BROWN, CHRISTINA M
3104 AVORY RIDGE LN
PEARLAND, TX 77581-5682                      2453    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                          2454    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ALLEN, JOHNNY L.
8342 CASSIDY CREEK CT
HOUSTON, TX 77095                            2455    3/13/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Freeman, Theophilus
2149 Falcon Ridge Drive
Carrollton, TX 75010-4106                    2456    3/13/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
Burkett, Donna Mogab
3915 Vista Rd.
Pasadena, TX 77504                           2457    3/14/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ENRIQUEZ, MARIA S
13731 YARDMASTER TRL
HOUSTON, TX 77034                            2458    3/15/2017        Maxus Energy Corporation                                                                                                                              $0.00                          $0.00           $0.00
Rainosek, Beverly
1513 Narcille St
Baytown, TX 77520                            2459    3/16/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Carter, Jimmy L.
4803 Aberdeen Pkwy
Amarillo, TX 79119                           2460    3/16/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           2461    3/17/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           2462    3/17/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           2463    3/17/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ECKL, DAVID L
2081 COUNTY RD. 30
FLORENCE, AL 35634                           2464    3/15/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DUKE, JACK W.
4806 CREPE MYRTLE LN.
PASADENA, TX 77505                           2465    3/16/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Battista, Jospeh B
4002 Long Groove
Seabrook, TX 77586                           2466     3/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           2467    3/17/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
WIGHT, ANDREW W.R.
THE OLD POST OFFICE
CHURCH LANE
CHEARSLEY, BUCKS HP18 ODH
UNITED KINGDOM                               2468    3/17/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BECNEL, LAWRENCE J.
13177 SOUTH PEACH STREET
VACHERIE, LA 70090                           2469    3/17/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Christal, Joel O
26910 Casper Cliff Ct
Katy, TX 77494                               2470    3/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Decker, Gary
PO Box 22
Grannis, AR 71944                            2471    3/21/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00


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                 Creditor Name and Address    Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                     Amount                                                                                     Amount                                                Claim Amount
Zeno Digital Solutions LLC dba Zeno Imaging
10688 Haddington Drive
Houston, TX 77043                               2472    3/20/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                               2473    3/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
CORLEE, JANE
2627 VIOLET ST
PASADENA, TX 77503                              2474    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                               2475    3/23/2017    Maxus International Energy Company                              $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2476    3/23/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                               2477    3/23/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                                    $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2478    3/23/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Brown, Jean D.
427 CR 4151
Woodville, TX 75979                             2479    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                               2480    3/23/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                               2481    3/23/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                                    $0.00
DIEDRICH-BECK, NANCY
1600 N OAKWOOD RD
OSHKOSH, WI 54904                               2482    3/23/2017          Gateway Coal Company                                      $0.00                                                                                                                                    $0.00
ELZNER, DEBORAH KAY
26319 RIMWICK FOREST DR.
MAGNOLIA, TX 77354                              2483    3/23/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                         2484    3/24/2017        Maxus Energy Corporation                                    $0.00                                                                                     $0.00                          $0.00           $0.00
Duhe, Paul
2176 Pebble Beach Dr
Laplace , LA 70068                              2485    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Davis, Marilyn S.
8601 Ice House Dr.
Apt. 10105
N. Richland Hills, TX 76180                     2486    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
EDDY, RONALD DEWAYNE
1933 GIBSON RD
WAXAHACHIE, TX 75165-7420                       2487    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Aaron, Craig
307 Lighthouse Point Circle
Youngsville, LA 70592                           2488    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
WILLINGHAM, ARVIA DUANE
105 SKOKIE RD
AMARILLO, TX 79118                              2489    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ARMSTRONG, JOHN B.
136 WESTSIDE LANE
MIDDLETOWN, DE 19709                            2490    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COCCO, DENNIS A.
2933 LAMPLIGHT LANE
WILLOUGHBY HILLS, OH 44094                      2491    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
FIDLER, DANIEL J.
17787 W. POND RIDGE CIRCLE
GURNEE, IL 60031                                2492    3/20/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
MOSHER, SCOTT L
225 HIGHLAND ST
WOODLAND PARK, CO 80863-1503                    2493    3/20/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00




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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
COSGROVE, LLOYD
1502 ROARING SPRINGS LN
SEABROOK, TX 77586-4158                       2494    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COSGROVE, LLOYD
1502 ROARING SPRINGS LN
SEABROOK, TX 77586-4158                       2495    3/21/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
COKER, JO ELLEN
113 LAKEWOOD DR.
BAYTOWN, TX 77520                             2496    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Baker, Gale
1413 Oakwood Tr.
Painesville, OH 44077                         2497    3/21/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
King, Harold
4950 Winding Timbers Circle
Humble, TX 77346                              2498    3/22/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                             2499    3/23/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BECKWITH, DAVID W
2848 SE NORMAN AVE
ARCADIA, FL 34266                             2500    3/23/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                     2501    3/23/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                          2502    3/24/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
CRANDALL, MICHAEL M.
1214 VELMA ST.
DEER PARK, TX 77536                           2503    3/24/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BICKELMAN SR., JAMES R.
5 GLEN AVENUE
CASTLE HILLS
NEW CASTLE, DE 19720                          2504    3/24/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CANADA, GREGORY E.
4305 WEST 37TH AVE
AMARILLO, TX 79109-4317                       2505    3/24/2017        Maxus Energy Corporation                                    $0.00                                                                                     $0.00                          $0.00           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                            2506    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CURTIS, JEANNE B
PO BOX 542
CANADIAN, TX 79014                            2507    3/28/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
ARCHER, MICHAEL
2121 N. CURTIS RD
BOISE, ID 83706                               2508    3/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ARCHER, MICHAEL
2121 N. CURTIS RD
BOISE, ID 83706                               2509    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                            2510    3/27/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                            2511    3/28/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Curtis, Jeanne B
PO Box 542
Canadian, TX 79014                            2512    3/28/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                           2513    3/27/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                           2514    3/27/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                Debtor                                                  Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
COSTANGO, JEFFREY SCOTT
PO BOX 161
ST. GEORGES, DE 19733                          2515    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CARLSON, DENNIS L
284 DRESSAGE CT
WEST CHESTER, PA 19382-2366                    2516    3/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                2517    3/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO Box 2952
Sacramento, CA 95812-2952                      2518    3/21/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
State of California
Bankruptcy Section MS A340
Franchise Tax Board
PO box 2952
Sacramento, CA 95812-2952                      2519    3/21/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
SMITH, JAMES C
2920 LIGHTHOUSE DR
FRISCO, TX 75034-3223                          2520    3/24/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
DICARLO, MARIA F.
289 COVENTRY DR
PAINESVILLE, OH 44077                          2521    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                        2522    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DILLOW, EDWARD
721 FRESA
PASADENA, TX 77502                             2523    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
DELVENTO, VITO R
122 VISTA DR
EASTON, CT 06612-1132                          2524    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2525    3/27/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2526    3/27/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Ahlstrom, Richard Mather & Beverly Soule
5412 Bent Tree Drive
Dallas, TX 75248                               2527    3/27/2017        Maxus Energy Corporation                           $1,713,977.92                                                                                                                     $0.00    $1,713,977.92
CONTENZA, MICHAEL D
8693 WOODHAWK LANE
KIRTLAND, OH 44094                             2528    3/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COOK, ANTHONY B
10 TILDEN COURT
SIMPSONVILLE, SC 29680-6740                    2529    3/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
ABBOTT, DAVID W.
3504 MEADOWLARK LN
ALVIN, TX 77511                                2530    3/28/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Hancock, John L.
PO Box 410
Batson, TX 77519                               2531    3/29/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BADO-DYKES, SHARON A.
566 BAY HILL DR.
AVON LAKE, OH 44012                            2532    3/27/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Leavins, Jake
1083 FM 834 W
Liberty, TX 77575                              2533    3/29/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Charsinsky, Kenneth
23 Malba Cresent
Dianella, WA 6059
Australia                                      2534    3/29/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00




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                  Creditor Name and Address             Claim No. Claim Date               Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                             Amount                                                                                     Amount                                                Claim Amount
SMITH, JAMES P
26 LYCIUM QUAYS
STIRLING, WA 4021
AUSTRALIA                                                 2535    3/29/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
MARONE, JOSEPH T
2202 BINDON DR
CEDAR PARK, TX 76613-1576                                 2536    3/29/2017       Maxus Energy Corporation                                                               $0.00                                                                                                        $0.00
Farnell, Marion B
7385 Pinewood Dr
Theodore, AL 36582                                        2537    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Ochiltree County Appraisal District
Perdue, Brandon, Fielder, Collins and Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2538    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Fort Elliott Consolidated Independent School District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2539    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Wheeler County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2540    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Moore County and Entities Collected by Moore County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2541    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Canadian Independent School District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2542    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Sherman County Appraisal District
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2543    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Lipscomb County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2544    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Roberts County Appraisal District
Perdue, Brandon, Fielder, Collins & Moot, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2545    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Sherman County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2546    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Hutchinson County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2547    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Hansford County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2548    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Claim docketed in error
                                                          2549    3/30/2017       Maxus Energy Corporation                                                                                                                                                                            $0.00
Hemphill County
Perdue, Brandon, Fielder, Collins & Mott, L.L.P.
P.O. Box 9132
Amarillo, TX 79105-9132                                   2550    3/30/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
CUTNO, PAUL
18 CANE DR
LA PLACE, LA 70068                                        2551    3/31/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                                          2552     4/1/2017       Maxus Energy Corporation                                                                                                                                                            $0.00           $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                                          2553     4/1/2017    Maxus (U.S.) Exploration Company                                                                                                                                                       $0.00           $0.00

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                Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                            2554    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Citibank, N.A.
Attention: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                            2555    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                            2556    3/31/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
DURR, BESSIE
2094 FAIRWAY CIR
HUDSON, OH 44236                              2557    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                            2558    3/31/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                            2559    3/31/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
BRADFORD, KAREN N
834 NORA LANE
DESOTO, TX 75115                              2560     4/1/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CONNALLY, OLETA DARLENE
2508 CASHION PL
OKLAHOMA CITY, OK 73112-7610                  2561    3/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COATES, MARY HELEN
830 BIG THICKET TRL.
MESQUITE, TX 75149                            2562    3/31/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Coleman, Sharon O
11055 Reyn Drive
Gonzales, LA 70737-7764                       2563     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CHARBULA, DON E.
11900 SUDBURY COVE
AUSTIN, TX 78748                              2564     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CHARBULA, CAROL K.
11900 SUDBURY COVE
AUSTIN, TX 78748                              2565     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BHARWADA, UPEN J
6211 N 74TH PLACE
SCOTTSDALE, AZ 85250                          2566     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                         2567     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Beazer East, Inc.
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                         2568     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Beazer East, Inc.
Manko, Gold, Katcher & Fox, LLP
Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                         2569     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                              2570     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                              2571     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Avenue, Suite 901
Bala Cynwyd, PA 19004                         2572     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00



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                                                                                                        Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
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                                                                                                                   Amount                                                                                     Amount                                                Claim Amount
Apogent Transition Corp.
c/o McCarter & English, LLP
Attn: Lanny S. Kurzweil, Esq.
Four Gateway Center, 100 Mulberry Street
Newark, NJ 07102                              2573     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                              2574     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                         2575     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                       2576     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                              2577     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                       2578     4/3/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
City of Newark
Guenther Waldow
Dept. of Law
920 Broad St., Rm. 316
Newark, NJ 07102                              2579     4/3/2017        Maxus Energy Corporation                              $95,000.00                                                                                                                     $0.00      $95,000.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                              2580     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Beazer East, Inc.
Manko, Gold, Katcher & Fox, LLP
Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                         2581     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Occidental Chemical Corporation
Melissa Hunt
Occidental Petroleum
5005 Lyndon B. Johnson Freeway
Dallas, TX 75244                              2582     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
Cole, Leroy
401 Lester Rd
Harrodsburg, KY 40330                         2583     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn: Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                         2584     4/3/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                       2585     4/3/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                         2586     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Occidental Chemical Corporation
Attn: Melissa Hunt
Occidental Petroleum
5005 Lyndon B. Johnson Freeway
Dallas, TX 75244                              2587     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
DORSETT, TERRY E
11205 HOSFORD RD.
CHARDON, OH 44024                             2588     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00




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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                               2589     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2590     4/3/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
SCCC Site Performing Parties Group
c/o Manko, Gold, Katcher & Fox, LLP
Attn:Todd D. Kantorczyk
401 City Ave., Suite 901
Bala Cynwyd, PA 19004                          2591     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2592     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
City of Newark
Guenther Waldow, Jr.
Dept. of Law
920 Broad St., Room 316
Newark, NJ 07102                               2593     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2594     4/3/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2595     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
DOSSETT JR., SONNY
6185 WILMER RD.
WILMER, AL 36587                               2596     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Occidental Chemical Corporation
Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                               2597     4/3/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Countryman, Richard A.
761 Parkside Trail NW
Marietta, GA 30064                             2598     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Occidental Chemical Corporation
Occidental Petroleum
Attn: Melissa Hunt
5005 Lyndon B. Johnson Fwy
Dallas, TX 75244                               2599     4/3/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2600     4/3/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
COUNTRYMAN, RICHARD A
761 PARKSIDE TRL NW
MARIETTA, GA 30064-4714                        2601     4/3/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00
COLE, LEROY
401 LESTER RD
HARRODSBURG, KY 40330                          2602     4/3/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Elmo Joseph Boxie, Deceased
Attn: Janet Boxie
176 Henderson Drive
Arnaudville, LA 70512                          2603     4/3/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
U.S. DOI-BSEE
MARY A. SCHMERGEL
1100 L STREET NW, RM 10026
WASHINGTON, DC 20005                           2604     4/3/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Duane Marine Site Trust Fund
c/o Norman W. Bernstein, Esq.
N.W. Bernstein & Associates, LLC
800 Westchester Ave., Suite N319
Rye Brook, NY 10573                            2605     4/3/2017        Maxus Energy Corporation                              $12,300.00                                                                                                                     $0.00      $12,300.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                    2606     4/5/2017          Gateway Coal Company                                                                  $0.00                                                                                                        $0.00



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                                                                                                                       Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                 Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                                  2607     4/5/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                                  2608     4/5/2017    Maxus International Energy Company                                                          $0.00                                                                                                        $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                                  2609     4/5/2017           Tierra Solutions, Inc.                                                               $0.00                                                                                                        $0.00
Claim docketed in error
                                                             2610     4/5/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
Claim docketed in error
                                                             2611     4/5/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
BERNAY, WILLIAM E.
1172 DALTON DR
PAINESVILLE, OH 44077                                        2612     4/5/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
BOLLOZOS, ABRAHAM P
6284 MISSION ST
DALY CITY, CA 94014                                          2613     4/4/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                                  2614     4/5/2017     Maxus (U.S.) Exploration Company                                                           $0.00                                                                                                        $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                                      2615    4/10/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
CRISPI, JOSELINA
14003 WADEBRIDGE WAY
HOUSTON, TX 77015                                            2616    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Lower Passaic River Study Area Cooperating Parties Group
c/o William H. Hyatt Jr., Esq.
K&L Gates LLP
One Newark Center
10th Floor
Newark, NJ 07102                                             2617    4/17/2017        Maxus Energy Corporation                          $14,365,320.14                                                       $0.00                                                                 $14,365,320.14
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                                      2618    4/10/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                                      2619    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CAIN, PATRICK W
PO BOX 669
RAWLINS, WY 82301-0669                                       2620     4/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOOLSBY, GARY G
708 WYND
PASADENA, TX 77503                                           2621     4/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
BROWN, NORMAN
6614 WESTON ST APT 25
HOUSTON, TX 77021                                            2622    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Burdick, Robert L
2800 Henry CT
College Station, TX 77845                                    2623    4/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Burdick, Mamie L
2800 Henry CT
College Station, TX 77845                                    2624    4/10/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
BRIGNAC, TERENCE M.
1891 THIRD ST.
LUTCHER, LA 70071                                            2625    4/10/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                                      2626    4/10/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
BOLIN, DENISE A.
5305 BLODGETT AVE
DOWNERS GROVE, IL 60515                                      2627    4/10/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00


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                                                                                                             Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address                 Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                        Amount                                                                                     Amount                                                Claim Amount
BROOKS, THOMAS LEE
12907 CAMBRIDGE EAGLE DR
HOUSTON, TX 77044                                            2628    4/11/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
Lower Passaic River Study Area Cooperating Parties Group
c/o William H. Hyatt, Jr., Esq.
K&L Gates LLP
One Newark Center
10th Floor
Newark, NJ 07102                                             2629    4/17/2017      Tierra Solutions, Inc.                              $0.00                                                      $0.00                                                                         $0.00
Rutledge, Johnnie
2211 Tonckawa Hills Lane
Brenham, TX 77833                                            2630    4/18/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Vista Analytical Laboratory, Inc.
1104 Windfield Way
El Dorado Hills, CA 95762                                    2631    4/20/2017      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
BERARDINELLI, DAN
345 SANFORD ST
PO BOX 485
PAINESVILLE, OH 44077-4126                                   2632    4/21/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
JONES, RUDOLPH T
315 GOLF COURSE RD 6
MORGANTON, NC 28655-5206                                     2633    4/21/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
GRAY, DARLA
524 JENNIFER TR
GRAND PRAIRIE, TX 75052                                      2634    4/24/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
Jackson, C W
302 Antelope Dr.
Crosby, TX 77532                                             2635    4/26/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Menear, Stanley E
PO Box 33
Kingwood, WV 26537                                           2636    4/26/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
JONES, MACK C.
7207 WILLIAMS RD
COVE, TX 77523                                               2637     5/1/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
SLATER, STEVEN R.
3038 N NORTHWEST DR
HOBBS, NM 88240-1721                                         2638     5/3/2017    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Williamson, Hearl L.
292 Ridge Crest Dr.
Seguin, TX 78155                                             2639     5/5/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                             2640     5/9/2017    Maxus Energy Corporation                     $1,144,855.39                                                                                                                     $0.00    $1,144,855.39
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                                    2641     5/9/2017    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                                    2642    5/12/2017      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Harris Corporation
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                                    2643    5/12/2017    Maxus Energy Corporation                       $641,195.50                                                                                                                               $641,195.50
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                                             2644     5/9/2017    Maxus Energy Corporation                     $1,243,777.24                                                                                                                     $0.00    $1,243,777.24




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                                                                                                                Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address          Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                           Amount                                                                                     Amount                                                Claim Amount
Mallinckrodt LLC f/k/a Mallinckrodt Inc.
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                      2645    5/10/2017        Maxus Energy Corporation                             $829,379.13                                                                                                                     $0.00     $829,379.13
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                      2646     5/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
McKean, Marcia R
3402 Forestway Ct
Arlington, TX 76001                                   2647     5/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
WESSEL, ALAN P
509 LAKE DR
MIDDLETOWN, DE 19709-9684                             2648     5/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
ISP Chemicals LLC
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                      2649     5/9/2017           Tierra Solutions, Inc.                            $242,988.87                                                                                                                               $242,988.87
Ashland LLC (f/k/a Ashland Inc.)
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                      2650     5/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
Mallinckrodt LLC f/k/a Mallinckrodt Inc.
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
Newark, NJ 07102                                      2651    5/10/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
National-Standard LLC
Natasha M. Songonuga, Esq.
Gibbons P.C.
300 Delaware Avenue, Suite 1015
Wilmington, DE 19801-1671                             2652     5/9/2017           Tierra Solutions, Inc.                          $1,027,806.46                                                                                                                              $1,027,806.46
Givaudan Fragrances Corporation
William S. Hatfield, Esq.
Gibbons P.C.
One Gateway Center
1400
Newark, NJ 07102                                      2653     5/9/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                                   2654    5/15/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
BOWDEN, JOSEPH A
PO BOX 1023
ROOSEVELT, UT 84066                                   2655    5/15/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2656    5/22/2017           Tierra Solutions, Inc.                             $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2657    5/22/2017        Maxus Energy Corporation                              $51,173.44                        $0.00                                                                                                   $51,173.44
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                               2658    5/22/2017    Maxus International Energy Company                        $51,173.44                        $0.00                                                                                                   $51,173.44
HARRIS, SHERMAN L
3702 BOSTIC ST
HOUSTON, TX 77093-8318                                2659    5/23/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00




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                                                                                                                 Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address            Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                            Amount                                                                                     Amount                                                Claim Amount
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                2660    5/22/2017     Maxus (U.S.) Exploration Company                               $0.00                       $0.00                                                                                                        $0.00
YPF Services USA Corp.
Norton Rose Fulbright US LLP
Attn:Howard Seife,Samuel S. Kohn,Francisco Vazquez
1301 Avenue of the Americas
New York, NY 10019-6022                                2661    5/22/2017     Maxus (U.S.) Exploration Company                         $10,307.58                        $0.00                                                                                                   $10,307.58
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                2662    5/22/2017          Gateway Coal Company                                      $0.00                       $0.00                                                                                                        $0.00
YPF S.A.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                2663    5/22/2017        Maxus Energy Corporation                                    $0.00                       $0.00                                                                                                        $0.00
CLH Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                2664    5/22/2017        Maxus Energy Corporation                              $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                2665    5/22/2017           Tierra Solutions, Inc.                             $51,173.44                        $0.00                                                                                                   $51,173.44
YPF Holdings, Inc.
Norton Rose Fulbright US LLP
Attn: Howard Seife, S Kohn, F Vazquez, B Bleiberg
1301 Avenue of the Americas
New York, NY 10019-6022                                2666    5/22/2017    Maxus International Energy Company                        $51,173.44                        $0.00                                                                                                   $51,173.44
YPF S.A.
Norton Rose Fulbright US LLP
Howard Seife, Esq., Samuel S. Kohn, Esq.
Francisco Vazquez, Esq.
1301 Avenue of the Americas
New York, NY 10019-6022                                2667    5/22/2017           Tierra Solutions, Inc.                                   $0.00                       $0.00                                                                                                        $0.00
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                              2668    6/29/2017           Tierra Solutions, Inc.                          $2,044,866.10                                                       $0.00                                                                  $2,044,866.10
Conopco, Inc.
Joshua B. Frank
Baker Botts L.L.P.
1299 Pennsylvania Avenue, N.W.
Washington, DC 20004-2400                              2669    6/29/2017        Maxus Energy Corporation                                    $0.00                                                      $0.00                                                                         $0.00
ENGLISH, WILLIAM H
919 N LUCAS ST
WEST COLUMBIA, SC 29169-7026                           2670    7/11/2017        Maxus Energy Corporation                                                                $0.00                                                                                                        $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                                2671    7/25/2017           Tierra Solutions, Inc.                                                                                                                                                            $0.00           $0.00
SMITH, MARSHALL G
10 PLUM COVE COURT
THE WOODLANDS, TX 77381                                2672    7/25/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
SMITH, MARSHALL G
10 PLUM COVE COURT
THE WOODLANDS, TX 77381                                2673    7/25/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                                2674    7/25/2017          Gateway Coal Company                                                                                                                                                               $0.00           $0.00
Smith, Marshall G.
10 Plum Cove Court
The Woodlands, TX 77381                                2675    7/25/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00

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               Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                  Amount                                                                                     Amount                                                Claim Amount
GONZALES, JUDY L.
1417 BAYOU RD
GRAPEVINE, TX 76051                          2676    7/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PERRY, JOHNNY RAY
12835 EASTBROOK DR
HOUSTON, TX 77013                            2677    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Kabat Jr., Thaddeus L.
15 Main Street
Hatfield, MA 01038                           2678    7/26/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
MONAHAN, GRACE M.
7806 LAUREL LANE
WYNDMOOR, PA 19038                           2679    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
MAYON, TIMOTHY A.
402 TOURNAMENT BLVD.
BERWICK, LA 70342                            2680    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
RINYO, JOSEPH E.
2193 HAINES RD
MADISON, OH 44057                            2681    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
STULTS, MARTIN
454 STALLION SPRINGS DR
FISCHER, TX 78623                            2682    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
ZANKL, LOURDES M
ODENWALDSTR. 20
BAD HOMBURG 61352
GERMANY                                      2683    7/27/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
OLDS, CLIFTON W.
49 AUGUSTINA DR.
ELKTON, MD 21921                             2684    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         2685    7/28/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         2686    7/28/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         2687    7/28/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         2688    7/28/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
STERN, LLOYD H.
7908 FT. SMALLWOOD RD.
CURTIS BAY, MD 21226-1908                    2689    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
HAYES, DANA K
5409 ELAINE DR
CHARLESTON, WV 25306                         2690    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Williams, Gerald Lee
132 Morley Rd
Dilliner, PA 15327                           2691    7/28/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
JONES, MARY ANITA
640 OLD CHINQUAPIN RD.
BEULAVILLE, NC 28518                         2692    7/28/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
LYLES, JAMES N
18000 PRINE ROAD
CITRONELLE, AL 36522                         2693    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
VESTAL, RICHARD C.
PO BOX 209
PENNS PARK, PA 18943                         2694    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Brenner, Mike
4605 Ashville
Amarillo, TX 79119                           2695    7/31/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Brenner, Mike
4605 Ashville
Amarillo, TX 79119                           2696    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
DURKAN, RAYMOND
2310 MILLVALE DRIVE
KINGWOOD, TX 77345                           2697    7/31/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00




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              Creditor Name and Address   Claim No. Claim Date                Debtor                                                  Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                 Amount                                                                                     Amount                                                Claim Amount
HAYES, RODNEY W
PO BOX 327
GLASGOW, WV 25086                           2698    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
BUTLER, CHARLES G.
8 SULLIVAN RD.
PENSACOLA, FL 32507                         2699    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Butler, Charles
8 Sullivan Rd.
Pensacola, FL 32507                         2700    7/31/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
Massey, Janice
2006 Seagoville Road
Seagoville, TX 75159                        2701    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PAYNE, STANLEY M.
412 GEORGIANA DR
MIDDLETOWN, DE 19709                        2702    7/31/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
POWELL, DONNA F
1121 E PURDUE LANE
DEER PARK, TX 77536-6531                    2703     8/1/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
JEW, JEAN H.
1300 GOLDFINCH CV.
CEDAR PARK, TX 78613                        2704     8/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PRAMIK, KENNETH R
201 COMMONS PARK SOUTH
APT 1502
STAMFORD, CT 06902                          2705     8/2/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Jarman, William C.
1007 Ridge Ave
Tuscumbia, AL 35674                         2706     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
GOOLSBY, PAMALA F.
P.O. BOX 472
RIVERSIDE, TX 77367                         2707     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Burkett, Donna Mogab
3915 Vista Rd
Pasadena, TX 77504                          2708     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
RAMSEY, STEVEN P
1290 MORGAN RD
KELLY, NC 28448                             2709     8/4/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
JACOBS, KEENAN L
5525 STONE CREEK DR
LA PORTE, TX 77571-2716                     2710     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                                    $0.00
GOOLSBY, GARY G
708 WYND
PASADENA, TX 77503                          2711     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
VARA, JANIE R
6202 4TH ST, #312
LUBBOCK, TX 79416                           2712     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
LOCKWOOD, HENRY C.
1555 W. DEBERRY AVE.
ARANSAS PASS, TX 78336                      2713     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PARK, DOUGLAS A
11215 BUSHIRE DRIVE
DALLAS, TX 75229                            2714     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PARK, ROBERT K.
1A GREEN LANE
HAWERA 4610
NEW ZEALAND                                 2715     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Larry Jr., John
c/o Addie Wiseman
2251 S. Springfield
Chicago, IL 60623                           2716     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PETRICK, JOHN T.
333 LAKEVIEW DR.
WASHINGTON, PA 15301                        2717     8/8/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
SPHAR, JOYCE E
79 DEERWOOD LN
TERRA ALTA, WV 26764                        2718     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
HEINTSCHEL, BELINDA R
7322 COTTONWOOD
BAYTOWN, TX 77521                           2719     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00

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                                                                                                         Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                 Creditor Name and Address   Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                    Amount                                                                                     Amount                                                Claim Amount
Claim docketed in error
                                               2720     8/8/2017        Maxus Energy Corporation                                                                                                                                                                             $0.00
YAHNEL, DAVID H.
P.O. BOX 125
MURRAY, KY 42071-0002                          2721     8/7/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Hamilton, Randall Joe
P.O. Box 44
Ratliff City, OK 73481                         2722     8/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Bradford, Karen N
834 Nora Lane
DeSoto, TX 75115                               2723     8/8/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Bradford, Karen
834 Nora Lane
Desoto, TX 75115                               2724     8/8/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
MCKINNEY, ROGER
18215 STOCKTON SPRINGS DR
SPRING, TX 77379                               2725     8/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
LIBBY, MARY
361 PHILLIPS DR.
COPPELL, TX 75019                              2726     8/9/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Citibank, N.A.
Attn: Saulo Ferraz
388 Greenwich Street, 22nd Floor
New York, NY 10013                             2727    8/11/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Jackson, C W
302 Antelope Dr.
Crosby, TX 77532                               2728    8/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
MCCLURE, VICTOR L.
288 N STATE RD 129
MILAN, IN 47031-9189                           2729    8/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
BUTLER, DEBORAH L.
6190 62ND AVE. N. #3
PINELLAS PARK, FL 33781                        2730    8/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Rice (Deceased), Bobby
c/o Paula L. Rice
14618 Wadlington Dr.
Houston, TX 77044                              2731    8/11/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                               2732    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                               2733    8/14/2017    Maxus International Energy Company                                                                                                                                                       $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                               2734    8/14/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                               2735    8/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
Estate of Richard Mather Ahlstrom
Mrs. Beverly Sowle Ahlstrom
Gruber Hail Johansen Shank, LLP
c/o Tricia R. DeLeon
1445 Ross Avenue, Suite 2500
Dallas, TX 75202                               2736    8/11/2017        Maxus Energy Corporation                                                                                                                                                             $0.00           $0.00
Enbridge Offshore Facilities, LLC
Mark Sherrill
Eversheds Sutherland (US) LLP
1001 Fannin St, Ste. 3700
Houston, TX 77002                              2737    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
MANNING, CHERYL
8200 A VALLEYDALE CV
AUSTIN, TX 78757                               2738    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
Menear, Stanley E
PO Box 33
Kingwood, WV 26537                             2739    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Nautilus Pipeline Company, LLC
200 North Dairy Ashford Street
Houston, TX 77079-1101                         2740    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00

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                                                                                                           Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                Creditor Name and Address      Claim No. Claim Date                 Debtor                                                 Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                                      Amount                                                                                     Amount                                                Claim Amount
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Mark Sherrill
1001 Fannin St., Ste. 3700
Houston, TX 77002                                2741    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
Enbridge Offshore Facilities, LLC
Eversheds Sutherland (US) LLP
c/o Mark Sherrill
1001 Fannin St., Suite 3700
Houston, TX 77002                                2742    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                             2743    8/14/2017          Gateway Coal Company                                      $0.00                                                                                                                    $0.00           $0.00
KING, HAROLD
4950 WINDING TIMBERS CIRCLE
HUMBLE, TX 77346                                 2744    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
PROCTOR, CARLTON ROYCE
P.O. BOX 1433
DAYTON, TX 77535                                 2745    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Blouin Sr, Irvin W.
38488 Arrowhead Dr
Gonzales, LA 70731                               2746    8/14/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                             2747    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
BLOUIN, IRVIN W.
38488 ARROWHEAD DR
GONZALES, LA 70737                               2748    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
BLOUIN SR, IRVIN W.
38488 ARROWHEAD DRIVE
GONZALES, LA 70737                               2749    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Blouin Sr, Irvin W
38488 Arrowhead Dr
Gonzales, LA 70737                               2750    8/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                             2751    8/14/2017    Maxus International Energy Company                              $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave.
Morristown, NJ 07960                             2752    8/14/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Nautilus Pipeline Company, LLC
200 North Dairy Ashford Street
Houston, TX 77079-1101                           2753    8/14/2017     Maxus (U.S.) Exploration Company                               $0.00                                                                                                                    $0.00           $0.00
United States Fire Insurance Co.
Crum & Forster
Gina Pontoriero
305 Madison Ave
Morristown, NJ 07960                             2754    8/14/2017           Tierra Solutions, Inc.                                   $0.00                                                                                                                    $0.00           $0.00
Wooten III, Earl
159 Mountain Laurel Dr.
Montgomery, TX 77316                             2755    8/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Gatlin-Stern, Janis Nikki
1917 Rew Ave
Duncanville, TX 75137                            2756    8/15/2017        Maxus Energy Corporation                                    $0.00                                                                                                                    $0.00           $0.00
Manta Ray Offshore Gathering Company, L.L.C.
Eversheds Sutherland (US) LLP
Attn: Mark Sherrill
1001 Fannin Street, Suite 3700
Houston, TX 77002                                2757    8/14/2017     Maxus (U.S.) Exploration Company                                                                                                                                                        $0.00           $0.00




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                                                                                                Current General Unsecured Claim                                                            Current 503(b)(9) Admin Priority                                 Total Current
                  Creditor Name and Address   Claim No. Claim Date            Debtor                                            Current Priority Claim Amount Current Secured Claim Amount                                  Current Admin Priority Amount
                                                                                                           Amount                                                                                     Amount                                                Claim Amount
Loftis, Herbert Ray
915 Radnor Rd.
Wilmington, NC 28409                            2758    8/15/2017    Maxus Energy Corporation                              $0.00                                                                                                                    $0.00           $0.00
GILES, FRANCIS
314 TIDE WATER LANE
MIDDLE RIVER, MD 21220                          2759    7/27/2017    Maxus Energy Corporation                              $0.00                                                                                                                    $0.00           $0.00
Cambre, Ched M.
P.O. Box 961
Gramercy, LA 70052                              2760    8/22/2017    Maxus Energy Corporation                              $0.00                                                                                                                    $0.00           $0.00
Galloway, Robert Dean
1272 Crockett Dr.
Frisco, TX 75003                                2761    8/24/2017    Maxus Energy Corporation                              $0.00                                                                                                                    $0.00           $0.00
GALLOWAY, BRENDA K. BOMAR
1272 CROCKETT DRIVE
FRISCO, TX 75033                                2762    8/24/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
DLA Piper France LLP
27 Rue Laffitte
Paris 75009
France                                          2763    8/30/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
Battista, Joseph B.
650 Surrey Lane
Martinez, GA 30907                              2764    9/26/2017    Maxus Energy Corporation                                                                                                                                                       $0.00           $0.00
BASF Catalysts LLC
Bressler, Amery & Ross, P.C.
David Schneider, Esq.
325 Columbia Turnpike
Florham Park, NJ 07932                          2765    5/24/2018    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
The Woods Hole Group, Inc.
Attn: Robert Hamilton
107 Waterhouse Road
Bourne, MA 02532                                2766    7/10/2018      Tierra Solutions, Inc.                       $100,801.86                                                                                                                               $100,801.86
The Woods Hole Group, Inc.
Attn: Robert Hamilton
107 Waterhouse Road
Bourne, MA 02532                                2767    7/11/2018      Tierra Solutions, Inc.                              $0.00                                                                                                                                    $0.00
Portland State University
c/o Miller Nash Graham & Dunn LLP
Attn: Jeanne Sinnott
111 SW Fifth Ave #3400
Portland, OR 97204                              2768    7/30/2018      Tierra Solutions, Inc.                       $244,379.14                                                                                                                               $244,379.14
Bowden, Joan Weatherspoon
1018 Pondview Drive
Cedar Hill, TX 75104                            2769     9/4/2018    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
Hahn, Thomas Theodore
PO Box 2
Camargo, OK 73835                               2770    9/18/2018    Maxus Energy Corporation                                                          $0.00                                                                                                        $0.00
HIEBERT, DAVID W.
3902 MOORES LANE
TEXARKANA, TX 75503                             2771    1/28/2019    Maxus Energy Corporation                                                                                                                                                  $70,000.00      $70,000.00
Alexander, Ronald
PO Box 318225
Baton Rouge, LA 70831-8225                      2772    2/18/2019    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Braud, Lenette
8187 Kingview St
Saint James, LA 70086                           2773    2/19/2019    Maxus Energy Corporation                              $0.00                                                                                                                                    $0.00
Claim docketed in error
                                                2774    5/27/2020    Maxus Energy Corporation                                                                                                                                                                       $0.00
Entact, LLC
William W Thorsness
Vedder Price P.C.
222 N. LaSalle Street, Suite 2400
Chicago, IL 60601                               2775    5/27/2020      Tierra Solutions, Inc.                       $220,000.00                                                                                                                               $220,000.00




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